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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 11

    RAVN AIR GROUP, INC. et al.,1                            Case No. 20-10755 (___)

                    Debtors.                                 (Joint Administration Requested)


                          NOTICE OF FILING OF CREDITOR MATRIX

             PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession have

today filed the attached Creditor Matrix with the United States Bankruptcy Court for the District

of Delaware, 824 North Market Street, Wilmington, Delaware 19801.

    Dated: April 5, 2020                                 BLANK ROME LLP
           Wilmington, Delaware
                                                         /s/ Victoria A. Guilfoyle
                                                         Victoria A. Guilfoyle (No. 5183)
                                                         Stanley B. Tarr (No. 5535)
                                                         Jose F. Bibiloni (No. 6261)
                                                         1201 N. Market Street, Suite 800
                                                         Wilmington, Delaware 19801
                                                         Telephone: (302) 425-6400
                                                         Facsimile: (302) 425-6464
                                                         Email: guilfoyle@blankrome.com
                                                         tarr@blankrome.com
                                                         jbibiloni@blankrome.com

                                                         -and-

                                                         KELLER BENVENUTTI KIM LLP
                                                         Tobias S. Keller (pro hac vice pending)
                                                         Jane Kim (pro hac vice pending)
                                                         Thomas B. Rupp (pro hac vice pending)
                                                         650 California Street, Suite 1900
                                                         San Francisco, California 94108

1
        The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification
number are as follows: Ravn Air Group, Inc. (3047), Ravn Air Group Holdings, LLC (5356), JJM, Inc.
(4858), HoTH, Inc. (9957), Peninsula Aviation Services, Inc. (6859), Corvus Airlines, Inc. (7666), Frontier
Flying Service, Inc. (8091), and Hageland Aviation Services, Inc. (2754). The notice address for all of the
Debtors is 4700 Old International Airport Road, Anchorage, AK 99502.


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                                                Tel: (415) 496-6723
                                                Fax: (650) 636-9251
                                                Email: tkeller@kbkllp.com
                                                       jkim@kbkllp.com
                                                       trupp@kbkllp.com

                                                Proposed Attorneys for Debtors
                                                and Debtors-in-Possession




                                            2
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                                                                                Creditor Matrix


                                Name                     Attention                          Address 1                      Address 2            City        State       Zip         Country
  1201148 Alberta Ltd.                                                     2710 - 5Th Street                                           Nisku             AB         T9E 0H1      Canada
  3 Points Aviation                                                        Unit 7&8, 1375 Aimco Boulevard                              Mississauga       ON         L4W 1B5      Canada
  3E Company Environmental, Ecological And Engineering                     3207 Grey Hawk Ct.                                          Carlsbad          CA         92010-6664
  4D, Inc                                                                  3031 Tisch Way, Suite 900                                   San Jose          CA         95128
  A Cut Above Uniforms                                                     2150 W. 6Th Ave.                                            Broomfield        CO         80020
  A&V Rebuilding                                                           8211 S. Almeda St.                                          Los Angeles       CA         90001
  A-1 Lawn & Landscaping                                                   PO Box 244043                                               Anchorage         AK         99524
  A2155 Alaskan Auto, Inc. 500002121                                       Napa Auto Parts                                             Palmer            AK         99645
  A4A Airlines For America                                                 1275 Pennsylvania Ave NW Suite 1300                         Washington        DC         20004
  Aaa Alaska Cab Inc.                                                      47623 West Point Ave                                        Soldotna          AK         99669
  Aaa Fence, Inc                                                           1701 E 84Nd Ave                                             Anchorage         AK         99507
  Aaa Rubber Stamp And Engraving Co.                                       5700-B Old Seward Highway                                   Anchorage         AK         99518
  Aar Aircraft Services- Windsor                                           4000 Country Road 42                                        Windsor           ON         N9A 6J3      Canada
  Aar Supply Chain, Inc                                                    1100 North Wood Dale Road                                   Wood Dale         IL         60191
  Aaron Don                                                                Address Redacted
  Aaron Lanmon                                                             Address Redacted
  Aaron Pomeroy                                                            Address Redacted
  Aaron Simeonoff                                                          Address Redacted
  Aaron Stinson                                                            Address Redacted
  Aaron Tyson                                                              Address Redacted
  Aaron W Rocereta                                                         Address Redacted
  Aaron Wimmer                                                             Address Redacted
  Abco, LLC Dba Alaska Bearing                                             350 E. International Airport Road                           Anchorage         AK         99518
  Abigail Peters                                                           Address Redacted
  Able Locksmiths And Security Center, LLC                                 206 E Northern Lights Blvd. Suite2                          Anchorage         AK         99503
  Abm - American Bldg Maintenance Inc.                                     PO Box 419860                                               Boston            MA         02241-9860
  Abm Janitorial - Northwest, Inc.                                         Dept 30874 PO Box 60000                                     San Francisco     CA         94160
  Abraham Armstrong                                                        Address Redacted
  Abraham Fata                                                             Address Redacted
  Abram Panamarioff                                                        Address Redacted
  Absalom Erriang                                                          Address Redacted
  Abx Air, Inv                                                             145 Hunter Drive                                            Wilmington        OH         45177
  Accenture Llp                                                            161 N Clark St                                              Chicago           IL         60601
  Accessory Service Inc                                                    6300 Carl Brady Dr.                                         Anchorage         AK         99502
  Ace Air Cargo                                                            5901 Lockheed Ave                                           Anchorage         AK         99502
  Ace Hardware Top Of The World                                            PO Box 426                                                  Barrow            AK         99723
  Ace Pineda                                                               Address Redacted
  Ace Supply Inc.                                                          2425 East Fifth Avenue                                      Anchorage         AK         99501
  Acss-Aviation Comm & Surveillance System, LLC                            19810 North 7Th Avenue                                      Phoenix           AZ         85027-4400
  Action Aero                                                              PO Box 22105                                                Charlottetown     PE         C1A 9J2      Canada
  Adam Haldeman                                                            Address Redacted
  Adam Hehl                                                                Address Redacted
  Adam Pekrul                                                              Address Redacted
  Adam Ricciardi                                                           Address Redacted
  Adkins Black Llp                                                         227 Bellevue Way NE                                         Bellevue          WA         98004
  Adobe Systems Incorporated                                               29322 Network Place                                         Chicago           IL         60673-1293
  Adp-Auto Data Processing, Inc.                                           PO Box 78415                                                Phoenix           AZ         85062-8415
  Advanced Building Cleaners LLC                                           PO Box 1450                                                 Dillingham        AK         99576
  Advantage Air Freight, LLC                                               5353 W. Rezanof Drive                                       Kodiak            AK         99615
  Aeco Aircraft Engines & Components Corp.                                 59 Central Avenue                                           Farmingdale       NY         11735
  Aeg Fuels / Associated Energy Group, LLC                                 25025 Interstate 45                                         The Woodlands     TX         77380
  Aero Aviation Company, Inc.                                              3701 Hwy 162                                                Granite City      IL         62040
  Aero Controls, Inc.                                                      PO Box 837                                                  Auburn            WA         98071-0837
  Aero Decals Inc                                                          1914 Canova Street                                          Palm Bay          FL         32909
  Aero Instruments & Avionics Inc                                          7290 Nash Road                                              North Tonawanda   NY         14120
  Aero Law Group Pc                                                        11120 Ne 2nd Street, Suite 100                              Bellevue          WA         98004-8332
  Aero Parts Mart                                                          4205 Stadium Drive                                          Fort Worth        TX         76133
  Aero Performance                                                         PO Box 4000                                                 Corona            CA         92880
  Aero Recip                                                               540 Marjorie St.                                            Winnipeg          MB         R3H 0S9      Canada
  Aero Services/ Trajen Funding, Inc                                       1500 Airport Terminal Way                                   Ketchikan         AK         99901
  Aero Specialties Inc                                                     11175 West Emerald                                          Boise             ID         83713

In re: Ravn Air Group, Inc., et al.                                                                                                                                                  Page 1 of 56
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                                                                                                       Creditor Matrix


                                 Name                                        Attention                             Address 1                           Address 2              City     State       Zip        Country
  Aero Svcs Sitka-Atlantic Avi-A Trajen Company                                                   PO Box 951883                                                    Dallas            TX        75395-1883
  Aero Twin, Inc                                                                                  2403 Merrill Field Drive                                         Anchorage         AK        99501
  Aerocontrolex                                                                                   4223 Monticello Blvd.                                            South Euclid      OH        44121
  Aero-Craft Hydraulics                                                                           392 North Smith Avenue                                           Corona            CA        92880-6971
  Aeroflex Wichita Inc.                                                                           10200 W York Street                                              Wichita           KS        67215-8999
  Aeroleds, LLC                                                                                   8475 W. Elisa Street                                             Boise             ID        83709
  Aero-Mach Lab Inc.                                                                              7707 E Funston                                                   Wichita           KS        67207
  Aeroneuf Instruments                                                                            600 3 E Ave.                                                     Laval             QC        H7R4J4       Canada
  Aeroport De Quebec Inc.                                                                         505 Rue Principale                                               Quebec            QC        G2G 0J4      Canada
  Aerospace Coatings International                                                                370 Knight Drive                                                 Oxford            AL        36203
  Aerospace Welding Inc.                                                                          890 Michele-Bohec                                                Blainville        QC        J7C 5E2      Canada
  Aerospace Welding Minneappolis, Inc.                                                            1045 Gemini Road                                                 Eagan             MN        55121-2204
  Aeroworks Of Alaska Inc.                                                                        PO Box 670253                                                    Chugiak           AK        99567
  Affiliated Appraisers Of Alaska                                                                 501 W. Norther Lights Blvd.                                      Anchorage         AK        99503
  Afg, Inc                                                                                        401 W. Inernational Airport Rd #31                               Anchorage         AK        99518
  Aflac                                                                                           1932 Wynnton Road                                                Columbus          GA        31993-0797
  Agnes Joe                                                                                       Address Redacted
  Aig Aerospace                                                                                   777 So. Figueroa Street, 18Th Floor                              Los Angeles       CA        90017
  Aim Aircraft Spares LLC                                                                         449 Highway 74 South                                             Peachtree City    GA        30269
  Aim Alaska                                                                                      8160 GreeNWood St                                                Anchorage         AK        99518
  Aimee Havemeister                                                                               Address Redacted
  Air Capitol Dial Inc                                                                            220 North Vine                                                   Wichita           KS        67203
  Air Cargo Carriers, Inc                                                                         4940 S. Howell Ave                                               Milwaukee         WI        53207
  Air Land Transport, Inc.                                                                        11100 Calaska Circle                                             Anchorage         AK        99515-2933
  Air Liquide America Corporation                                                                 6415 Arctic Blvd                                                 Anchorage         AK        99518
  Air North                                                                                       150 Condor Rd                                                    Whitehorse        YT        Y1A 6E6      Canada
  Air Support                                                                                     Nimbusvej 9                                                      Billund                                  Denmark
  Air Temp Alaska, LLC Diamond Heating                                                            5406 Lake Otis Parkway                                           Anchorage         AK        99507
  Airco Services, LLC                                                                             1851 S. Eisenhower Ct.                                           Witchita          KS        67209
  Aircom Avionics                                                                                 3628 University Ave. S                                           Fairbanks         AK        99709
  Aircraft Belts, Inc (Cc)                                                                        1173 Telecom Drive                                               Creedmoor         NC        27522-8294
  Aircraft Electronics Association                                                                3570 Ne Ralph Powell Rd.                                         Lee'S Summit      MO        64064
  Aircraft Interior Products                                                                      535 S. Emerson                                                   Wichita           KS        67209
  Aircraft Performance Group Inc.                                                                 4348 Woodlands Blvd.                                             Castle Rock       CO        80104-2814
  Aircraft Propeller Service, LLC                                                                 PO Box 71865                                                     Chicago           IL        60694-1865
  Aircraft Propeller Services, LLC                             Attn: Shelly Dunbar                595 Telser Road                                                  Lake Zurich       IL        60047
  Aircraft Spruce & Specialty Co.                                                                 PO Box 4000                                                      Corona            CA        92878-4000
  Aircraft Structures International Corporation                                                   1026 S 66Th, Hanger 33                                           Enid              OK        73701-9608
  Airforms, Inc.                                                                                  650 W. Aviation Ave.                                             Wasilla           AK        99654
  Airframe Innovations Inc.                                                                       3706 University Ave South                                        Fairbanks         AK        99709
  Airframes Alaska, LLC                                                                           2424 East 5Th Avenue                                             Anchorage         AK        99501
  Airframes Unlimited                                                                             Dba Airframes Unlimited                                          Anchorage         AK        99501
  Airgas Usa, LLC                                                                                 PO Box 102289                                                    Pasadena          CA        91189-2289
  Airline Service Providers Association                                                           16133 Ventura Blvd, Suite 880                                    Encino            CA        91436
  Airline Services                                                                                210 Airport Drive                                                Mcgrath           AK        99627
  Airline Spares America, Inc.                                                                    1022 East Newport Center Dr.                                     Deerfield Beach   FL        33442
  Airline Support Inc                                                                             PO Box 190735                                                    Anchorage         AK        99519
  Airlines For America                                                                            1301 Pennsylvania Avenue                                         Washington        DC        20004
  Airlink Shuttle & Tours                                                                         1213 Dolphin Way                                                 Fairbanks         AK        99709
  Airmark Components, Inc                                                                         2701 Sw 2Nd Ave                                                  Fort Lauderdale   FL        33315
  Airport Authority Of Washoe County                                                              Reno/Tahoe International Airport                                 Reno              NV        89510-2490
  Airport Enterprises LLC, Dba Contract Aircraft Technicians   Attn: Peter Gross                  PO Box 7276                                                      Kalispell         MT        59904
  Airport Equipment Rentals Inc.                                                                  PO Box 72578                                                     Fairbanks         AK        99707
  Airport Gas & Oil                                                                               4480 Dale Rd.                                                    Fairbanks         AK        99709
  Airstart                                                                                        2425 Matheson Bldv East                                          Mississauga       ON        L4W 5K4      Canada
  Aix LLC                                                                                         8881 Golovin Street                                              Anchorage         AK        99507
  Aizik Salvador                                                                                  Address Redacted
  Ajh Enterprises/ Arthur J Hagenston                                                             PO Box 82322                                                     Faribanks         AK        99708
  Ak Commission On Postsecondary Education                                                        PO Box 110505                                                    Juneau            AK        99811-0505
  Akiyo Kikuchi                                                                                   Address Redacted
  Akn Leasing, LLC                                                                                PO Box 777                                                       King Salmon       AK        99613

In re: Ravn Air Group, Inc., et al.                                                                                                                                                                             Page 2 of 56
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                                                                       Creditor Matrix


                                Name            Attention                           Address 1                       Address 2               City    State       Zip      Country
  Akron-Canton Reginal                                            Pfc Reporting & Remittance                                        North Canton   OH       44720
  Alabbas Altamimi                                                Address Redacted
  Alaco Ladder Company                                            5167 G Street                                                     Chino          CA       91710-5143
  Alaska Aerofuel Inc                                             PO Box 60669                                                      Fairbanks      AK       99706-0669
  Alaska Air Carriers Association                                 2301 Merrill Field Drive Unit A3                                  Anchorage      AK       99501
  Alaska Air Taxi                                                 4501 Aircraft Drive                                               Anchorage      AK       99502
  Alaska Airlines Air Cargo                                       PO Box 68900                                                      Seattle        WA       98168
  Alaska Airlines Bh Cc                                           PO Box 15796                                                      Wilmington     DE       19886-5796
  Alaska Airlines Corporate Ravn Cc                               Alaska Airlines Corporate Ravn Cc
  Alaska Appraisal & Consulting Group, Llp                        203 W. 15Th Ave. Suite 206                                        Anchorage      AK       99501
  Alaska Aviation Radio Inc                                       4235 Aircraft Drive Building C                                    Anchorage      AK       99502
  Alaska Basic Industries, Sub As&G Co.,Inc                       1040 O'Malley                                                     Anchorage      AK       99515
  Alaska Cab Valley                                               Ste Pmb 423, 2521 E. Mtn Village Dr.                              Wasilla        AK       99654
  Alaska Cargoport, LLC                                           3501 Manor Road                                                   Austin         TX       78723
  Alaska Central Express                                          PO Box 190248                                                     Anchorage      AK       99519
  Alaska Chamber                                                  471 West 36Th Ave. Suite 201                                      Anchorage      AK       99503
  Alaska Channel Inc                                              PO Box 100519                                                     Anchorage      AK       99510
  Alaska Cleaners Dba Snow White Cleaners                         700 I Street                                                      Anchorage      AK       99501
  Alaska Commercial Company                                       3830 Old Int'l Airport Rd                                         Anchorage      AK       99502
  Alaska Commercial Company                                       Box 908                                                           Bethel         AK       99559
  Alaska Communication System                                     PO Box 196666                                                     Anchorage      AK       99519-6666
  Alaska Container Cache, LLC                                     1907 Post Road                                                    Anchorage      AK       99501
  Alaska Department Of Labor                                      PO Box 115509                                                     Juneau         AK       99811-5509
                                                                                                          333 Willoughby Ave 11Th
  Alaska Dept Of Revenue Treasury Div                             Unclaimed Prop. Program                 Fl , State Office Bldg    Juneau         AK       99801-1770
  Alaska Dispatch News Do Not Use                                 PO Box 140147                                                     Anchorage      AK       99514
  Alaska Dmv                                                      2760 Sherwood Lane                                                Juneau         AK       99801
  Alaska Event Services, Inc.                                     PO Box 200291                                                     Anchorage      AK       99520
  Alaska Executive Search, Inc                                    821 N Street, Suite 204                                           Anchorage      AK       99501-6093
  Alaska Federation Of Natives                                    3000 A Street, Suite 210                                          Anchorage      AK       99503
  Alaska Growth Capital Bidco, Inc.                               3301 C. Street                          Suite 100                 Anchorage      AK       99503
  Alaska Growth Capital Bidco, Inc.                               3900 C. Street                          Suite 302                 Anchorage      AK       99503
  Alaska Growth Capital Bidco, Inc.                               3900 C. Street                          Suite 302                 Anchorage      AK       99503
  Alaska Health Fair                                              720 W 58Th Ave, Unit J                                            Anchorage      AK       99518
  Alaska Industrial Hardware Inc                                  2192 Viking Drive                                                 Anchorage      AK       99501
  Alaska King Salmon Lodge                                        165 West Housing Road                                             King Salmon    AK       99613
  Alaska Lighting & Supply                                        1450 E. Tudor Road                                                Anchorage      AK       99507-1034
  Alaska Lightweight Express, LLC                                 PO Box 92541                                                      Anchorage      AK       99509-2541
  Alaska Logistics LLC                                            PO Box 3512                                                       Seattle        WA       98124
  Alaska Marine Highway - State Of Alaska                         Department Of Transportation                                      Juneau         AK       99801-2500
  Alaska Marine Lines, Inc.                                       PO Box 34026                                                      Seattle        WA       98124-1026
  Alaska Maritime Agencies -Anchorage                             As Agents Only                                                    Anchorage      AK       99503
  Alaska Medical Lab Services, LLC Dba Aat                        PO Box 240045                                                     Anchorage      AK       99524
  Alaska Metrology & Calibration Services Inc                     224 East 54Th Avenue                                              Anchorage      AK       99518
  Alaska National Insurance                                       7001 Jewel Lake Road                                              Anchorage      AK       99502
  Alaska Native Heritage Center                                   8800 Heritage Center Dr.                                          Anchorage      AK       99504
  Alaska On Point Service                                         8211 E 6Th Avenue                                                 Anchorage      AK       99504
  Alaska Pacific Rental                                           1111 Glen Hwy                                                     Palmer         AK       99645
  Alaska Railroad Corporation                                     PO Box 100520                                                     Anchorage      AK       99510-0520
  Alaska Restaurant Supply, Inc.                                  2511 Eagle Street                                                 Anchorage      AK       99503
  Alaska Rubber & Supply/Anc                                      5811 Old Seward Highway                                           Anchorage      AK       99518
  Alaska Safety Inc.                                              4725 Gambell Street                                               Anchorage      AK       99503
  Alaska Sales And Service, Inc                                   1300 E. Fifth Avenue                                              Anchorage      AK       99501
  Alaska Serigraphics, Inc                                        1711 Abbott Rd                                                    Anchorage      AK       99507
  Alaska Sewer & Drain                                            PO Box 221914                                                     Anchorage      AK       99522
  Alaska State Troopers                                           Box 187                                                           King Salmon    AK       99612
  Alaska Steel Company                                            6180 Electron Drive                                               Anchorage      AK       99518
  Alaska Survey Research                                          880 H Street, Suite 106                                           Anchorage      AK       99501
  Alaska Tanker Company, LLC                                      15400 NW Greenbrier Parkway                                       Beaverton      OR       97006
  Alaska Tent & Tarp / At Acquisitions, LLC                       Alaska Tent & Tarp                                                Chugiak        AK       99567
  Alaska Textiles, Inc.                                           620 West Fireweed Lane                                            Anchorage      AK       99503

In re: Ravn Air Group, Inc., et al.                                                                                                                                       Page 3 of 56
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                                                                             Creditor Matrix


                                 Name                 Attention                          Address 1                           Address 2           City    State       Zip      Country
  Alaska Travel Industry Association                                    610 E 5Th Ave.                                                   Anchorage      AK       99501
  Alaska Travel Source                                                  1236 E 72Nd Ave                                                  Anchorage      AK       99518
  Alaska Waste                                                          PO Box 196097                                                    Anchorage      AK       99519-6097
  Alaska Weather Operations Services, Inc                               4325 Aircraft Drive, Bldg C                                      Anchorage      AK       99502
  Alaska West Express                                                   PO Box 34026                                                     Seattle        WA       98124-1026
  Alaska Wholesale Bakery Dba Illusions Food Co.LLC                     PO Box 90810                                                     Anchorage      AK       99509-0810
  Alaska Yellow Dispatch                                                PO Box 231110                                                    Anchorage      AK       99523-1110
  Alaskan Aircraft Engines, Inc.                                        2425 Merrill Field Drive                                         Anchorage      AK       99501
  Alaskan Airframes                                                     17400 E. Marcus Baker Dr.                                        Palmer         AK       99645
  Alaskan Standard Seafoods                                             48275 Rustic Ave                                                 Kasilof        AK       99610
  Alaska'S Best Water & Coffee, Inc                                     11811 S Gambell St                                               Anchorage      AK       99515
  Albany County Airport                                                 Airport Directors Ofc Pfc Dept, Suite 2                          Albany         NY       12211
  Albert Bukowski                                                       Address Redacted
  Albert Williams                                                       Address Redacted
  Alberth Aviation, Ltd.                                                36027 Fm 1774                                                    Magnolia       TX       77355
  Albert-John Pigott                                                    Address Redacted
  Albuquerque Int'L Sunport                                             Albuquerque Int'L Sunport                                        Albuquerque    NM       87119-1048
  Alcan Electrical And Engineering Inc                                  PO Box 91499                                                     Anchorage      AK       99509
  Alcantel                                                              6670 Arctic Spur Rd.                                             Anchorage      AK       99518
  Aleah Lazar                                                           Address Redacted
  Alejandra Olfson                                                      Address Redacted
  Alejandra Y Olfson                                                    Address Redacted
  Alert Expeditor'S Inc.                                                8421 Flamingo Drive                                              Anchorage      AK       99502
  Aleutian Expeditors                                                   PO Box 920054                                                    Dutch Harbor   AK       99692
  Aleutian Services Inc                                                 17 Buckner Rd                                                    Cold Bay       AK       99571
  Alex Goodermote                                                       Address Redacted
  Alex Hoffman                                                          Address Redacted
  Alex Hotel & Suites/Akhappytime LLC                                   4615 Spenard Road                                                Anchorage      AK       99517
  Alex Mendigorin                                                       Address Redacted
  Alexander Agosti                                                      Address Redacted
  Alexander Ivanoff                                                     Address Redacted
  Alexander Loseke                                                      Address Redacted
  Alexandria International Airport                                      Pfc Reporting & Remittance                                       Alexandria     LA       71303
  Alexie, Kenya                                                         Address Redacted
  Alexis Fernandez                                                      Address Redacted
  Alfenor Agmata                                                        Address Redacted
  Alfred Gordon                                                         Address Redacted
  Algaaciq Tribal Government                                            PO Box 48                                                        St. Mary'S     AK       99658
  Alice Sheldon                                                         Address Redacted
  Alice Toshavik                                                        Address Redacted
  Alison Glover                                                         Address Redacted
  All Alaska Acoustic Ceilings                                          Box 672057                                                       Chugiak        AK       99567
  All Alaska Tours                                                      600 Barrow St, Suite 200                                         Anchorage      AK       99501
  All Steel Inc.                                                        1974 Livengood Ave.                                              Fairbanks      AK       99701
  All-American Publishing                                               PO Box 100                                                       Caldwell       ID       83606-0100
  Allaster Bland                                                        Address Redacted
  All-Comm Technologies                                                 5 Whitmore Road                                                  Revere         MA       02151
  Allen Ebadpour                                                        Address Redacted
  Allen Goss                                                            Address Redacted
  Allen Isabell                                                         Address Redacted
  Allied Electronics Inc                                                PO Box 2325                                                      Fort Worth     TX       76113-2325
  Allied Interstate LLC                                                 PO Box 19066                                                     Minneapolis    MN       55419-0066
  Alpha Media, LLC (Kayo-Fm,Kbrj-Fm)                                    301 Arctic Slope., Ste 200                                       Anchorage      AK       99518
  Als Tribology                                                         6180 Halle Dr.                                                   Valley View    OH       44125
  Alsco American Linen Division                                         PO Box 240048                                                    Anchorage      AK       99524-0048
  Alsco Aviation Inc.                                                   1036 East 7Th Avenue                                             Anchorage      AK       99501
  Altaviola Jones                                                       Address Redacted
  Altman, Rogers & Co.                                                  425 G Street, Sute 500                                           Anchorage      AK       99501-2160
  Altrol Inc.                                                           2295 A Van Horn Road                                             Fairbanks      AK       99701
  Alvarez, Janet                                                        Address Redacted
  Alvin Iyatunguk                                                       Address Redacted

In re: Ravn Air Group, Inc., et al.                                                                                                                                            Page 4 of 56
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                                                                      Creditor Matrix


                               Name            Attention                          Address 1                      Address 2              City    State       Zip      Country
  Alyeska Tire & Service, Inc.                                   35095 K-B Drive                                             Soldotna          AK       99669
  Alyssa Gregory                                                 Address Redacted
  Amanda Choquette                                               Address Redacted
  Amanda Fisher                                                  Address Redacted
  Amanda J Riley                                                 Address Redacted
  Amanda Lervold                                                 Address Redacted
  Amanda Shavings                                                Address Redacted
  Amanda Simeon                                                  Address Redacted
  Amar Herrington                                                Address Redacted
  Amara Meierhoff-Dearman                                        Address Redacted
  Amazon Business                                                PO Box 035184                                               Seattle           WA       98124-5184
  Amazon Marketplace (Amazon.Com)                                PO Box 530958                                               Atlanta           GA       30353-0958
  Amber Merrill                                                  Address Redacted
  Ambrose Aguchak                                                Address Redacted
  Amelia Leake                                                   Address Redacted
  Amerigas Propane Inc.                                          3620 S. Cushman Street                                      Fairbanks         AK       99701-7526
  Ametek Ameron Global Product Support                           4750 Littlejohn St.                                         Baldwin Park      CA       91706
  Ametek Inc.                                                    PO Box 786035                                               Philadelphia      PA       19178-6035
  Ams - Anchorage Messenger Service                              5001 Arctic Blvd, Unit #2                                   Anchorage         AK       99503
  Amsafe Inc                                                     Lockbox 911928                                              Pasadena          CA       91110-1928
  Amy Nicori                                                     Address Redacted
  Anchor Inn Motel                                               Po Box 189                                                  Sand Point        AK       99661
  Anchorage Chamber Of Commerce                                  1016 West 6Th Ave., Ste 303                                 Anchorage         AK       99501
  Anchorage Daily News                                           300 W. 31St Avenue                                          Anchorage         AK       99503
  Anchorage Economic Development Corp                            510 L Street, Suite 603                                     Anchorage         AK       99501
  Anchorage Fire Department/Moa Fire Inspec                      PO Box 269110                                               Sacremento        CA       95826-9110
  Anchorage Hospitality LLC/Crowne Plaza                         109 W International Airport Rd                              Anchorage         AK       99518
  Anchorage Printing, Inc.                                       3110 Spenard Rd.                                            Anchorage         AK       99503
  Anchorage Sand & Gravel                                        1040 O'Malley Road                                          Anchorage         AK       99515
  Anchorage True Value Hardware                                  9001 Jewel Lake Road Bay 5                                  Anchorage         AK       99502-5354
  Anchorage Water & Wastewater Utility/ Muni                     PO Box 196626                                               Anchorage         AK       99519-6626
  Andrea Fahas                                                   Address Redacted
  Andrea Mitchell                                                Address Redacted
  Andrea Painter                                                 Address Redacted
  Andreafski River Lodge                                         80956 Hwy 82                                                Wallowa           OR       97885
  Andrew Airways                                                 PO Box 1037                                                 Kodiak            AK       99615
  Andrew Baldwin                                                 Address Redacted
  Andrew Barcus                                                  Address Redacted
  Andrew Bouwkamp                                                Address Redacted
  Andrew Corlett                                                 Address Redacted
  Andrew Fox                                                     Address Redacted
  Andrew Hartung                                                 Address Redacted
  Andrew Herbert                                                 Address Redacted
  Andrew Miller                                                  Address Redacted
  Andrew Moss                                                    Address Redacted
  Andrew Rhynard                                                 Address Redacted
  Andrew Rhynard                                                 Address Redacted
  Andrew Seman                                                   Address Redacted
  Andrew Towne                                                   Address Redacted
  Angela Perry-Carter                                            Address Redacted
  Angelica Andres                                                Address Redacted
  Aniak Bnb                                                      PO Box 241                                                  Aniak             AK       99557
  Aniak Enterprises                                              PO Box 356                                                  Aniak             AK       99557
  Aniak Light & Power Co. Inc.                                   PO Box 129                                                  Aniak             AK       99557
  Anica Inc.                                                     4025 Delridge Way Sw #300                                   Seattle           WA       98106
  Ann Rausch                                                     Address Redacted
  Ann Teilborg                                                   Address Redacted
  Anna Bill                                                      Address Redacted
  Anna Rookok                                                    Address Redacted
  Annie Bright                                                   Address Redacted
  Ansett Aircraft Spares & Services                              PO Box 9228                                                 Sylmar            CA       91342

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                                                                                               Creditor Matrix


                                Name                                  Attention                           Address 1                             Address 2              City    State       Zip      Country
  Answers Aerospace Engineering, LLC                                                      1838 West Parkside Lane, Suite 100                                Phoenix           AZ       85027-USA
  Anthony L Amari                                                                         Address Redacted
  Anthony-Michel Mautemps                                                                 Address Redacted
  Antlers Inn                                                                             PO Box 471                                                        King Salmon       AK       99613
  Anton Rozvodovskiy                                                                      Address Redacted
  Aog Reaction Inc                                                                        526 Aviator Drive                                                 Fort Worth        TX       76179-5425
  Apex Engineering                                                                        PO Box 81822                                                      Fairbanks         AK       99708
  Apolonia Fealofani                                                                      Address Redacted
  Applied Avionics, Inc.                                                                  PO Box 723575                                                     Dallas            TX       75373-2575
  April Whitman                                                                           Address Redacted
  Aptel Studio Hotel                                                                      624 Rodeo Place                                                   Anchorage         AK       99508
  Apun LLC                                                                                2130 E Dimond Blvd                                                Anchorage         AK       99507
  Arash Ferozepurwalla                                                                    Address Redacted
  Archie Townsend                                                                         Address Redacted
  Architectural Supply Co.                                                                3699 Springer St                                                  Anchorage         AK       99503
  Arctic Couriers                                                                         PO Box 60135                                                      Fairbanks         AK       99709
  Arctic Fire & Safety, Inc..                                                             702 30Th Avenue                                                   Fairbanks         AK       99701-7506
  Arctic Fox Safety And Supply                                                            1500 Post Road                                                    Anchorage         AK       99501
  Arctic Office Products                                                                  PO Box 100083                                                     Anchorage         AK       99510
  Arctic Refrigeration/Air Conditioning                                                   500 W Potter Dr Suite 100                                         Anchorage         AK       99518
  Arctic Slope Telephone Assoc Coop Inc                                                   4300 B Street                               Suite 501             Anchorage         AK       99503
  Arctic Terra, LLC                                                                       331 East 87Th Ave.                                                Anchorage         AK       99515
  Arctic Wire Rope & Supply                                                               6407 Arctic Spur Rd                                               Anchorage         AK       99518
  Arden Miller                                                                            Address Redacted
  Aren Willis                                                                             Address Redacted
  Arete Family Services                                                                   3801 University Drive                                             Anchorage         AK       99508
  Argus International, Inc.                                                               4240 Airport Road, Suite 300                                      Cincinnati        OH       45226
  Arianne Co                                                                              Address Redacted
  Ariel Tyson                                                                             Address Redacted
  Arinc                                                                                   2551 Riva Road                                                    Annapolis         MD       21401-7465
  Arlene Waghiyi                                                                          Address Redacted
  Armida Pimentel                                                                         Address Redacted
  Armida Pimentel                                                                         Address Redacted
  Armond Tackett                                                                          Address Redacted
  Armstrong, Mabel                                                                        Address Redacted
  Army Navy/Eagle River Outfitters                                                        320 W. 4Th Avenue                                                 Anchorage         AK       99501
  Arnold Kilbuck                                                                          Address Redacted
  Arthur Abalama                                                                          Address Redacted
  Arthur Busch                                                                            Address Redacted
  Arthur Heckman                                                                          Address Redacted
  Arthur Hendrickson                                                                      Address Redacted
  Arthur J Gallagher, Inc.                                                                9515 Hillwood Drive                                               Las Vegas         NV       89134
  Arthur J. Gallagher Risk Management Services, Inc.   Attn: Legal Dept.                  9515 Hillwood Drive                                               Las Vegas         NV       89134
  A-Scan Laboratries                                                                      24426 S. Main Street Suite 703                                    Carson            CA       90745
  Ashana Apatiki                                                                          Address Redacted
  Asheville Regional Airport                                                              Asheville Regional Airport Authority                              Fletcher          NC       28732
  Ashley Hoogendorn                                                                       Address Redacted
  Ashley Loveland                                                                         Address Redacted
  Ashley Menapace                                                                         Address Redacted
  Asiasiga Tufele                                                                         Address Redacted
  Asofiafia Tinoga                                                                        Address Redacted
  Aspen Avionics, Inc.                                                                    5001 Indian School Road Ne                                        Albuquerque       NM       87110
  Aspen Suites Hotel-Anchorage                                                            100 East Tudor Road                                               Anchorage         AK       99503
  Aspen Suites Hotel-Kenai                                                                10431 Kenai Spur Hwy                                              Kenai             AK       99611
  Asr LLC                                                                                 PO Box 243002                                                     Anchorage         AK       99524
  Asrc Energy Services                                                                    PO Box 241562                                                     Anchorage         AK       99524-1562
  Associated Bag Company                                                                  400 West Boden Street                                             Milwaukee         WI       53207
  Astro Tool                                                                              21615 S W Tualatin Valley Hwy                                     Beaverton         OR       97006
  At&T                                                                                    PO Box 5019                                                       Carol Stream      IL       60197-5019
  At&T Alascom                                                                            PO Box 5019                                                       Carol Stream      IL       60197-5019
  At&T Business Service                                                                   PO Box 105068                                                     Atlanta           GA       30348-5068

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                                                                                 Creditor Matrix


                                   Name                  Attention                           Address 1                         Address 2            City      State       Zip        Country
  At&T Mobility                                                             PO Box 6463                                                    Carol Stream    IL         60197-6463
  Atco                                                                      521 Shattuck Way                                               Newington       NH         03801
  Atlanta Hartsfield Int'L Airport                                          PO Box 945876                                                  Atlanta         GA         30394
  Atlantic Aviation Landing Fees                                            PO Box 951883                                                  Dallas          TX         75395-1883
  Atp-Aircraft Technical Publishers                                         2000 Sierra Point Parkway                                      Brisbane        CA         94005
  Aubrey Cogswell                                                           Address Redacted
  Audrey Leary                                                              Address Redacted
  Augstin Lanza Velasquez                                                   Address Redacted
  Augushtiana Namulauti-Timu                                                Address Redacted
  Augustine Lane                                                            Address Redacted
  Aurora Inn                                                                PO Box 1008                                                    Nome            AK         99762
  Ausdahl Mercantile                                                        Box 21                                                         Kalskag         AK         99607
  Austin Aerotech Inc                                                       2005 Windy Terrace                                             Cedar Park      TX         78613
  Austin Bowen                                                              Address Redacted
  Austin Miller                                                             Address Redacted
  Austin Novak                                                              Address Redacted
  Austin/Straubel International Airport                                     Airport Director                                               Green Bay       WI         54313-5596
  Austin-Bergstrom Int'L Airport                                            Austin-Bergstrom Int'L Airport                                 Austin          TX         78719-2364
  Auto Trim Design Of Fairbanks, Inc.                                       2550 South Cushman Street                                      Fairbanks       AK         99701
  Autocrib                                                                  2882 Dow Ave                                                   Tustin          CA         92780
  Av-Air Inc                                                                335 56Th St. Ste 2                                             Chandler        AZ         85226
  Avcp, Inc                                                                 C/O Quinhagak Avcp Head Start                                  Quinhagak       AK         99455
  Av-Dec Dba Aviation Devices                                               3215 W Loop 820 S                                              Fort Worth      TX         76116-5941
  Avec                                                                      4831 Eagle Street                                              Anchorage       AK         99503-7431
  Avery Waska                                                               Address Redacted
  Avgroup Incorporated                                                      PO Box 80220                                                   Atlanta         GA         30366-0220
  Aviall Services Incorporated                                              PO Box 842267                                                  Dallas          TX         75284-2267
  Aviation Inventory Resources                                              PO Box 1999                                                    Mansfield       TX         76063
  Aviation Laboratories Inc                                                 5401 Mitchelldale Ste B 6                                      Huston          TX         77092-7227
  Aviation Medical Services Of Alaska,LLC                                   5011 Spenard Rd.                                               Anchorage       AK         99517
  Aviation Survival                                                         274 West Drive                                                 Melbourne       FL         32904
  Avionic Industries Inc.                                                   444 Grove Lane #104                                            Melbourne       FL         32901
  Avionics Specialists Inc                                                  3833 Premier Road                                              Memphis         TN         38118
  Avitas                                                                    14520 Avion Parkway, Suite 300                                 Chantilly       VA         20151
  Avmax Aircraft Leasing                                                    2055 Pegasus Road Ne                                           Calgary         AB         T2E 7G5      Canada
  Avmax Aviation Services                   Attn: Evan Gao                  2055 Pegasus Road Ne                                           Calgary         Alberta    T2E 8C3      Canada
  Avmax Aviation Services, Inc.                                             2055 Pegasus Rd                                                Ne Calgary      AB         T2E 8C3      Canada
  Av-Rep                                                                    6245 Danville Rd.                                              Mississauga     ON         L5T2H7       Canada
  Avtech Tyee                                                               6500 Merrill Creek Pkwy                                        Everett         WA         98203
  Axel Anaruk Ii                                                            Address Redacted
  Ayagiaq Goodwin                                                           Address Redacted
  Ayla Pinto Espinosa                                                       Address Redacted
  B&J Forklift Services, Inc.                                               380 E 54Th Ave                                                 Anchorage       AK         99518
  B/E Aerospace Inc. Emteq, Inc.                                            5349 South Emmer Drive                                         New Berlin      WI         53140
  B3027 Brooks Range Kenai, Inc 500002238                                   10704 Kenai Spur Hwy                                           Kenai           AK         99611
  Bac Transportation LLC                                                    PO Box 243742                                                  Anchorage       AK         99524
  Baird, Justin                                                             Address Redacted
  Baker Construction Inc.                                                   PO Box 2246                                                    Barrow          AK         99723
  Baker Hughes, A Ge Company,LLC                                            14348 Collections Center Drive                                 Chicago         IL         60693
  Bald Mountain Air Service                                                 3758 Faa Road Suite B                                          Homer           AK         99603
  Ballot, Colleen                                                           Address Redacted
  Baolong Lawson                                                            Address Redacted
  Barbara Wilson                                                            Address Redacted
  Barfield                                                                  PO Box 931565                                                  Atlanta         GA         31193-1565
  Barrow Mechanical                                                         PO Box 426                                                     Barrow          AK         99723
  Barrow Utilities & Electric Coop, Inc.                                    PO Box 449                                                     Barrow          AK         99723-0449
  Bart Aylward                                                              Address Redacted
  Bassey, Harry                                                             Address Redacted
  Batteries Plus #429                                                       910 West International Airport Rd                              Anchorage       AK         99518
  Bay Area Fire Equipment                                                   Box 144                                                        Naknek          AK         99633
  Bdo Usa, Llp                                                              PO Box 677973                                                  Dallas          TX         75267-7973

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                                                                                         Creditor Matrix


                                 Name                             Attention                          Address 1                     Address 2            City    State       Zip        Country
  Beacon Ohss                                                                       Lock Box # 631101                                          Seattle         WA       98124-3852
  Beaconinsight LLC                                                                 PO Box 94632                                               Seattle         WA       98124
  Bear Paw Inn - Jultie Investments                                                 PO Box 1295                                                Dillingham      AK       99576
  Bear Trail Cabins, Inc.                                                           2 Bear Trail Rd.                                           King Salmon     AK       99613
  Bear Trail Lodge                                                                  PO Box 221                                                 King Salmon     AK       99613
  Bearfoot Inn Alaska                                                               PO Box 123                                                 Cold Bay        AK       99571
  Beaver Creek Bed And Breakfast                                                    PO Box 563                                                 Dillingham      AK       99576
  Beckett, Ethan                                                                    Address Redacted
  Becky Turland                                                                     Address Redacted
  Beebe Custom Upholstery                                                           920 E. Chet Smith                                          Derby           KS       67037
  Bellingham Int'L Airport                                                          PO Box 1677                                                Bellingham      WA       98227-1677
  Ben Polk                                                                          Address Redacted
  Benjamin Brown                                                                    Address Redacted
  Benjamin Daily                                                                    Address Redacted
  Benjamin Harper                                                                   Address Redacted
  Benjamin Hawkins                                                                  Address Redacted
  Benjamin Hebrink                                                                  Address Redacted
  Benjamin I Jones                                                                  Address Redacted
  Benjamin Kusaiak                                                                  Address Redacted
  Benjamin Leonard                                                                  Address Redacted
  Benjamin Rorman                                                                   Address Redacted
  Benjamin Saunders                                                                 Address Redacted
  Benjamin Slagle                                                                   Address Redacted
  Benjamin Thickstun                                                                Address Redacted
  Benjamin Velasquez                                                                Address Redacted
  Benson Excavation & Landscape, LLC                                                940 Duckhawk Drive                                         Fairbanks       AK       99709
  Berina Cruz                                                                       Address Redacted
  Bering Air, Inc                                                                   PO Box 1650                                                Nome            AK       99762
  Bering Strait School District                                                     PO Box 225                                                 Unalakleet      AK       95684
  Bering Straits Development Co.                                                    3301 C. Street, Suite 400                                  Anchorage       AK       99503
  Bering Straits Development Company                                                PO Box 1008                                                Nome            AK       99762
  Bersenas Jacobsen Chouest Thomson Blackburn Llp                                   33 Yonge Street                                            Toronto         ON       M5E1G4       Canada
  Bess Evans                                                                        Address Redacted
  Bessey, Harry                                                                     Address Redacted
  Best Western Bidarka Inn                                                          575 Sterling Hwy                                           Homer           AK       99603
  Best Western Kodiak Inn                                                           236 West Rezanof Drive                                     Kodiak          AK       99615
  Best Western Valdez Harbor Inn                                                    PO Box 468                                                 Valdez          AK       99686
  Bethany Payne                                                                     Address Redacted
  Bethel Car Rental - Sourdough Auto Leasing, Inc.                                  PO Box 1168                                                Bethel          AK       99559
  Bethel Family Clinic                                                              PO Box 1908                                                Bethel          AK       99559-1908
  Bethel Services, Inc.                                                             2605 Denali Street, Suite 100                              Anchorage       AK       99503
  Betty Kingeak                                                                     Address Redacted
  Betty Turner                                                                      Address Redacted
  Beverly Leonard-Taxac                                                             Address Redacted
  Bibb, Carol                                                                       Address Redacted
  Bibianna Snowball                                                                 Address Redacted
  Big G Electric & Engineering Inc                                                  42005 K-Beach Road                                         Soldotna        AK       99669-8229
  Bill Tino                                                                         Address Redacted
  Billings Logan Int'L Airport                                                      Aviation And Transit Department                            Billings        MT       59105-1996
  Bishop Int'L Airport Authority                                                    Pfc Reporting & Remittance                                 Flint           MI       48507
  Bismark Municipal Airport                                                         Pfc Reporting & Remittance                                 Bismark         ND       58502-0991
  Bjorn Wood                                                                        Address Redacted
  Blackbird, LLC                                     c/o Bob Hajdukovich            229 Iditarod Avenue                                        Fairbanks       AK       99701
  Blackbird, LLC.                                                                   229 Iditarod Ave                                           Fairbanks       AK       99701
  Blake Caudle                                                                      Address Redacted
  Blake Johnson                                                                     Address Redacted
  Blake Knoll                                                                       Address Redacted
  Blank Rome, Llp                                                                   One Logan Square                                           Philadelphia    PA       19103-6998
  Blue Fly B&B And Guide Service                                                    PO Box 81                                                  King Salmon     AK       99613
  Bnp Paribas, As Collateral Agent                                                  155 N. Wacker Drive                     Suite 4450         Chicago         IL       60606
  Bobbie Davis                                                                      Address Redacted

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                                                                                Creditor Matrix


                                 Name                    Attention                         Address 1                        Address 2              City    State       Zip         Country
  Bobbie Sunny                                                             Address Redacted
  Boeing Distribution, Inc.                 Attn: Connie Moore             PO Box 842267                                                Dallas            TX       75284-2267
  Bombardier Aerospace                                                     PO Box 6087                                                  Montreal          QC       H3C 3G9      Canada
  Bombardier Regional Aircraft Division                                    Lockbox 3819                                                 Chicago           IL       60693
  Bonanza Express                                                          400 Bering St                                                Nome              AK       99762
  Bonanza Fuel, Inc.                                                       PO Box 1129                                                  Nome              AK       99762
  Bonnie Graham                                                            Address Redacted
  Bonnie Savala                                                            Address Redacted
  Bore Tide One Source, Inc.                                               Dept La 23232                                                Pasadena          CA       91185-3232
  Bosfuel Corp                                                             PO Box 16487                                                 Washington        DC       20041
  Bouhamdi Mohammed                                                        Address Redacted
  Bound Tree Medical, LLC                                                  23537 Network Place                                          Chicago           IL       61673-1235
  Boyd Group International                                                 78 Beaver Brook Canyon Rd                                    Evergreen         CO       80439
  Boynton Printing                                                         551 3Rd Street                                               Fairbanks         AK       99701
  Brad Mcdanold                                                            Address Redacted
  Bradley Int'L Airport                                                    334 Ella Grasso Turnpike                                     Windsor Locks     CT       06096
  Bradley Peet                                                             Address Redacted
  Brahunson Kaai                                                           Address Redacted
  Bramlands Aviation Ltd                                                   Unit 77, Mackley Industrial Estate                           W. Sussex                  BN5 9XR      United Kingdom
  Brandi Sinnett                                                           Address Redacted
  Brandon Brenchley                                                        Address Redacted
  Brandon Crane                                                            Address Redacted
  Brandon Ingham                                                           Address Redacted
  Brandon Jensen                                                           Address Redacted
  Brandon Wilson                                                           Address Redacted
  Brandy Goracke                                                           Address Redacted
  Brandyourself.Com Inc.                                                   53 W. James St. Ste, 401                                     Lancaster         PA       17603
  Bray Hoover                                                              Address Redacted
  Braydon Goodman                                                          Address Redacted
  Breanna Simeon                                                           Address Redacted
  Brena, Bell & Clarkson, P.C.                                             810 N Street, Suite100                                       Anchorage         AK       99501
  Brenda Crowley                                                           Address Redacted
  Brenda Crowley                                                           Address Redacted
  Brenda Denny                                                             Address Redacted
  Brenda Geffe                                                             Address Redacted
  Brenda Hightower                                                         Address Redacted
  Brendan Lewis                                                            Address Redacted
  Brennan Vasquez                                                          Address Redacted
  Brent Davidson                                                           Address Redacted
  Brent Merdian                                                            Address Redacted
  Brett Ambridge                                                           Address Redacted
  Brett Carpenter                                                          Address Redacted
  Brett Harris                                                             Address Redacted
  Brett Muller                                                             Address Redacted
  Brett Richardson                                                         Address Redacted
  Brette Nolen                                                             Address Redacted
  Brewstersoft Development                                                 821 23Rd Ave                                                 Fairbanks         AK       99701
  Brian Amik                                                               Address Redacted
  Brian J Whilden                                                          Address Redacted
  Brian Peterson                                                           Address Redacted
  Brian Pickard                                                            Address Redacted
  Brice Equipment, LLC                                                     PO Box 70908                                                 Fairbanks         AK       99707
  Brice, Inc.                                                              Box 70668                                                    Fairbanks         AK       99707
  Brielle Dawson                                                           Address Redacted
  Brilliant Media Strategies Alaska, Inc.                                  900 W. 5Th Avenue                                            Anchorage         AK       99501
  Bristol Alliance Fuel LLC                                                PO Box 1529                                                  Dillingham        AK       99576
  Bristol Bay Borough                                                      PO Box 189                                                   Naknek            AK       99633
  Bristol Bay Borough Ppt                                                  1 Main St.                                                   Naknek            AK       99633
  Bristol Bay Telephone                                                    Do Not Use See B0036                                         King Salmon       AK       99613
  Bristol Bay Telephone Cooperative                                        PO Box 259                                                   King Salmon       AK       99613
  Bristol Inn                                                              Duplicate Do Not Use                                         Use B4003

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                                                                                      Creditor Matrix


                                Name                            Attention                        Address 1                        Address 2              City        State       Zip        Country
  Britt Goudey                                                                   Address Redacted
  Brittany Barber                                                                Address Redacted
  Brittany Hill                                                                  Address Redacted
  Brock Buttrey                                                                  Address Redacted
  Brooks Davidson                                                                Address Redacted
  Brooks Range Supply, Inc.                                                      PO Box 243445                                                Anchorage         AK           99524-3445
  Brothers Aviation Maintenance                                                  406 S. Main Street                                           Clover            SC           29710
  Brothers Aviation Maintenance Service, Inc.                                    406 S. Main Street                                           Clover            SC           29710
  Broward County Aviation Department Ft Lauderville/Hollywood
  Int.                                                                           2200 Sw 45Th St. Suite 101                                   Danai Beach       FL           33312
  Brown Aircraft Supply, Inc                                                     4123 Muncy Rd                                                Jacksonville      FL           32207
  Brown'S Lodge                                                                  PO Box 396                                                   Unalakleet        AK           99684
  Bruce Barcus                                                                   Address Redacted
  Bruce Mosher                                                                   Address Redacted
  Bruce Sandstrom                                                                Address Redacted
  Bruce Schulte                                                                  Address Redacted
  Bruno Nunes Viana                                                              Address Redacted
  Bryan Morgan                                                                   Address Redacted
  Bryan Rasmussen                                                                Address Redacted
  Bryce Lebaron                                                                  Address Redacted
  Bryon E Nanalook                                                               Address Redacted
  Bsi Group America                                                              12950 Worldgate Dr. Suite 800                                Herndon           VA           20170
  Btp Swanson'S Alaska LLC                                                       PO Box 2590                                                  Bethel            AK           99559
  Builders Choice Modular LLC                                                    3900 C Street, Ste 301                                       Anchorage         AK           99503
  Builders Industrial Supply                                                     PO Box 947                                                   Nome              AK           99762
  Building Analytics, Inc.                                                       601 S Glenoaks Blvd., Suite 214                              Burbank           CA           91502
  Burkher Ivanoff                                                                Address Redacted
  Burns Tools, Inc.                                                              3294 Storey Drive                                            North Pole        AK           99708
  Bush Tell, Inc.                                                                1 Bush-Tell Court                                            Aniak             AK           99557
  Bush Tell, Inc.                                                                PO Box 109                                                   Aniak             AK           99557
  Business Licensing And Sales Tax Division                                      PO Box 388                                                   Bethel            AK           99559
  Bussdieker, Jason                                                              Address Redacted
  C & C Heating                                                                  PO Box 234                                                   Naknek            AK           99633
  C & L Aerospace LLC                                                            40 Wyoming Avenue                                            Bangor            ME           04401
  Cac Plastics LLC                                                               2600 E Broadview Ave                                         Wasilla           AK           99654-8302
  Cade Palmer                                                                    Address Redacted
  Caitlin Cahill                                                                 Address Redacted
  Caitlyn Larcom                                                                 Address Redacted
  Cal Labs Inc                                                                   2525 Santa Anna Avenue                                       Dallas            TX           75228
  Caleb Johnston                                                                 Address Redacted
  Caleb Wolfram                                                                  Address Redacted
  California Employment Development Department                                   PO Box 826880                           Mic 83               Sacramento        CA           94280-0001
  California State Disbursement Unit                                             PO Box 989067                                                West Sacramento   CA           95798-9067
  California Unemployment Development Department                                 PO Box 826880                           Mic 40               Sacramento        CA           94280-0001
  California Wing Specialties                                                    5068 W. Wathen Avenue                                        Fresno            CA           93722
  Calissa Delgado                                                                Address Redacted
  Callahan Aircraft Services, LLC                                                1228 Lee Road 70                                             Camp Hill         AL           36830
  Calm Systems Inc                                                               1935 Shermer Rd Ste 250                                      Northbrook        IL           60062-5355
  Calvin Mcginty                                                                 Address Redacted
  Camai Community Health Center, Inc.                                            2 School Road                                                Naknek            AK           99633-0211
  Cameron Curry                                                                  Address Redacted
  Cameron Gumper                                                                 Address Redacted
  Cameron Kern                                                                   Address Redacted
  Camithia Norman                                                                Address Redacted
  Camp Systems International                                                     Dept Ch 19788                                                Palatine          IL           60055-9788
  Camron Agli                                                                    Address Redacted
  Canada Revenue Agency                                                          Summerside Tax Centre                                        Summerside Pe     PE           CIN 6E7      Canada
  Candice Quales                                                                 Address Redacted
  Candlewood Suites I-44                                                         1736 E Sunshine, Suite 1011                                  Springfield       MO           65804
  Cap Carpet, Inc. Dba A.I.P.                                                    535 S. Emerson St.                                           Wichita           KS           67209-2161
  Cap Logistics                                                                  PO Box 5608                                                  Denver            CO           80217

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                                                               Creditor Matrix


                                Name     Attention                         Address 1                       Address 2           City    State       Zip         Country
  Capital Regional Airport Commission                     Richmond Int'L - Byrd Field                                  Richmond       VA       23250-2400
  Capitol Hill Policy Group LLC                           800 North Capitol Street N.W>                                Washington     DC       20002
  Cara Osolnik                                            Address Redacted
  Cardiac Science Corp                                    N7 W22025 Johnson Drive                                      Waukesha       WI       53186-1856
  Cargo Data Management Corp                              8440 Esters Blvd. Suite 130                                  Irving         TX       75063
  Cargo Systems, Inc.                                     2120 Denton Drive, #108                                      Austin         TX       78758
  Carl & Elma'S Marine View B & B                         PO Box 247                                                   Sand Point     AK       99661
  Carl Charlie                                            Address Redacted
  Carl Kiunya                                             Address Redacted
  Carl Paul                                               Address Redacted
  Carl Smith                                              Address Redacted
  Carl, Leemon                                            Address Redacted
  Carlie Fitka                                            Address Redacted
  Carlile Transportation System, Inc                      PO Box 84048                                                 Seattle        WA       98124-8448
  Carol Boyd                                              Address Redacted
  Carol Hammingh                                          Address Redacted
  Carolyn Alexie                                          Address Redacted
  Carolyn Hageland                                        Address Redacted
  Carolyn Iverson                                         Address Redacted
  Carpatair S.A                                           Str. Ion Ionescu De La Brad, Nr.15                           Timisoara               300246       Romania
  Carr Ferrell Llp                                        120 Construciton Drive                                       Menlo Park     CA       94025
  Carrie Curtis                                           Address Redacted
  Carrie Nordlof                                          Address Redacted
  Carrillo, Kaleb                                         Address Redacted
  Carroll, Charles                                        Address Redacted
  Caryn Evan                                              Address Redacted
  Cascade Tool & Foam Supply                              1982 Ne 25Th Avenue-Unit 2                                   Hillsboro      OR       97124
  Casey Hill                                              Address Redacted
  Cassandra Owens                                         Address Redacted
  Cassandra Smith                                         Address Redacted
  Catchcanon, LLC                                         10495 E Texas Sage Ln.                                       Scottsdale     AZ       85255
  Catherine Duffy                                         Address Redacted
  Catherine F Duffy                                       Address Redacted
  Cathy Condon                                            Address Redacted
  Cav Ice Protection, Inc                                 30 Leawood Dr                                                New Century    KS       66031
  Cavok                                                   PO Box 3800-28                                               Boston         MA       02241
  Cbiz Cmf                                                Bank Of America Lockbox Services                             College Park   GA       30349
  Cbm Ak Corporation                                      PO Box 240132                                                Anchorage      AK       99524-0132
  Cdw Direct, LLC                                         PO Box 75723                                                 Chicago        IL       60675-5723
  Cecelia Aloysius                                        PO Box 96                                                    Kalskag        AK       99607
  Cedar Rapids Airport Commission                         Pfc Remittance                                               Cedar Rapids   IA       52404
  Celestina Wulf                                          Address Redacted
  Celina Johnson                                          Address Redacted
  Central Pacific Rebuilders Of Alaska                    2440 Seward Hwy Ste B                                        Anchorage      AK       99503
  Central Plumbing And Heating Inc                        212 East International Airport Rd                            Anchorage      AK       99518
  Cessna Aircraft Company                                 23260 Network Place                                          Chicago        IL       60673-12
  Chad Kibler                                             Address Redacted
  Chad Kibler                                             Address Redacted
  Chad Lowery                                             Address Redacted
  Chaliak Mary                                            Address Redacted
  Chalmer Panik                                           Address Redacted
  Chance Lockyer                                          Address Redacted
  Chantal Miklahook                                       Address Redacted
  Charles Benard                                          Address Redacted
  Charles Bona                                            Address Redacted
  Charles Herman                                          Address Redacted
  Charles N Aderman                                       Address Redacted
  Charles Saccheus                                        Address Redacted
  Charles Wilson                                          Address Redacted
  Charleston County Aviation Authority                    5500 Internationa Blvd, #101                                 Charleston     SC       29418-6911
  Charlotte Myers                                         Address Redacted

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                                                                              Creditor Matrix


                                 Name                   Attention                         Address 1                       Address 2            City      State       Zip      Country
  Charlotte Wall                                                         Address Redacted
  Charlotte-Douglas International Airport                                PO Box 63091                                                 Charlotte         NC       28263-3091
  Charlottesville / Albemarle Airport                                    100 Bowen Loop, Suite 200                                    Charlotessville   VA       22911
  Chas Equipment Repair                                                  PO Box 110665                                                Anchorage         AK       99511
  Chaylin Barten                                                         Address Redacted
  Chaz Aero LLC                                                          1801 E 5Th Ave.                                              Anchorage         AK       99501
  Cheetah Digital, Inc.                                                  72 West Adams Street                                         Chicago           IL       60603
  Chengyu Wang                                                           Address Redacted
  Cherry Capital Airport                                                 Administration Office                                        Traverse City     MI       49686
  Cheryl Mellick                                                         Address Redacted
  Cheryl Sefuentes                                                       Address Redacted
  Cheryl Stovner                                                         Address Redacted
  Cheryl Tanner                                                          Address Redacted
  Chet Harris                                                            Address Redacted
  Chevak Traditional Council                                             PO Box 140                                                   Chevak            AK       99563
  Chevon Oxford                                                          Address Redacted
  Child Support Services Division                                        PO Box 100380                                                Anchorage         AK       99510-0380
  Chinook Fire Protection                                                1221 E 70Th Ave                                              Anchorage         AK       99518
  Chinook Printing Company                                               639 W. Int'L Airport Road                                    Anchorage         AK       99518
  Chris Braun                                                            Address Redacted
  Chris D. Elson D.D.S.                                                  Address Redacted
  Chris Iszler                                                           Address Redacted
  Chrissie Messer                                                        Address Redacted
  Christena Towarak                                                      Address Redacted
  Christian Avila                                                        Address Redacted
  Christian Boyd                                                         Address Redacted
  Christian Reiss                                                        Address Redacted
  Christian Savou                                                        Address Redacted
  Christian Zarate                                                       Address Redacted
  Christine Webber                                                       Address Redacted
  Christopher Bryant                                                     Address Redacted
  Christopher Cau                                                        Address Redacted
  Christopher Cecil                                                      Address Redacted
  Christopher Dojka                                                      Address Redacted
  Christopher Montemagno                                                 Address Redacted
  Christopher Smith                                                      Address Redacted
  Christopher Stout                                                      Address Redacted
  Chugach Electric Association Inc                                       PO Box 196300                                                Anchorage         AK       99519
  Chugach Electric Association Inc                                       PO Box 196760                                                Anchorage         AK       99519-6760
  Chung Lee                                                              Address Redacted
  Cincinnati/Northern Kentucky International Airport                     Cincinnati/Northern Kentucky Int'L                           Cincinnati        OH       45275-2000
  Cindy Strutz                                                           Address Redacted
  Cisco Systems Capital Corporation                                      1111 Old Eagle School Rd                                     Wayne             PA       19087
  City And Borough Of Juneau                                             C/O Airport Manager                                          Juneau            AK       99801
  City Of Aniak                                                          PO Box 189                                                   Aniak             AK       99557
  City Of Atqasuk                                                        5010 Ekosik St.                                              Atqasuk           AK       99791
  City Of Bethel                                                         PO Box 1387                                                  Bethel            AK       99559-1387
  City Of Boston                                                         Office Of The Collector-Treasurer                            Boston            MA       02201
  City Of Cold Bay                                                       PO Box 10                                                    Cold Bay          AK       99571-0010
  City Of Corpus Christi Corpus Christi International                    1000 International Drive                                     Corpus Christi    TX       78406-1801
  City Of Dayton                                                         Department Of Aviation                                       Dayton            OH       45377
  City Of Dillingham                                                     PO Box 889                                                   Dillingham        AK       99576
  City Of Emmonak                                                        PO Box 09                                                    Emmonak           AK       99581
  City Of Eugene                                                         Eugen Airport/Mahlon Sweet Field                             Eugene            OR       97402
  City Of Galena                                                         PO Box 149                                                   Galena            AK       99741
  City Of Homer                                                          491 East Pioneer Ave                                         Homer             AK       99603
  City Of Hooper Bay                                                     PO Box 29                                                    Hooper Bay        AK       99604
  City Of Kenai                                                          210 Fidalgo Avenue Suite 200                                 Kenai             AK       99611
  City Of Kotzebue                                                       PO Box 46                                                    Kotzebue          AK       99752
  City Of Los Angeles Int'L Airport                                      PO Box 54078                                                 Los Angeles       CA       90054-0078
  City Of Nome                                                           PO Box 281                                                   Nome              AK       99762

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                                                                                      Creditor Matrix


                                Name                            Attention                        Address 1                         Address 2             City      State       Zip        Country
  City Of Nunam Iqua                                                             PO Box 26                                                     Nunam Iqua         AK       99666
  City Of Ontario Int'L Airport                                                  Department Of Airports                                        Ontario            CA       91761
  City Of Palm Springs                                                           3200 E Tahquitz Canyon Way                                    Palm Springs       CA       92262
  City Of Palmer                                                                 231 West Evergreen Ave.                                       Palmer             AK       99645
  City Of Philadelphia                                                           Philadephia International Airport                             Philadelphia       PA       19101
  City Of Phoenix                                                                Phoenix/Sky Harbor International Airport                      Phoenix            AZ       85038-9118
  City Of Pullman                                                                325 Se Paradise Dr                                            Pullman            WA       99163
  City Of Redmond                                                                City Of Redmond                                               Redmond            OR       97756
  City Of Saint Mary'S                                                           PO Box 209                                                    St. Mary'S         AK       99658
  City Of Sand Point                                                             PO Box 249                                                    Sand Point         AK       99661-0249
  City Of St. Louis Airport Authority - Lambert-St Louis Intl                    PO Box 10212                                                  St. Louis          MO       63145-0212
  City Of St.Paul                                                                Box 901                                                       St. Paul           AK       99660
  City Of Unalakleet                                                             PO Box 28                                                     Unalakleet         AK       99684
  City Of Unalaska                                                               PO Box 610                                                    Unalaska           AK       99685
  City Of Valdez                                                                 City Hall                                                     Valdez             AK       99686
  Clara Glover                                                                   Address Redacted
  Clara Kelsay                                                                   Address Redacted
  Clarabelle Lewis                                                               Address Redacted
  Clarence Summers                                                               Address Redacted
  Clarion Hotel & Suites                                                         95 10Th Ave                                                   Fairbanks          AK       99701
  Clark Tanner                                                                   Address Redacted
  Classic Alaska Trading/ Big Ray'S Alaska, Inc.                                 507 2Nd Ave                                                   Fairbanks          AK       99701
  Claudia Evarts                                                                 Address Redacted
  Claudio Campori                                                                Address Redacted
  Clearway Property Maintenance                                                  1650 Oxford Dr                                                Anchorage          AK       99503
  Cleveland/Hopkins Int'L Airport                                                Department Of Port Control                                    Cleveland          OH       44190
  Clifford Pinkley                                                               Address Redacted
  Clifford Roberts                                                               Address Redacted
  Clinton Copeland                                                               Address Redacted
  Clinton E Evatt                                                                Address Redacted
  Clyde Machines Incorporated                                                    PO Box 194                                                    GleNWood           MN       56334-0194
  Coast Gateway Hotel/North Coast Washington, LLC                                18415 International Boulevard                                 Sea Tac            WA       98188
  Coast International Inn                                                        3450 Aviation Avenue Road                                     Anchorage          AK       99502
  Coastal Power Contractors Inc.                                                 217 C Street                                                  Dillingham         AK       99576
  Coastal Villages Region Fund                                                   711 H Street, Suite 200                                       Anchorage          AK       99501
  Cobham Aerospace Communications                                                6400 Wilkinson Dr.                                            Prescott           AZ       86301-6164
  Cobham Avionics                                                                4105 Cousens                                                  Saint-Laurent      QC       H4S 1V6      Canada
  Coeurin Derbyshire                                                             Address Redacted
  Colby Habig                                                                    Address Redacted
  Colby Kincaid                                                                  Address Redacted
  Cole International                                                             340 7Th Avenue Sw                                             Calgary            AB       T2P 0X4      Canada
  Cole Kreiser                                                                   Address Redacted
  Colin Reitan                                                                   Address Redacted
  Collateral Verifications LLC                                                   11243 Lemay Drive                                             Clermont           FL       34711
  College Utilities Corporation                                                  3691 Cameron St                                               Fairbanks          AK       99708
  College Utilities Corporation                                                  PO Box 80370                                                  Fairbanks          AK       99708-0370
  Collins, Noah                                                                  Address Redacted
  Color Art Printing Company Inc                                                 430 W. 7Th Avenue, Suite 10                                   Anchorage          AK       99501
  Colorado Department Of Labor And Employment                                    633 17Th St #201                                              Denver             CO       80202
  Colorado Springs Airport                                                       Pfc Reporting & Remittance                                    Colorado Springs   CO       80916
  Columbia Metro Airport                                                         Pfc Reporting & Remittance                                    Columbia           SC       29228-0037
  Columbus Airport Authority                                                     PO Box 636852                                                 Cincinnati         OH       45263-6852
  Colville Inc./Brooks Range Supply                                              4300 B St.                                 Suite 308          Anchorage          AK       99503
  Colville Inc./Brooks Range Supply                                              4300 B St. Suite 308                                          Anchorage          AK       99503
  Comcast Holdings Corporation                                                   PO Box 70219                                                  Philadelphia       PA       19176-0219
  Comfort Inn Kodiak/ The Kishan Group                                           1395 Airport Way                                              Kodiak             AK       99615
  Comfort Suites Airport                                                         2919 W International Airport                                  Anchorage          AK       99502
  Commercial Kitchen Solutions                                                   557 E Fireweed Lane #C                                        Anchorage          AK       99503
  CommoNWealth Of Mass- Ezdrivema                                                PO Box 847840                                                 Boston             MA       02284-7840
  Comtek Advanced Structures Ltd                                                 1360 Artisans Court                                           Burlington         ON       L7L 5Y2      Canada
  Comtrsys, Inc.                                                                 Computer Training Sys/Netappz                                 Wichita            KS       67202-3002

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                                                                                  Creditor Matrix


                                  Name                      Attention                        Address 1                        Address 2             City      State       Zip        Country
  Conam Construction Co.                                                     301 W. Northern Lights Blvd, Suite 300                       Anchorage          AK       99503
  Concentra                                                                  PO Box 1297                                                  Brookfield         WI       53008-1297
                                                                             Occupational Health Centers Of Georgia,
  Concentra - Hapeville                                                      P.C.                                                         Hapeville          GA       30354-0730
  Concentra - Rancho Cucamonga                                               PO Box 4300                                                  Rancho Cucamonga   CA       91729-4300
  Concord Specialty Risk                                                     1166 Avenue Of The Americas                                  New York           NY       10036
  Condor Aircraft Accessories Inc                                            620A Mctavish Road Ne Hangar #5                              Calgary            AB       T2E 7G6      Canada
  Connect Hr                                                                 3000 A Street, Suite 400                                     Anchorage          AK       99503
  Connie Stafford                                                            Address Redacted
  Connor & Winters, Llp                   Attn: Kevin H. Good                1700 Pacific Ave                          Suite 2250         Dallas             TX       75201
  Conrad Turner                                                              Address Redacted
  Consolidated Aircraft Supply Co. Inc.                                      55 Raynor Ave.                                               Ronkonkoma         NY       11779
  Consolidated Plastics Company, Inc.                                        4700 Prosper Drive                                           Stow               OH       44224
  Constance Wennell                                                          Address Redacted
  Construction Machinery Industrial LLC                                      PO Box 196131                                                Anchorage          AK       99519-6131
  Continental Motors                                                         5115 Old Seward Highway                                      Anchorage          AK       99503
  Continental Services                                                       8600 County Rd 32                                            Fairhope           AL       36532
  Control Risks Group, LLC                                                   PO Box 406287                                                Atlanta            GA       406287
  Convergent Performance                                                     7011 Campus Drive Suite 100                                  Colorado Springs   CO       80920
  CoNWay, Jeff                                                               Address Redacted
  Copper River Seafood                                                       1118 E 5Th Avenue                                            Anchorage          AK       99501
  Copper Valley Telephone                                                    PO Box 337                                                   Valdez             AK       99686
  Corbel Solutions, LLC                                                      1038 Industry Drive                                          Seattle            WA       98188
  Cordova Chamber Of Commerce                                                Box 99                                                       Cordova            AK       99574
  Cordova Community Med Center                                               602 Chase Ave.                                               Cordova            AK       99574
  Corey Houston                                                              Address Redacted
  Corporate Travel Management                                                3150 C St.                                                   Anchorage          AK       99503
  Corporate Travel Management                                                Box 92310                                                    Anchorage          AK       99509
  Cory Howard                                                                Address Redacted
  Courtyard By Marriott                                                      4901 Spenard Rd                                              Anchorage          AK       99517
  Courtyard By Marriott                   Attn: Josh Yell                    4901 Spenard Road                                            Anchorage          AK       99517
  Covington & Burling Llp                                                    620 Eighth Avenue                                            New York           NY       10018-1405
  Covington Aircraft Engines, Inc.                                           PO Box 1336                                                  Okmulgee           OK       74447
  Craig Hill                                                                 Address Redacted
  Craig, Leopold                                                             Address Redacted
  Crawford Parr                                                              Address Redacted
  Creative Coatings Company Inc                                              24650 Mound Road                                             Warren             MI       48091-2036
  Crescent Electric Supply Company                                           PO Box 500                                                   East Dubuque       IL       61025-4420
  Cristina Watson                                                            Address Redacted
  Cristy Brant                                                               Address Redacted
  Crosstown Deliveries Inc.                                                  PO Box 231270                                                Anchorage          AK       99523
  Crowley                                                                    201 Arctic Slope Ave                                         Anchorage          AK       99518
  Crowley Fuels                                                              201 Arctic Slope Blvd                                        Anchorage          AK       99518
  Crowley Fuels Alaska                                                       201 Arctic Slope Avenue                                      Anchorage          AK       99518
  Crowley Fuels LLC                                                          201 Arctic Slope Avenue                                      Anchorage          AK       99518
  Crw Engineering Group, LLC                                                 3940 Arctic Boulevard, Suite 300                             Anchorage          AK       99503
  Crystal Branchaud                                                          Address Redacted
  Crystal Frost                                                              Address Redacted
  Ct Corporation System                                                      111 8Th Ave                                                  New York           NY       10011
  Curtis Crandall                                                            Address Redacted
  Curtis Mann                                                                Address Redacted
  Custom Carpet Cleaning LLC                                                 PO Box 1535                                                  Homer              AK       99603
  Cyberlink Asp Technology Inc                                               PO Box 415000-0739                                           Nashville          TN       37241-0739
  Cynthia Ulufanua                                                           Address Redacted
  D & D Bridges, LLC                                                         PO Box 4                                                     Fort Yukon         AK       99740
  D & S Services/Daves Services Inc.                                         7601 Upper O'Malley Road                                     Anchorage          AK       99507
  Daisie Saevang                                                             Address Redacted
  Daisy Thompson                                                             Address Redacted
  Dakotah Beaver                                                             Address Redacted
  Dali Osmane                                                                Address Redacted
  Dallas Avionics Incorporated                                               2525 Santa Anna Avenue                                       Dallas             TX       75228

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                                                                           Creditor Matrix


                                 Name                Attention                        Address 1                    Address 2             City    State       Zip      Country
  Dallas W Anthony                                                    Address Redacted
  Dallas Wylie                                                        Address Redacted
  Dalton Refrigeration Leasing And Sales                              2111 Viking Drive, Suite #2                              Anchorage        AK       99501
  Damion Bailey                                                       Address Redacted
  Dan Miller                                                          Address Redacted
  Dana Atkins                                                         Address Redacted
  Dana Craig                                                          Address Redacted
  Dana Nicholas                                                       Address Redacted
  Dane County Regional Airport                                        Airport Administration                                   Madison          WI       53704
  Daniel Abalama                                                      Address Redacted
  Daniel Bauer                                                        Address Redacted
  Daniel Creech                                                       Address Redacted
  Daniel Downs                                                        Address Redacted
  Daniel Harrelson                                                    Address Redacted
  Daniel Jackson                                                      Address Redacted
  Daniel Jhon Sorono                                                  Address Redacted
  Daniel Jorgenson                                                    Address Redacted
  Daniel Lackey                                                       Address Redacted
  Daniel Murphy                                                       Address Redacted
  Daniel Nelson                                                       Address Redacted
  Daniel Peterson                                                     Address Redacted
  Daniel Rosales                                                      Address Redacted
  Daniel Valdivia                                                     Address Redacted
  Daniel Vetsch                                                       Address Redacted
  Daniel Werth                                                        Address Redacted
  Daniel Zamlich                                                      Address Redacted
  Daniela Avezzano                                                    Address Redacted
  Danielle Ballard                                                    Address Redacted
  Danielle Tommy                                                      Address Redacted
  Daniels Manufacturing Corporation                                   PO Box 593872                                            Orlando          FL       32859-3872
  Danny Wells                                                         Address Redacted
  Dapong Yang                                                         Address Redacted
  Daren Warnke                                                        Address Redacted
  Dariace A Lane Miranda                                              Address Redacted
  Darion Donnelly                                                     Address Redacted
  Darlene Daniel                                                      Address Redacted
  Darlene Hopson                                                      Address Redacted
  Darni Yang                                                          Address Redacted
  Darr, Jenna                                                         Address Redacted
  Darren Cleveland                                                    Address Redacted
  Darren Fish                                                         Address Redacted
  Darren Vanderwilt                                                   Address Redacted
  Darryl'S Aviation Service, Inc.                                     12721 Tanada Loop                                        Anchorage        AK       99515
  Daryl Thomas                                                        Address Redacted
  Daugherty, Fowler, Peregrin, Haught & Jensen, Pc                    100 N. Broadway                                          Oklahoma City    OK       73102
  Dave Adams                                                          Address Redacted
  Dave And Jacey Automotive/David Mattson                             PO Box 168                                               Aniak            AK       99557
  David Armstrong                                                     Address Redacted
  David Bartlett                                                      Address Redacted
  David Bishko                                                        Address Redacted
  David Bridges                                                       Address Redacted
  David Clark Company Incorporated                                    PO Box 15054                                             Worcester        MA       01615-0054
  David Daly                                                          Address Redacted
  David Desrosiers                                                    Address Redacted
  David Dicus                                                         Address Redacted
  David Durant                                                        Address Redacted
  David Fiacco                                                        Address Redacted
  David G Diehl                                                       Address Redacted
  David H Pflieger                                                    Address Redacted
  David Heath                                                         Address Redacted
  David Masters                                                       Address Redacted

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                                                                  Creditor Matrix


                                 Name       Attention                        Address 1                          Address 2            City    State       Zip           Country
  David Mcmillan                                             Address Redacted
  David Mills                                                Address Redacted
  David Mute                                                 Address Redacted
  David Ownby                                                Address Redacted
  David Sallison                                             Address Redacted
  David Schroeder                                            Address Redacted
  David Senko                                                Address Redacted
  David Sholl                                                Address Redacted
  David Small                                                Address Redacted
  David Werschky                                             Address Redacted
  Davis, Jared                                               Address Redacted
  Davtron Inc.                                               427 Hillcrest Way                                              Redwood City    CA       94062
  Dawn Samuelson                                             Address Redacted
  Day, Heath                                                 Address Redacted
  Dcse-Support Pmt Clearinghouse                             PO Box 52107                                                   Phoenix         AZ       85072-2107
  De Havilland Aircraft Of Canada Limited                    123 Garrat Blvd                                                Toronto         ON       M3K 1Y5         Canada
  De Lage Landen Financial Services, Inc.                    1111 Old Eagle Road                                            Wayne           PA       19087
  De Vore Aviation Corporation                               6104-B Jefferson N.E                                           Albuquerque     NM       87109-3410
  Deadhorse Aviation Center, LLC                             9525 King Street                                               Anchorage       AK       99515
  Deadliest Catch 16                                         308 W Verdugo Ave                                              Burbank         CA       91502
  Dean Peterson                                              Address Redacted
  Deandre King                                               Address Redacted
  Deangelo Glanton                                           Address Redacted
  Dean'S Radiator Service                                    1131 East 7Th Avenue                                           Anchorage       AK       99501
  Deaton, Autumn                                             Address Redacted
  Deborah Clark                                              Address Redacted
  Deborah Jones                                              Address Redacted
  Deborah Verney                                             Address Redacted
  Dee Dee Hunter                                             Address Redacted
  Del Aerospace, Inc.                                        330 South Kellogg Ave.                                         Goleta          CA       93117
  Delaware State Treasury                                    820 Silver Lake Blvd., Suite 100                               Dover           DE               19904
  Delcourt Aviation                                          3558 University Avenue South                                   Fairbanks       AK       99709
  Della Mccoy                                                Address Redacted
  Delta Cottages, LLC                                        124 Gunderson Ct.                                              Bethel          AK       99559
  Delta Leasing, LLC                                         8101 Dimond Hook Dr.                                           Anchorage       AK       99507
  Delta Western Inc.                                         450 Alaskan Way So., Ste 707                                   Seattle         WA       98104
  Demetri A Kyles                                            Address Redacted
  Denali Industrial Supply, Inc.                             1499 Van Horn Road                                             Fairbanks       AK       99701-7421
  Denali Pretzels, LLC                                       7741 Canal Street                                              Anchorage       AK       99502
  Denise Iyatunguk                                           Address Redacted
  Dennis A Fisher                                            Address Redacted
  Dennis Parafina                                            Address Redacted
  Dennis Sinnok                                              Address Redacted
  Denver International Airport                               Pfc Reporting & Remittance                                     Denver          CO       80249
  Department Of Labor Relations                              19 Staniford St                          Suite 1               Boston          MA       02114
  Derek Beans                                                Address Redacted
  Derek Ervin                                                Address Redacted
  Derek Jacob Edwards                                        Address Redacted
  Derek R Shanks                                             Address Redacted
  Derek Schwind                                              Address Redacted
  Derick Dunham                                              Address Redacted
  Des Moines International Airport                           Department Of Aviation                                         Des Moines      IA       50321-2854
  Desiree Malan                                              Address Redacted
  Desmond Thomas                                             Address Redacted
  Desser Tire & Rubber Company Inc.                          6900 Acco Street                                               Montebello      CA       90640
  Destiny Demoski-Tritt                                      Address Redacted
  Dewayne Lewis                                              Address Redacted
  Deyuos C Abott                                             Address Redacted
  Dhl Express Usa, Inc.                                      16592 Collections Center Drive                                 Chicago         IL       60693
  Dhl Global Forwarding                                      PO Box 742802                                                  Los Angeles     CA       90074-2802
  Diane Ross                                                 Address Redacted

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                                                                             Creditor Matrix


                                 Name                  Attention                        Address 1                  Address 2           City         State       Zip         Country
  Dickerson Construction, LLC Dba Theodore Dickerson                    3923 Reflection Dr.                                    Anchorage           AK       99504
  Diego Bayuk                                                           Address Redacted
  Digi-Key Corporation                                                  PO Box 677                                             Thief River Falls   MN       56701-0677
  Dillingham Door Fix                                                   PO Box 882                                             Dillingham          AK       99576
  Dillingham Waste Management LLC                                       200 West 34Th Ave # 174                                Anchorage           AK       99503
  Dillingham Waste Management LLC                                       PO Box 97                                              Dillingham          AK       99576
  Dillon Andersen                                                       Address Redacted
  Dillon J Andersen                                                     Address Redacted
  Dillon Pratt                                                          Address Redacted
  Dimetra Friesl                                                        Address Redacted
  Dina Andrews                                                          Address Redacted
  Diomede City Council                                                  PO Box 7039                                            Diomede             AK       99762
  Dion Susook                                                           Address Redacted
  Discover Holidays                                                     1200-675 West Hastings St.                             Vancouver           BC       V6B 1N2      Canada
  Discover Kodiak Alaska Untamed                                        100 Marine Way                                         Kodiak              AK       99615
  Dish Network                                                          PO Box 94063                                           Palatine            IL       60094-4063
  Diversified Communications                                            PO Box 79365                                           Baltimore           MD       21279-0365
  Dmv- Az Motor Vehicle                                                 PO Box 2100                                            Phoenix             AZ       85001-2100
  Dmv- Co Dept Of Revenue                                               PO Box 173345                                          Denver              CO       80217-3345
  Do Not Use                                                            21980 Network Pl                                       Chicago             IL       60673-1219
  Dolan Fox                                                             Address Redacted
  Dolena Fox                                                            Address Redacted
  Dominion Propeller Corporation                                        1131 East 76Th Ave                                     Anchorage           AK       99518
  Don Nowell                                                            Address Redacted
  Donald Armstrong                                                      Address Redacted
  Donald Brugman                                                        Address Redacted
  Donald Fry                                                            Address Redacted
  Donald G Graves                                                       Address Redacted
  Donald Hunter                                                         Address Redacted
  Donald Johnson                                                        Address Redacted
  Donna Mae Thrasher                                                    Address Redacted
  Donna Shuler                                                          Address Redacted
  Donofrio, Michael                                                     Address Redacted
  Door Tech, LLC                                                        5768 E Gershmel Loop                                   Palmer              AK       99645
  Dora Hill                                                             Address Redacted
  Doreen Maisner                                                        Address Redacted
  Dorothy Aketachunak                                                   Address Redacted
  Dorothy Captain                                                       Address Redacted
  Douglas Corp                                                          Address Redacted
  Douglas Dreyer                                                        Address Redacted
  Douglas French                                                        Address Redacted
  Douglas Jeruzal                                                       Address Redacted
  Douglas W Deering                                                     Address Redacted
  Dowland Bach Corp                                                     PO Box 230126                                          Anchorage           AK       99523
  Dowty Propellers                                                      PO Box 645162                                          Pittsburgh          PA       15264-5158
  Dowty Propellers England                                              Anson Business Park                                    Gloucester                   GL2 9QN      United Kingdom
  Dretloh Aircraft Supply Inc.                                          2830 East La Cresta Avenue                             Anaheim             CA       92806
  Dretloh Aircraft Supply Inc./A & D Foam Products                      2830 La Cresta                                         Anaheim             CA       92806
  Drew Bryant                                                           Address Redacted
  Dru Gerkman                                                           Address Redacted
  Duane Breaux                                                          Address Redacted
  Duane Kemp                                                            Address Redacted
  Duane Ticknor                                                         Address Redacted
  Duell, Marcus                                                         Address Redacted
  Duncan Aviation Inc                                                   PO Box 956153                                          St Louis            MO       63195-6153
  Duncan Aviation Use D1930                                             PO Box 3066                                            Omaha               NE       68103
  Durango-Laplatta County Airport                                       1000 Airport Rd                                        Durango             CO       81301
  Dusten Holdren                                                        Address Redacted
  Dustin Brown                                                          Address Redacted
  Dustin Evon                                                           Address Redacted
  Dustin Gustafson                                                      Address Redacted

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                                                                                      Creditor Matrix


                                  Name                          Attention                      Address 1                       Address 2              City        State       Zip        Country
  Dustin Houghton                                                                Address Redacted
  Dustin Kuznicki                                                                Address Redacted
  Dustin Mingo                                                                   Address Redacted

  Dxp Enterprises, Inc./Alaska Pump And Supply, A Dxp Company                    PO Box 840511                                             Dallas               TX        75284-0511
  Dyer, Mike                                                                     Address Redacted
  Dylan Desanno                                                                  Address Redacted
  Dylan Evans                                                                    Address Redacted
  Dylan Forney                                                                   Address Redacted
  Dylan Johnston                                                                 Address Redacted
  Dylan Silva                                                                    Address Redacted
  Dynamic Solutions Systems, Inc.                                                2332 La Mirada Drive, Suite 100                           Vista                CA        92081-7861
  Eagle Enterprises, Inc.                                                        5849 Old Seward Highway                                   Anchorage            AK        99518
  Eagle Tugs                                                                     2611 Northline Rd                                         Taylor               MI        48180
  Eagles Nest Lodge                                                              PO Box 314                                                St. Mary'S           AK        99658
  Ean Services, LLC                                                              PO Box 402383                                             Atlanta              GA        30384-2383
  Earl Johnson                                                                   Address Redacted
  Earle Cass                                                                     Address Redacted
  East Coast Transistor Parts, Inc.                                              2 Marlborough Rd                                          West Hemstead        NY        11552
  Eastern Cincinnati Aviation, Inc.                                              2001 Sporty'S Drive                                       Batavia              OH        45103
  Eddie Donis                                                                    Address Redacted
  Eddie Shields                                                                  Address Redacted
  Edith Kelly                                                                    Address Redacted
  Edmo Distributors Incorporated                                                 12830 East Mirabeau Parkway                               Spokane                WA      99216
  Edmonton Regional Airports Authority                                           10000 Airport Road                                        Edmonton Int'L Airport AB      T9E0V3       Canada
  Edmund Garcia                                                                  Address Redacted
  Edward Bancroft/Palmer Vision Clinic                                           440 W Evergreen                                           Palmer               AK        99645-6955
  Edward Haen                                                                    Address Redacted
  Edward I Kiokun                                                                Address Redacted
  Edward Sotelo                                                                  Address Redacted
  Edward Tompkins                                                                Address Redacted
  Edwards Jet Center                                                             1691 Aviation Place                                       Billings             MT        59105
  Edwards, Jennifer                                                              Address Redacted
  Edwin E Esperias                                                               Address Redacted
  Efren Paredes                                                                  Address Redacted
  Egli Air Haul                                                                  PO Box 169                                                King Salmon          AK        99613
  Ehs Alaska Inc.                                                                11901 Business Blvd., Suite 208                           Eagle River          AK        99577-7701
  Eileen Lyse                                                                    Address Redacted
  El Paso International Airport                                                  Pfc Reporting & Remittance                                El Paso              TX        79925-1091
  Elcon Catubig                                                                  Address Redacted
  Eldec Corporation                                                              PO Box 932649                                             Atlanta              GA        31193-2649
  Electro Enterprises Inc.                                                       PO Box 26706                                              Oklahoma City        OK        73126-0706
  Element Calgary Airport By Westin                                              2855 Sundridge Way Ne                                     Calgary              AB        T1Y 7K7      Canada
  Elizabeth Harding                                                              Address Redacted
  Elizabeth Jones                                                                Address Redacted
  Elizabeth Nielsen                                                              Address Redacted
  Elizabeth Senear                                                               Address Redacted
  Elizabeth Uttereyuk                                                            PO Box 42                                                 Scammon Bay          AK        99662
  Ella Hoza                                                                      Address Redacted
  Ellimae Charles                                                                Address Redacted
  Embark Aviation Corp.                                                          718 7Th St NW                                             Washington           DC        20001
  Emd Millipore Corporation                                                      25760 Network Place                                       Chicago              IL        60673
  Emilia Malak                                                                   Address Redacted
  Emily Salter                                                                   Address Redacted
  Emily Vito                                                                     Address Redacted
  Emlyn Mares Villanueva                                                         Address Redacted
  Emma Carter                                                                    Address Redacted
  Emmerson Auto                                                                  1111 Mill Bay Rd                                          Kodiak               AK        99615
  Emmylou Sefuentes                                                              Address Redacted
  Empathia, Inc                                                                  N17W24100 Riverwood Dr.                                   Waukesha             WI        53188
  Empire Airlines                                                                11559 N. Atlas Road                                       Hayden               ID        83835

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                                 Name                  Attention                        Address 1                      Address 2           City     State       Zip      Country
  Enduranne Angaiak                                                     Address Redacted
  Enoch Alexander                                                       Address Redacted
  Enstar Natural Gas Company                                            PO Box 190288                                              Anchorage       AK       99519-0288
  Entech Alaska, LLC                                                    PO Box 7428                                                Pasadena        CA       91109-7428
  Envirolaska, LLC                                                      314 E International Airport Rd.                            Anchorage       AK       99518
  Environmental Compliance Consultants                                  1500 Post Road                                             Anchorage       AK       99501
  Environmental Management Inc.                                         206 E. Fireweed Lane, Suite #201                           Anchorage       AK       99503
  Equipment Source, Inc.                                                7780 Old Seward Hwy.                                       Anchorage       AK       99518
  Equipment Sources, Inc.- Esi                                          1501 Queens Way                                            Fairbanks       AK       99701
  Erev                                                                  Rene Perez & Associates, Inc                               Miami           FL       33156-4606
  Eric Easter                                                           Address Redacted
  Eric Halett                                                           Address Redacted
  Eric Morgan                                                           Address Redacted
  Eric Pavil                                                            Address Redacted
  Eric Willhite                                                         Address Redacted
  Eric Wilson                                                           Address Redacted
  Erickson-Grant, Tonia                                                 Address Redacted
  Erik Skagen                                                           Address Redacted
  Erik Snuggerud                                                        Address Redacted
  Erik Snuggerud                                                        PO Box 976                                                 Kotzebue        AK       99752
  Erin Kane                                                             Address Redacted
  Erin Motter                                                           Address Redacted
  Erin Workman                                                          Address Redacted
  Erma Mesak                                                            Address Redacted
  Ernalyn Alegre                                                        Address Redacted
  Esguerra, Alana Marie                                                 Address Redacted
  Eskimos, Inc                                                          PO Box 536                                                 Barrow          AK       99723
  Eskimos, Inc.                                                         PO Box 536                                                 Barrow          AK       99723
  Essex Pb&R Corporation                                                8539 Solution Center                                       Chicago         IL       60677-8005
  Esterline                                                             Dept 9486                                                  Los Angeles     CA       90084-9486
  Esther Taylor                                                         Address Redacted
  Ethan Barr                                                            Address Redacted
  Ett Aviation                                                          1013 E Winding Creek Dr.                                   Eagle           ID       83616
  Eugene Jenkins                                                        Address Redacted
  Eugenio Ferrari                                                       Address Redacted
  Eunice Brower                                                         Address Redacted
  Eunice Dock                                                           Address Redacted
  Eva Wells                                                             Address Redacted
  Evan K Veal                                                           Address Redacted
  Evan Wilson                                                           Address Redacted
  Evangelina Paul                                                       Address Redacted
  Evelyn Burgett                                                        Address Redacted
  Everett Amik                                                          Address Redacted
  Everett Sellers                                                       Address Redacted
  Everts Air Cargo                                                      5525 Airport Industrial Road                               Fairbanks       AK       99709
  Everts Air Fuel, Inc.                                                 PO Box 60908                                               Fairbanks       AK       99706
  Experian Information Solutions, Inc                                   475 Anton Blvd                                             Costa Mesa      CA       92626
  Extant Aerospace- Symetrics Ind.                                      1615 W. Nasa Blvd.                                         Melbourne       FL       32901
  Extended Stay Deluxe - Fairbanks                                      4580 Old Airport Rd                                        Fairbanks       AK       99709
  F & E Ground Svcs LLC                                                 PO Box 660707                                              Miami Springs   FL       33266
  F & H Solutions Group, LLC                                            271 17Th Street, NW, Suite 1900                            Atlanta         GA       30363
  F.Atlee Dodge Aircraft Services, LLC                                  6672 Wes Way                                               Anchorage       AK       99518
  Faa Aircraft Registration Branch                                      PO Box 25504                                               Oklahoma City   OK       73125
  Factory Motor Parts                                                   Bin#137107 PO Box 9107                                     Minneapolis     MN       55480-9107
  Faimanifo Faletagoai                                                  Address Redacted
  Fairbanks Aviation Day                                                3504 South University Avenue                               Fairbanks       AK       99709
  Fairbanks Convention & Visitors Bueau                                 101 Dunkel St, Ste 111                                     Fairbanks       AK       99701-4806
  Fairbanks International Airport                                       Fai, Accounting Section                                    Fairbanks       AK       99709
  Fairbanks International Airport Operator'S Council                    6450 Airport Way, Suite 14                                 Fairbanks       AK       99709
  Fairbanks Intl Airport-- Pfc'S                                        6450 Airport Way                                           Fairbanks       AK       99709
  Fairbanks Natural Gas, LLC                                            3408 International Way                                     Fairbanks       AK       99701-7382

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                                                                                Creditor Matrix


                                  Name                   Attention                          Address 1                         Address 2            City       State       Zip         Country
  Fairbanks North Star Borough                                             PO Box 71320                                                   Fairbanks          AK       99707-1320
  Fairbanks Paint And Glass Company                                        1620 Cushman St.                                               Fairbanks          AK       99701
  Fairbanks Printers & Office Equipment                                    1595 College Road                                              Fairbanks          AK       99709
  Fairfield Inn                                                            5060 A. Street                                                 Anchorage          AK       99503
  Fastenal                                                                 PO Box 978                                                     Winona             MN       55987
  Fasteners & Fire Equipments,Inc.                                         123 East Internatonal Airport Road                             Anchorage          AK       99518
  Fatueli Solomona                                                         Address Redacted
  Faulkner Walsh Constructors                                              PO Box 233929                                                  Anchorage          AK       99523
  Feam Ground Services                                                     6300 Boeing Avenue                                             Anchorage          AK       99502
  Federal Aviation Administration                                          Afb-700                                                        Oklahoma City      OK       73125
  Fedex                                                                    PO Box 94515                                                   Palatine           IL       60094-4515
  Fedex Freight                                                            Dept Ch                                                        Palatine           IL       60055-0306
  Fedex Office                                                             300 E Dimond Blvd                                              Anchorage          AK       99515
  Felicia Tungul                                                           Address Redacted
  Fellfab Corporation                                                      200 Tradeport Drive, Suite 100                                 Atlanta            GA       30354
  Felorita Tuinei                                                          Address Redacted
  Felynel Salvador                                                         Address Redacted
  FeNWick & West Llp                                                       801 California Street                                          Mountain View      CA       94041
  Ferguson Enterprises Inc                                                 PO Box 847411                                                  Dallas             TX       75284-7411
  Fiero.Aero LLC                                                           7865 S Brill Road                                              Superior           WI       54880
  Finishmaster, Inc.                                                       PO Box 412005                                                  Boston             MA       02241-2005
  Fipe Havea                                                               Address Redacted
  Fire Control Systems, Inc.                                               PO Box 9                                                       Kenai              AK       99611
  First Advantage Corporation                                              Occupational Health Services Group                             Rockville          MD       20855
  First National Bank Alaska                                               101 West 36Th Avenue                       Suite 333           Anchorage          AK       99510-0720
  First National Bank Alaska                                               101 West 36Th Avenue, Suite 333            PO Box 100720       Anchorage          AK       99510-0720
  First National Bank Alaska                                               PO Box 101925                                                  Anchorage          AK       99510
  First National Bank Of Alaska                                            PO Box 100720                                                  Anchorage          AK       99510
  First National Bank- Wilson, P- Bet                                      PO Box 107006                                                  Anchorage          AK       99510
  First National Bank-Jmh-1775                                             PO Box 107006                                                  Anchorage          AK       99510
  First National Bank-Ps0066                                               PO Box 107006                                                  Anchorage          AK       99510-7006
  Flame Enterprises Inc                                                    PO Box 80115                                                   City Of Industry   CA       91716-8115
  Flight Data Systems                                                      31 Mcgregors Srive Keilor Park                                 Victoria                    3042         Australia
  Flight Explorer                                                          7285 Collection Center Drive                                   Chicago            IL       60693
  Flight Safety International                                              Marine Air Terminal                        Laguardia Airport   Flushing           NY       11371-1061
  Flight Safety International Inc.                                         PO Box 75691                                                   Charlotte          NC       28275
  Flight Service Gse, LLC                                                  27836 Nevada Road                                              Cashton            WI       54619
  Flight Training International Inc.                                       3401 Quebec St.                                                Denver             CO       80207
  Flightcom Corporation                                                    17600 Sw 65Th Avenue                                           Lake Oswego        OR       97035
  Flightstats, Inc.                                                        522 Sw 5Th Ave., Suite 200                                     Portland           OR       97204
  Florencio Lorino                                                         Address Redacted
  Floyd Lee                                                                Address Redacted
  Fluke Electronics                                                        7272 Collection Center Dr                                      Chicago            IL       60693
  Flyht Aerospace Solutions Ltd                                            300E, 1144-29 Avenue Ne                                        Calgary            AB       T2E 7P1      Canada
  Flying Whale Coffee LLC                                                  3720 Faa Street                                                Homer              AK       99603
  Flytek Labs LLC                                                          4901 Chester Creek Road                                        Brookhaven         PA       19015
  Fokker Services                                                          456 Aerotron Parkway                                           Lagrange           GA       30240
  Food Service Of America                                                  PO Box 196073                                                  Anchorage          AK       99519-6073
  Foreflight, LLC                                                          2323 S Shepherd Dr Suite 912                                   Houston            TX       77019
  Forrest Sell                                                             Address Redacted
  Forrest, William                                                         Address Redacted
  Forrst Nayukok                                                           Address Redacted
  Fort Hood Regional Airport                                               101 North College Street                                       Killeen            TX       76540
  Fort Mcmurray International Airport                                      300-100 Snowbird Way                                           Fr. Mcmurray       AB       T9H 0G3      Canada
  Fort Smith Regional Airport                                              6700 Mckennon Blvd.                                            Fort Smith         AR       72903
  Fort WaiNWright Dod-Army-Naf/Dfmwr                                       1046 Marks Road, Stop 4800                                     Fort WaiNWright    AK       99703
  Fox Rothschild Llp                                                       2000 Market Street                                             Philadelphia       PA       19103-3222
  Fox Rothschild, Llp                     Attn: Barbara Butler             8300 Greensboro Drive                      Suite 1000          Tysons             VA       22102
  Frances Whalin                                                           Address Redacted
  Francis Alirkar                                                          Address Redacted
  Frank Doty - Hvac Technician                                             Address Redacted

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                                                                                                Creditor Matrix


                                 Name                                    Attention                          Address 1                    Address 2              City    State       Zip      Country
  Frank Jones                                                                              Address Redacted
  Frank Parker                                                                             Address Redacted
  Franklin & Associates                                                                    225 E. Fireweed Lane Suite 202                            Anchorage         AK       99508
  Franklin Richards                                                                        Address Redacted
  Franklyn Johnson                                                                         Address Redacted
  Frankson Services                                                                        PO Box 91                                                 Galena            AK       99741
  Fraternal Order Of Alaska State Troopers Charity Corp                                    PO Box 100800                                             Anchorage         AK       99510-0800
  Fred Lamont                                                                              Address Redacted
  Freeflight System                                                                        3700 Interstate 35 South                                  Waco              TX       76706
  Fresh Water Adventures                                                                   Fresh Water Adventures                                    Dillingham        AK       99576-0062
  Frigid North Company                                                                     Ref #004827                                               Anchorage         AK       99503
  Fritsch, Trent                                                                           Minor
  Fritz Active                                                                             Address Redacted
  Fritz Brown                                                                              Address Redacted
  Fritz Jackson                                                                            Address Redacted
  Frontier Hangar Group, LLC                                                               4200 W 50Th Avenue                                        Anchorage         AK       99502
  Frosty Fuels, LLC-Aleut Enterprise ,LLC                                                  4000 Old Seward Highway, Suite 301                        Anchorage         AK       99503
  Frosty Fuels, LLC                                                                        4000 Old Seward Hwy                    Suite 301          Anchorage         AK       99503
  Fry Communications, Inc                                                                  800 West Chruch Rd                                        Mechanicsburg     PA       17055
  Ft Wayne-Allen City Airport Authority                                                    Lt. Paul Baer Terminal Bldg.                              Fort Wayne        IN       46809
  Future Aviation Inc                                                                      PO Box 116785                                             Atlanta           GA       30368-6785
  Future Metals, LLC                                                                       PO Box 98667                                              Chicago           IL       60693
  G&K Inc                                                                                  PO Box 117                                                Cold Bay          AK       99571
  G.F. Sherman Signs                                                                       43420 Kaliforn Sky Beach Road                             Soldotna          AK       99669
  G2 Secure Staff                                                                          PO Box 674159                                             Dallas            TX       75267-4159
  Gabriel Woodmansee                                                                       Address Redacted
  Gaftynn Pauta                                                                            Address Redacted
  Gage-It Inc                                                                              94 N Branch St                                            Sellersville      PA       18960
  Gainesville Regional Airport                                                             3880 Ne 39Th Avenue                                       Gainesville       FL       32609
  Galacia Evan Sr.                                                                         Address Redacted
  Galena Ventures                                                                          Box 335                                                   Galena            AK       99741
  Gallatin Airport Authority                                                               Airport Director                                          Belgrade          MT       59714
  Gandee Eric                                                                              Address Redacted
  Garmin International Inc.                                                                PO Box 842603                                             Kansas City       MO       64184-2603
  Garrett Amik                                                                             Address Redacted
  Garrett Bittinger                                                                        Address Redacted
  Garsite/Progress LLC                                                                     539 South 10Th Street                                     Kansas City       KS       66105
  Gary Olsen                                                                               Address Redacted
  Gary Pedretty                                                                            Address Redacted
  Gary Salter                                                                              Address Redacted
  Gary Taylor                                                                              Address Redacted
  Gavin Atchak                                                                             Address Redacted
  Gavin Phillip                                                                            Address Redacted
  Gci                                                     Attn: Olivia Werdal              PO Box 99001                                              Anchorage         AK       99509-9001
  Gci                                                                                      PO Box 99001                                              Anchorage         AK       99509-9001
  Gci                                                                                      PO Box 99001                                              Soldotna          AK       99669
  Gcr Tire & Service                                                                       Dept. 530                                                 Denver            CO       80291-0530
  Ge Aviation                                                                              One Neumann Way                                           Cincinnati        OH       45215
  Ge Aviation Systems LLC                                                                  PO Box 8500 (S-3550)                                      Philadelphia      PA       19178-3550
  Gene C. Fauser/A & G Acre Plus                                                           Po 228                                                    Aniak             AK       99557-0313
  Gene Salzman                                                                             Address Redacted
  General Mitchell Int'L Airport                                                           County Of Milwaukee                                       Milwaukee         WI       53278-0641
  Genie A Deandrade                                                                        Address Redacted
  Genuine Aircraft Hardware Co.                                                            4250 Aerotech Ctr. Way, Unit B                            Paso Robles       CA       93446-8535
  George Erik                                                                              Address Redacted
  George Lee                                                                               Address Redacted
  George Peterson                                                                          Address Redacted
  George Peterson                                                                          Address Redacted
  George Werkema                                                                           Address Redacted
  George Wilkinson                                                                         Address Redacted
  Georgia Cruzaley-Phillips                                                                Address Redacted

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                                 Name                         Attention                            Address 1                         Address 2            City     State       Zip         Country
  Gerad Wholecheese                                                               Address Redacted
  Gerald R Ford Int'L Airport                                                     Gerald R Ford International Airport                            Grand Rapids     MI       49512
  Gerard Aarhus                                                                   Address Redacted
  Gere Tactical, Inc.                                                             15300 NW Fair Acres Drive                                      Vancouver        WA       98685
  Ghs Aviation Group, LLC                                                         4511 Singer Court, Suite 150                                   Chantilly        VA       20151
  Gil Anthony Apostol                                                             Address Redacted
  Gilbert Amik                                                                    Address Redacted
  Gilmore Global Logistics Services Inc                                           120 Herzberg Road                                              Kanata           ON       K2K 3B7      Canada
  Gina Villegas                                                                   Address Redacted
  Gkn Aerospace                                                                   Ferry Road                                                     East Cowes                PO32 6RA     United Kingdom
  Glacier Aircraft Parts Inc.                                                     905 Cope Industrial Way                                        Palmer           AK       99645
  Glacier Brewhouse                                                               737 W 5Th Avenue                                               Anchorage        AK       99501
  Glacier Chain Supply                                                            520 W 58Th Ave                                                 Anchorage        AK       99518
  Glacier Park International Airport                                              Glacier Park International Airport                             Kalispell        MT       59901
  Gladys Bergman                                                                  Address Redacted
  Glenn Goryl                                                                     Address Redacted
  Glenn Hart                                                                      Address Redacted
  Glenn Wood                                                                      Address Redacted
  Global Aviation                                                                 920 Aldrin Dr                               Suite 250          Eagan            MN       55121-2567
  Global Aviation Distribution Company                                            120 Technology Parkway                                         Norcross         GA       30092
  Global Aviation Services, LLC                                                   920 Aldrin Drive Suite 250                                     St. Paul         MN       55121-2567
  Global Ground Support, LLC                                                      540 E 56Th Highway                                             Olathe           KS       66061
  Global Parts Aero                                                               3504 Solutions Center                                          Chicago          IL       60677-3005
  Global Services                                                                 1701 E. 84Th Ave                                               Anchorage        AK       99507
  Gloko Shayla                                                                    Address Redacted
  Gloria Taulapapa                                                                Address Redacted
  Gloria Wolfe                                                                    Address Redacted
  Gmw Fire Protection                                                             6108 Mackay Street                                             Anchorage        AK       99518
  Gold Rush Liquor                                                                8661 Old Seward Hwy                                            Anchorage        AK       99515
  Gold, Robert                                                                    Address Redacted
  Golden Valley Electric Association, Inc.                                        PO Box 71249                                                   Fairbanks        AK       99707-1249
  Golodoff, Rose                                                                  Address Redacted
  Golodoff, Sarah                                                                 Address Redacted
  Goodrich Corporation                                                            PO Box 840576                                                  Dallas           TX       75284-0576
  Gorham Fire Appliance Company                                                   288 Willard Street                                             Quincy           MA       02169
  Gottschling Harrison                                                            Address Redacted
  Graham Neilson                                                                  Address Redacted
  Grainger Inc.                                                                   6240 B Street                                                  Anchorage        AK       99518-1727
  Grainger, Inc.                                Attn: Angier Hsu                  6240 B Street                                                  Anchorage        AK       99518-1727
  Grand Forks Regional Airport Authority                                          2787 Airport Drive                                             Grand Forks      ND       58203
  Grande Prairie Airport                                                          Suite 220 10610 Airport Drive                                  Grande Prairie   AB       TV8 7Z5      Canada
  Grant Moore                                                                     Address Redacted
  Gray Morris                                                                     Address Redacted
  Great Falls International Airport Authority                                     2800 Terminal Dr                                               Great Falls      MT       59404-5599
  Greatamerica Financial Services Corp                                            PO Box 660831                                                  Dallas           TX       75266-0831
  Greatamerica Financial Services Corporation                                     625 First Street                                               Cedar Rapids     IA       52401
  Greatamerica Financial Services Corporation                                     625 First Street                                               Cedar Rapids     IA       52401
  Greater Binghamton Airport                                                      2534 Airport Rd. # 16                                          Johnson City     NY       13790-4100
  Greater Fairbanks Chamber Of Commerce                                           100 Cushman Street, Suite 102                                  Fairbanks        AK       99701
  Greater Orlando Aviation Authority                                              Pfc Reporting & Remittance                                     Orlando          FL       32886-4637
  Greater Peoria Airport Authority                                                6100 Wem Dirksen Parkway                                       Peoria           IL       61607
  Greater Rochester Int'L                                                         1200 Brooks Avenue                                             Rochester        NY       14624
  Greater Sudbury                                                                 PO Box 5000 Stn A                                              Sudbury          ON       P3A 5P3      Canada
  Greer Tank Inc                                                                  PO Box 190708                                                  Anchorage        AK       99519-0708
  Greg Woodman                                                                    Address Redacted
  Gregorio Avila                                                                  Address Redacted
  Gregory Charles                                                                 Address Redacted
  Gregory Fite                                                                    Address Redacted
  Gregory Hess                                                                    Address Redacted
  Gregory Pfeifer                                                                 Address Redacted
  Greist Vanesse                                                                  Address Redacted

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                                Name           Attention                        Address 1                    Address 2             City    State       Zip      Country
  Griffin Kellar                                                Address Redacted
  Grimes Aerospace Company                                      Honeywell International                                  Chicago          IL       60673-1265
  Grizzly'S Pizza And Wings                                     6225 Staedem Drive                                       Anchorage        AK       99504
  Grover Cleveland                                              Address Redacted
  Gse Intl. Inc.                                                3907 N Federal Hwy Pmb128                                Pompano Beach    FL       33064
  Guardian Security Systems, Inc                                2600 Seward Highway                                      Anchorage        AK       99503
  Gulfport-Biloxi Regional Airport Authority                    14035 L Airport Rd.                                      Gulfport         MS       39503
  Gunnar Johnson                                                Address Redacted
  Gus Paukan                                                    Address Redacted
  Gwen Cray                                                     Address Redacted
  Gwennies Restaurant                                           4333 Spenard Road                                        Anchorage        AK       99517
  Haltness Equipment LLC                                        PO Box 2989                                              Valdez           AK       99686
  Hamilton Sundstrand                                           Address Redacted
  Hampton Inn & Suites (Ohio)                                   201 Holiday Drive                                        Wilmington       OH       45177
  Hannah Dollick                                                Address Redacted
  Hannah Lipchik                                                Address Redacted
  Hannah Lipchik                                                Address Redacted
  Hannah Sneed                                                  Address Redacted
  Hanni Bessire                                                 Address Redacted
  Hans Kellogg                                                  Address Redacted
  Hans Moody                                                    Address Redacted
  Hanson, Cole                                                  Address Redacted
  Hanson, Laura                                                 Address Redacted
  Harald Andrews                                                Address Redacted
  Harald M Andrews                                              Address Redacted
  Harlan Willis                                                 Address Redacted
  Harman'S Repair Station, Inc.                                 5640 FeNWick Circle                                      Anchorage        AK       99516
  Harold Goode                                                  Address Redacted
  Harris Corporation                                            2235 Monroe Street                                       Herndon          VA       20171
  Harris Sand & Gravel Inc                                      PO Box 6, 1/2 Mile Airport Rd                            Valdez           AK       99686-0006
  Hart Solutions LLC                                            1612 Crittenden St NW                                    Washington       DC       20011
  Hartzell Propeller Inc.                                       8345 Solutions Center                                    Chicago          IL       60677-8003
  Harumi Fabian                                                 Address Redacted
  Harvey Fox                                                    Address Redacted
  Hasco Incorporated                                            136 East Sixth Ave                                       Anchorage        AK       99501
  Hayden Electric Motors Inc                                    4191 Old Seward Highway                                  Anchorage        AK       99503
  Hayden Iworrigan                                              Address Redacted
  Hayes Instrument Services, Inc.                               530 Boston Road                                          Billerica        MA       01821
  Haz-Mat Transportation Services                               PO Box 731282                                            Puyallup         WA       98373
  Heads Up Technologies                                         2033 Chenault Dr.                                        Carrollton       TX       75006-5119
  Heath, Lyle                                                   Address Redacted
  Heather Andersen                                              Address Redacted
  Heather Andersen                                              Address Redacted
  Heather Deremer                                               Address Redacted
  Heather Gillette                                              Address Redacted
  Heather Gora                                                  Address Redacted
  Hector International Airport                                  Municipal Airport                                        Fargo            ND       58108-2845
  Heidi Kiunya                                                  Address Redacted
  Heikki Mattila                                                Address Redacted
  Helen Donohoe                                                 Address Redacted
  Helen Reyes                                                   Address Redacted
  Helena Regional Airport                                       2850 Skyway Dr                                           Helena           MT       59602
  Hendricks Mengidab                                            Address Redacted
  Henry Hodge                                                   Address Redacted
  Henry, Shasta                                                 Address Redacted
  Herber Aircraft Services Inc                                  1401 East Franklin Ave                                   El Segundo       CA       90245-4307
  Herbert Jones                                                 Address Redacted
  Herbert Woelfl                                                Address Redacted
  Heritage Turbines Inc.                                        Barnstabel Mun. Airport                                  Hyannis          MA       02601
  Herman L. Ahsoak                                              Address Redacted
  Hermenegilda Riodil                                           Address Redacted

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                                                                 Creditor Matrix


                                Name       Attention                         Address 1                          Address 2              City     State      Zip           Country
  Heroux Devtek                                             8 Pembroke Court                                                Runcorn            CA       WA7 1TG      United Kingdom
  Herschel Acton                                            Address Redacted
  Hill, Dora                                                Address Redacted
  Hillsborough County Aviation Authority                    Tampa International Airport                                     Tampa              FL       33622-2287
  Hinemoa Livai                                             Address Redacted
  Hippo Facility Management Technologies                    200-214 Mcdermot Avenue                                         Winnepeg           MB       R3B 0S3      Canada
  Hms Host                                                  7217 Collection Center Drive                                    Chicago            IL       60693
  Holaday - Parks Inc                                       1820 Marika                                                     Fairbanks          AK       99709
  Holly Peterson                                            Address Redacted
  Homer Chamber Of Commerce                                 201 Sterling Hwy                                                Homer              AK       99603
  Homer Electric Association Inc                            3977 Lake St                                                    Homer              AK       99603-7680
  Honeywell International, Inc.                             21380 Network Place                                             Chicago            IL       60673-1213
  Hook, Elliott                                             Address Redacted
  Horizon Air                                               8070 Ne Airtrans Way                                            Portland           OR       97218
  Hotel Mcgrath, LLC                                        PO Box 173                                                      Mcgrath            AK       99627
  Hotel Must                                                1345 Route De L'Aeroport                                        Ancienne-Lorette   QC       G2G 1G5      Canada
  Howard Starr                                              Address Redacted
  Howard Starr                                              Address Redacted
  Howard Tronsdal                                           Address Redacted
  Hrd Aero Systems, Inc.                                    25555 Avenue Stanford                                           Valencia           CA       91355
  Hudson News                                               One Meadowlands Plaza                                           East Rutherford    NJ       07073
  Hudsonlake Inc.                                           1199 N Fairfax Street, Ste 400                                  Alexandria         VA       22314
  Hugh Donovan                                              Address Redacted
  Hughes, Mark                                              Address Redacted
  Hunter Dill                                               Address Redacted
                                                            First Floor, Bowland House, The Sidings
  Hurst Green Plastics Ltd.                                 Business                                  Whalley               Nr Clitheroe                BB7 9SE      United Kingdom
  Hyatt Corporation                                         135 45Th St                                                     New York           NY       10036
  Hyatt House Anchorage                                     5141 Business Park Blvd                                         Anchorage          AK       99503
  Hynes & Khater                                            2700 Post Oak Blvd                                              Houston            TX       77056
  Iain Connolly                                             Address Redacted
  Ian Mudd                                                  Address Redacted
  Ian Thomson                                               Address Redacted
  Ibm Corporation                                           PO Box 676673                                                   Dallas             TX       75267-6673
  Ibs Capital & Management LLC                              File 56893                                                      Los Angeles        CA       90074-6893
  Ice Monkey Garage                                         712 West Potter                                                 Anchorage          AK       99518
  Ice Services Inc                                          101 E Northern Lights Blvd.                                     Anchorage          AK       99503
  I-Chun Chen                                               Address Redacted
  Icontracts Inc                                            1011 Route 22 West                                              Bridgewater        NJ       08807
  Id 90 Technologies, Inc.                                  925 South Kimball Ave                                           Southlake          TX       76092
  Idaho Falls Airport                                       PO Box 50220                                                    Idaho Falls        ID       83405-0220
  Ier Inc.                                                  1000 Industrial Park Rd                                         Belton             TX       76513-4158
  Ife Products                                              850 Commerce Parkway                                            Carpentersville    IL       60110
  Ignace Matthias                                           Address Redacted
  Ikhana Aircraft Services                                  Hangar 20                                                       Murrieta           CA       92563
  Ilaisaane Ofa                                             Address Redacted
  Iliamna Air Taxi, Inc.                                    PO Box 109                                                      Iliamna            AK       99606
  Ils, Inventory Locator Service LLC                        8001 Centerview Parkway                                         Memphis            TN       38018-4276
  Image Connection LLC                                      7117 Crossroads Blvd                                            Brentwood          TN       37027
  Imig Audio/Video Inc.                                     2611 Fairbanks Street #100                                      Fairbanks          AK       99503
  Inair Aviation Services                                   8225 Country Club                                               Indianapolis       IN       46214
  Inair Aviation Services                                   8225 Country Club Place                                         Indianapolis       IN       46214
  Independent Lift Truck Of Alaska, Inc.                    1200 E. 70Th Avenue                                             Anchorage          AK       99518
  Indianapolis Airport Authority                            7800 Col. H Weir Cook Memorial                                  Indianapolis       IN       46241
  Industrial Service Corp                                   2017 Cushman St                                                 Fairbanks          AK       99701
  Information Design Inc                                    880 N Street Suite 304                                          Anchorage          AK       99501
  Ingrid Kiehle                                             Address Redacted
  Ingrid S. Ramos-Ansaknok                                  Address Redacted
  Inlet Tower Hotel And Suites                              205 E Dimond Blvd                                               Anchorage          AK       99515
  Interface Devices, Inc.                                   230 Depot Road                                                  Milford            CT       06460
  Internal Revenue Service                                  PO Box 7346                                                     Philadelphia       PA       19101

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                                                                                                     Creditor Matrix


                                 Name                                       Attention                           Address 1                          Address 2                   City      State       Zip        Country
  Internal Revenue Service                                                                      PO Box 7346                                                           Philadelphia      PA       19101-7346
  International Air Transport Assoc                                                             PO Box 113                                                            Montreal          QC       H4Z 1M1      Canada
  International Aviation Service                             Attn: Ashlee Anderson              4200 W. 50Th Avenue                                                   Anchorage         AK       99502
  International Aviation Service, Inc.                                                          4200 West 50Th Ave                                                    Anchorage         AK       99502-1044
  International Business Machines Corporation                                                   3039 E CorNWallis                                                     Resrch Tri Pk     NC       27709
  International Catastrophe Insurance Managers, LLC                                             3665 Discovery Drive, Suite 300                                       Boulder           CO       80303
  International Catastrophe Insurance Managers, LLC (Icat)   Attn: Legal Dept.                  385 Interlocken Crescent                   Suite 1100                 Broomfield        CO       80021
  Interwest Laser Marking Inc                                                                   320 West 1550 North Unit 1                                            Layton            UT       84041
  Intralinks, Inc                                                                               150 East 42Nd St                                                      New York          NY       10017
  Iosefa Iosefa                                                                                 Address Redacted
  Ipd Aerospace, Inc.                                                                           8235 Lankershim Blvd, Unit1                                           North Hollywood   CA       91605
  Ira Chikoyak                                                                                  Address Redacted
  Isaiah Anvil                                                                                  Address Redacted
  Isaiah Trevino                                                                                Address Redacted
  Isaias Carrillo                                                                               Address Redacted
  Isiah Beans                                                                                   Address Redacted
  Ismc - Interline Sales Marketing Conference                                                   Secretary/ Treasurer Ismc 2016                                        Whitestone        NY       11357
  Ivan De La Pena                                                                               Address Redacted
  Iver Campbell                                                                                 Address Redacted
  Ivy Lamont                                                                                    Address Redacted
  J F Lehman & Company, Inc.                                                                    2001 Jefferson Davis Highway                                          Arlington         VA       22202
  J&K Connectors, Llp                                                                           1600 Sw 43Rd Street, #100                                             Renton            WA       98057
  J.J. Keller & Associates, Inc.                                                                PO Box 6609                                                           Carol Stream      IL       60197-6609
  Jaci Jividen                                                                                  Address Redacted
  Jack Bass                                                                                     Address Redacted
  Jack Mora                                                                                     Address Redacted
  Jack Motgin                                                                                   Address Redacted
  Jackie Nicholas                                                                               Address Redacted
  Jackson Aircraft Weighing Systems LLC                                                         2600 N Australian Ave                                                 West Palm Beach   FL       33407
  Jackson County Airport Authority                                                              Rogue Valley Int'L-Medford Airport                                    Medford           OR       97504
  Jackson Hole Airport Board                                                                    PO Box 159                                                            Jackson           WY       83001
  Jackson Municipal Airport Authority                                                           Dirk B. Vandrleest, Ex. Director                                      Jackson           MS       39298-8109
  Jackson Williams                                                                              Address Redacted
  Jacksonville Airport Authority                                                                14201 Pecan Park Road                                                 Jacksonville      FL       32218-9411
  Jacob Graham                                                                                  Address Redacted
  Jacob Kimball                                                                                 Address Redacted
  Jah2 Us Aircraft Holdings, LLC                             Attn: Stuart Klaskin               2601 S. Bayshore Drive                                                Miami             FL       33133
                                                                                                                                           1700 Pacific Avenue, Suite
  Jah2 Us Aircraft Holdings, LLC                             Attn: Kevin H. Good                C/O Connor & Winters, Llp                  2250                       Dallas            TX       75201
  Jah2015An680Pa, LLC                                        Attn: Stuart Klaskin               2601 S. Bayshore Drive                                                Miami             FL       33133
                                                                                                                                           1700 Pacific Avenue, Suite
  Jah2015An680Pa, LLC                                        Attn: Kevin H. Good                C/O Connor & Winters, Llp                  2250                       Dallas            TX       75201
  Jah2015An681Pa, LLC                                        Attn: Stuart Klaskin               2601 S. Bayshore Drive                                                Miami             FL       33133
                                                                                                                                           1700 Pacific Avenue, Suite
  Jah2015An681Pa, LLC                                        Attn: Kevin H. Good                C/O Connor & Winters, Llp                  2250                       Dallas            TX       75201
  Jah2015An682Pa, LLC                                        Attn: Stuart Klaskin               2601 S. Bayshore Drive                                                Miami             FL       33133
                                                                                                                                           1700 Pacific Avenue, Suite
  Jah2015An682Pa, LLC                                        Attn: Kevin H. Good                C/O Connor & Winters, Llp                  2250                       Dallas            TX       75201
  Jah2015An682Pa, LLC                                        Attn: Stuart Klaskin               C/O Jah2 Us Aircraft Holdings, Llc         2601 S. Bayshore Drive     Miami             FL       33133
  Jah2-Cae510132, LLC                                        Attn: Stuart Klaskin               2601 S. Bayshore Drive                                                Miami             FL       33133
  Jah32000-009, LLC                                          Attn: Stuart Klaskin               2601 S. Bayshore Drive                                                Miami             FL       33133
  Jakkalani Nieuwenhuis                                                                         Address Redacted
  James Active Iii                                                                              Address Redacted
  James Dodson                                                                                  Address Redacted
  James Duffy                                                                                   Address Redacted
  James Eshenower                                                                               Address Redacted
  James G. Tucker                                                                               Address Redacted
  James Goddard                                                                                 Address Redacted
  James Goodness                                                                                Address Redacted
  James Isidore                                                                                 Address Redacted
  James Jaskowiak                                                                               Address Redacted

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                                                            Creditor Matrix


                             Name     Attention                       Address 1                   Address 2           City    State       Zip   Country
  James Little                                         Address Redacted
  James Matha                                          Address Redacted
  James Miller                                         Address Redacted
  James P. Sheldon Co, Inc.                            201 E 54Th Ave                                         Anchorage      AK       99518
  James Panamaroff                                     Address Redacted
  James R Schley                                       Address Redacted
  James R. Pippine                                     Address Redacted
  James Randall                                        Address Redacted
  James Reid                                           Address Redacted
  James Riggs                                          Address Redacted
  James Rutan                                          Address Redacted
  James Tu'Akalau                                      Address Redacted
  James Walls                                          Address Redacted
  James Wilson                                         Address Redacted
  Jamf Software, LLC                                   100 Washington Ave. S                                  Minneapolis    MN       55401
  Janco Commercial Cleaning, LLC.                      205 E Dimond Blvd                                      Anchorage      AK       99515
  Jane Reyes                                           Address Redacted
  Janet Alvarez                                        Address Redacted
  Janet Cline                                          Address Redacted
  Janeth Colvin                                        Address Redacted
  Janice Lauvale                                       Address Redacted
  Janice Scritchfield                                  Address Redacted
  Janie Keller                                         Address Redacted
  Janine Stewman                                       Address Redacted
  Jaradine Ah Sam                                      Address Redacted
  Jared Brown                                          Address Redacted
  Jared Contreras                                      Address Redacted
  Jared Dailey                                         Address Redacted
  Jared Sterkel                                        Address Redacted
  Jarod Brown                                          Address Redacted
  Jarod Lewis                                          Address Redacted
  Jarrett Weiss                                        Address Redacted
  Jasmine Galindo                                      Address Redacted
  Jason Barrett                                        Address Redacted
  Jason Bormuel                                        Address Redacted
  Jason C Padgett                                      Address Redacted
  Jason Churchill                                      Address Redacted
  Jason Collins                                        Address Redacted
  Jason Gates                                          Address Redacted
  Jason Hemphill                                       Address Redacted
  Jason Mcenerney                                      Address Redacted
  Jason Mellerstig                                     Address Redacted
  Jason Vink                                           Address Redacted
  Jason Weitzel                                        Address Redacted
  Jaylene David                                        Address Redacted
  Jazzmer Moreno                                       Address Redacted
  Jeff Massey                                          Address Redacted
  Jeff Moe                                             Address Redacted
  Jeffery Morris                                       Address Redacted
  Jeffery Morris                                       Address Redacted
  Jeffery White                                        Address Redacted
  Jeffrey Harrison                                     Address Redacted
  Jeffrey J Arnold                                     Address Redacted
  Jeffrey King                                         Address Redacted
  Jeffrey Mahar                                        Address Redacted
  Jeffrey Martin                                       Address Redacted
  Jeffrey Matteson                                     Address Redacted
  Jeffrey Slwooko                                      Address Redacted
  Jeffrey Weigand                                      Address Redacted
  Jendry Leon Rumbaut                                  Address Redacted
  Jenna Hollingsworth                                  Address Redacted

In re: Ravn Air Group, Inc., et al.                                                                                                             Page 26 of 56
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                                                                Creditor Matrix


                              Name        Attention                        Address 1                       Address 2              City        State       Zip         Country
  Jennie L Bender                                          Address Redacted
  Jennifer Bueoy                                           Address Redacted
  Jennifer Gutierrez                                       Address Redacted
  Jennifer Johnson                                         Address Redacted
  Jennifer Paul                                            Address Redacted
  Jennifer Williams                                        Address Redacted
  Jeppesen Sanderson, Inc.                                 PO Box 840864                                               Dallas            TX           75284-0864
  Jeraldo Ruiz                                             Address Redacted
  Jeremiah Braga                                           Address Redacted
  Jeremiah Kern                                            Address Redacted
  Jeremy Roberts                                           Address Redacted
  Jeremy Sobrepena                                         Address Redacted
  Jeremy Woods                                             Address Redacted
  Jerrilyn Salazar                                         Address Redacted
  Jerrine Ambrose                                          Address Redacted
  Jerry Ula                                                Address Redacted
  Jesse Denato                                             Address Redacted
  Jesse Makey                                              Address Redacted
  Jesse Mayo                                               Address Redacted
  Jesse Munday                                             Address Redacted
  Jesse Myers                                              Address Redacted
  Jessica Hawks                                            Address Redacted
  Jessica Hobbs                                            Address Redacted
  Jessica Huntington                                       Address Redacted
  Jessica Pahkala                                          Address Redacted
  Jesusa Olaes Schlader                                    Address Redacted
  Jet International Co LLC                                 1811 Elmdale Avenue                                         Glenview          IL           60026
  Jethro Albini                                            Address Redacted
  Jetpubs, Inc.                                            900 Crest View Dr.                                          Hudson            WI           54016
  Jetstream Aviation - Reserves                            2601 S Bayshore Dr                                          Miami             FL           33133
  Jetstream Aviation Holdings                              2601 S Bayshore Dr                                          Miami             FL           33133
  Jevante Sails                                            Address Redacted
  Jh Aviation                                              6 Alee Des Manachers                                                                                    France
  Jim Winchester                                           Address Redacted
  Jimmie Brown                                             Address Redacted
  Jimmie Frankson                                          Address Redacted
  Jimmy Nicolai                                            Address Redacted
  Jjm, Inc.                                                4700 Old International Airport Rd                           Anchorage         AK           99502
  Jjm, Inc. Leases                                         4700 Old International Airport Rd                           Anchorage         AK           99502
  Jjm, Inc. Reserves                                       4700 Old Internationl Airport Rd                            Anchorage         AK           99502
  Jkl Components Corporation                               13343 Paxton St.                                            Pacoima           CA           91331
  Jkm General Contractors, LLC                             1884 E 3Rd Avenue, Suite 201                                Anchorage         AK           99501-2858
  Jmar Consulting, LLC                                     805 Norh Island Drive                                       Atlanta           GA           30327
  Joann Smallwood                                          Address Redacted
  Joel Buysse                                              Address Redacted
  Joel Hadley                                              Address Redacted
  Joel Skenandore                                          Address Redacted
  Joel Skenandore                                          Address Redacted
  Joel Zarate                                              Address Redacted
  John Augustine                                           Address Redacted
  John Bonacor                                             Address Redacted
  John C Jackson                                           Address Redacted
  John C. Jackson                                          Address Redacted
  John Drozdowski                                          Address Redacted
  John F. Kennedy International Airport                    Port Authority Of Ny & Nj                                   Philadelphia      PA           19195-1556
  John Fejer                                               Address Redacted
  John Flynn                                               Address Redacted
  John Gould & Sons Co, Inc.                               PO Box 7                                                    King Cove         AK           99612
  John Green                                               Address Redacted
  John Hermiston                                           Address Redacted
  John Hooten                                              Address Redacted

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                                                              Creditor Matrix


                              Name      Attention                         Address 1                  Address 2            City    State       Zip      Country
  John J Mannion                                         Address Redacted
  John Leavitt                                           Address Redacted
  John Lilly                                             Address Redacted
  John Nobleza                                           Address Redacted
  John Popolizio                                         274 Celebration Blvd                                    Celebration     FL       34747
  John Price                                             Address Redacted
  John R White                                           Address Redacted
  John Ray Varona                                        Address Redacted
  John Ryan                                              Address Redacted
  John Sanchez                                           Address Redacted
  John Sanden                                            Address Redacted
  John Shannon                                           Address Redacted
  John Thatcher                                          Address Redacted
  John Watson                                            Address Redacted
  John Wayne Airport                                     3160 Airway Avenue                                      Costa Mesa      CA       92626
  John White                                             Address Redacted
  John Zebutis                                           Address Redacted
  Johnathan Babcock                                      Address Redacted
  Johnson Controls Security Solutions                    PO Box 371967                                           Pittsburgh      PA       15250-7967
  Johnstone Supply                                       7500 Old Seward Hwy                                     Anchorage       AK       99518
  Jolene Kuzuguk                                         Address Redacted
  Jolene Martin                                          Address Redacted
  Jolene Nanouk                                          Address Redacted
  Jolly Roger, Inc.                                      3526 Industrial Ave                                     Fairbanks       AK       99701
  Jon Schmelz                                            Address Redacted
  Jon Ward                                               Address Redacted
  Jonathan Alicea Gomez                                  Address Redacted
  Jonathan Burdick                                       Address Redacted
  Jonathan Foster                                        Address Redacted
  Jonathan Jones                                         Address Redacted
  Jonathan Owens                                         Address Redacted
  Jonathan Russell                                       Address Redacted
  Jonathan Toft                                          Address Redacted
  Jonathon Cline                                         Address Redacted
  Jones Day                                              250 Vesey Street                                        New York        NY       10281
  Jordan Ingels                                          Address Redacted
  Jordan K George Bellitti                               Address Redacted
  Jordan Murdock                                         Address Redacted
  Jose Aristy                                            Address Redacted
  Jose Matuz                                             Address Redacted
  Jose Nino Moreno                                       Address Redacted
  Joseph Beans Iii                                       Address Redacted
  Joseph BrauNWarth                                      Address Redacted
  Joseph Bumbaca                                         Address Redacted
  Joseph Charles Iii                                     Address Redacted
  Joseph Hedlund                                         Address Redacted
  Joseph Imbrescia                                       Address Redacted
  Joseph Keene                                           Address Redacted
  Joseph Leggett                                         Address Redacted
  Joseph Macdonald-Brown                                 Address Redacted
  Joseph Noah                                            Address Redacted
  Joseph Passino                                         Address Redacted
  Joseph Pritt                                           Address Redacted
  Joseph Schooler                                        Address Redacted
  Joseph Turner                                          Address Redacted
  Joseph Woods                                           Address Redacted
  Josephine Arnold                                       Address Redacted
  Josephine Igaya                                        Address Redacted
  Joshua Bierma                                          Address Redacted
  Joshua Brooke                                          Address Redacted
  Joshua Charlie                                         Address Redacted

In re: Ravn Air Group, Inc., et al.                                                                                                                    Page 28 of 56
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                                                              Creditor Matrix


                                Name    Attention                        Address 1                    Address 2              City    State       Zip      Country
  Joshua Christensen                                     Address Redacted
  Joshua Dewey                                           Address Redacted
  Joshua Foch                                            Address Redacted
  Joshua Kaufield                                        Address Redacted
  Joshua Lester                                          Address Redacted
  Joshua Robnolte                                        Address Redacted
  Josiah Thalhofer                                       Address Redacted
  Jovy Young                                             Address Redacted
  Joyce Kameroff                                         Address Redacted
  Js Firm, LLC                                           113250 Cleveland Gibbs Road, Suite 104                   Roanoke           TX       76262-4425
  Jt Allison Co . LLC                                    21212 Meadow Lake Drive                                  Chugiak           AK       99567
  Juan Ruiz                                              Address Redacted
  Judy Huss                                              Address Redacted
  Jules Ravin                                            Address Redacted
  Juli Sexton                                            Address Redacted
  Julia Corrigan                                         Address Redacted
  Julia Helsel                                           Address Redacted
  Julie Sager                                            Address Redacted
  Julius Villasenor                                      Address Redacted
  Jungle Jim'S Floorcovering, LLC                        5650 Old Seward Hwy, Suite F                             Anchorage         AK       99518
  Junior Daniel                                          Address Redacted
  Justin Bennett                                         Address Redacted
  Justin Berry                                           Address Redacted
  Justin Chevalier                                       Address Redacted
  Justin Essian                                          Address Redacted
  Justin Essian                                          Address Redacted
  Justin Hale                                            Address Redacted
  Justin Hooper                                          Address Redacted
  Justin Laws                                            Address Redacted
  Justin Lunn                                            Address Redacted
  Justin Tagoai                                          Address Redacted
  K & L Distributors, Inc.                               6307 Arctic Spur Road                                    Anchorage         AK       99518-0000
  K0062 Kachemak Auto Parts 500002180                    3545 Main Street                                         Homer             AK       99603
  K1082 Korthuis, Inc.500002111                          PO Box 1016                                              Bethel            AK       99559
  Kaelan Raynes                                          Address Redacted
  Kaelan Raynes                                          Address Redacted
  Kaiena Tuiloma                                         Address Redacted
  Kaiju Labs                                             55 S. Kukui St.                                          Honolulu          HI       96813
  Kaiser, Peter                                          Address Redacted
  Kaktovik Inupiat Corp                                  Box 73                                                   Kaktovik          AK       99747
  Kalalo Zayleen                                         Address Redacted
  Kalea Saito                                            Address Redacted
  Kalerak, Chris & Crystal                               PO Box 1257                                              Nome              AK       99762
  Kamel Oumchiche                                        Address Redacted
  Kameron Brazell                                        Address Redacted
  Kansas Aviation Of Independence                        PO Box 684                                               Independence      KS       67301
  Kansas City International Airport                      City Treasurer                                           Kansas City       MO       64184-4124
  Kao Yang                                               Address Redacted
  Karel De Smet                                          Address Redacted
  Karie Wilson                                           Address Redacted
  Karl Erickson                                          Address Redacted
  Karla Montalvo                                         Address Redacted
  Karri Aanonson                                         Address Redacted
  Kasey Bullecer                                         Address Redacted
  Kassandra Lowery                                       Address Redacted
  Kassidy Rhodes                                         Address Redacted
  Katelyn Aragon                                         Address Redacted
  Katelyn Johnson                                        Address Redacted
  Katelyn Rowley                                         Address Redacted
  Katherine Henley                                       Address Redacted
  Katherine Nutting                                      Address Redacted

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                                                                        Creditor Matrix


                                Name              Attention                         Address 1                     Address 2              City        State       Zip      Country
  Kathleen Ekada                                                   Address Redacted
  Katie Anthony                                                    Address Redacted
  Katie Carter                                                     Address Redacted
  Katie Rowell                                                     Address Redacted
  Katrina Brents                                                   Address Redacted
  Katrina Byrd                                                     Address Redacted
  Kavik Hoffman                                                    Address Redacted
  Kavlico Corporation                                              24729 Network Place                                        Chicago           IL           60673-1247
  Kayla Kiech                                                      Address Redacted
  Kayla M Donovan                                                  Address Redacted
  Kaylie Harvey                                                    Address Redacted
  Kd Weaver                                                        Address Redacted
  Keala Anderson                                                   Address Redacted
  Keegan Caufield                                                  Address Redacted
  Keenan Dock                                                      Address Redacted
  Keenan Mccormack                                                 Address Redacted
  Keeyan Jennings                                                  Address Redacted
  Keila Havener                                                    Address Redacted
  Keilani Simati                                                   Address Redacted
  Keith Hamilton                                                   Address Redacted
  Keith Norton                                                     Address Redacted
  Keller & Benvenutti Llp                                          650 California Street 19Th Floor                           San Francisco     CA           94108
  Kellie Crane                                                     Address Redacted
  Kellstrom Commercial Aerospace, Inc                              PO Box 932883                                              Leveland          OH           44193
  Kell-Strom Tool Company                                          214 Church St                                              Wetherfield       CT           06109
  Kelly Grawunder                                                  Address Redacted
  Kelly Kadake                                                     Address Redacted
  Kelly Manufacturing Company                                      555 South Topeka                                           Wichita           KS           67202
  Kelly Services Inc.                                              1212 Solutions Center                                      Chicago           IL           60677-1002
  Ken Smith                                                        Address Redacted
  Kenai Chamber Of Commerce                                        11471 Kenai Spur Hwy                                       Kenai             AK           99611
  Kenai Peninsula Borough                                          144 N. Binkley Street                                      Soldotna          AK           99669
  Kenai Peninsula Tourism Mkting Council                           Marketing Council Kptmc                                    Soldotna          AK           99669
  Kenai River Sportfishing Association                             Kenai River Classic                                        Soldotna          AK           99669
  Kendall Carver                                                   Address Redacted
  Kendall Ford Of Wasilla, LLC                                     PO Box 201669                                              Anchorage         AK           99520-1669
  Kendall Young                                                    Address Redacted
  Kendra Ashwell                                                   Address Redacted
  Kendra L Kapotak                                                 Address Redacted
  Kenka Angaiak                                                    Address Redacted
  Kenneth Hinds                                                    Address Redacted
  Kenneth Hinds                                                    Address Redacted
  Kenneth Holmberg                                                 Address Redacted
  Kenneth Owens                                                    Address Redacted
  Kensington Stone Associates                                      4521 Campus Drive #200                                     Irvine            CA           92612
  Kent Carter                                                      Address Redacted
  Kenyon International Emergency Services, Inc.                    15180 Grand Point Drive                                    Houston           TX           77090-6307
  Kern County, Dept Of Airports                                    Meadows Field Airport                                      Bakersfield       CA           93308
  Kerry Stout                                                      Address Redacted
  Ketchikan Gateway Borough                                        1900 First Ave                                             Ketchikan         AK           99901
  Ketchikan International Airport                                  Ketchikan Gateway Borough                                  Ketchikan         AK           99901
  Kevin Andrews                                                    Address Redacted
  Kevin Corrales                                                   Address Redacted
  Kevin Davidson                                                   Address Redacted
  Kevin Hyunh                                                      Address Redacted
  Kevin Loseke                                                     Address Redacted
  Kevin Piscoya                                                    Address Redacted
  Kevin Scheele                                                    Address Redacted
  Kevin Warner                                                     Address Redacted
  Kevin Williamson                                                 Address Redacted
  Kevin'S Upholstery                                               Kevin'S Upholstery                                         Chugiak           AK           99567

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                                                                   Creditor Matrix


                                Name         Attention                         Address 1                    Address 2              City    State       Zip        Country
  Keyshawn Mcenerney                                          Address Redacted
  Khanthaly Vongphrachanh                                     Address Redacted
  Kic Fm, LLC                                                 PO Box 1050                                               Kotzebue          AK       99752
  Kic Hardware, Auto & Lumber, Inc.                           PO Box 430                                                Kotzebue          AK       99752
  Kidde Aerospace & Defense                                   4200 Airport Dr. NW                                       Wilson            NC       27896
  Kikiktagruk Inupiat Corporation                             PO Box 1050                                               Kotzebue          AK       99752
  Kimberly Barr                                               Address Redacted
  Kimberly Fraser                                             Address Redacted
  Kimberly Gonzalez                                           Address Redacted
  Kimberly Hemphill                                           Address Redacted
  Kimberly Lanier                                             Address Redacted
  Kimberly Larson                                             Address Redacted
  Kimberly Mishler                                            Address Redacted
  Kincaid Grill                                               6700 Jewel Lake Rd #16                                    Anchorage         AK       99502
  King Air, Inc.                                              1 Airport Road                                            Naknek            AK       99633
  King Eider Inn                                              PO Box 1283                                               Barrow            AK       99723
  King Salmon Ground LLC                                      PO Box 214                                                King Salmon       AK       99613
  King Salmon Suites                                          PO Box 9                                                  King Salmon       AK       99613
  Kingfisher House                                            Box 546                                                   Dillingham        AK       99576
  Kirk Blondeaux                                              Address Redacted
  Kitchener Aerospace                                         PO Box 69                                                 Breslau           ON       NOB 1MO      Canada
  Kitty Wells-Howarth                                         Address Redacted
  Kizzia, Ethan                                               Address Redacted
  Klondike Door Service                                       2626 Phillips Field Road                                  Fairbanks         AK       99709
  Klx / Boeing Distribution Services, Inc.                    100 N. Riverside Plaza                                    Chicago           IL       60606-1596
  Knik Plumbing & Heating                                     PO Box 220587                                             Anchorage         AK       99522-0587
  Kobe Mendones                                               Address Redacted
  Kodiak Borough                                              710 Mill Bay Rd                                           Kodiak            AK       99615
  Kodiak Chamber Of Commerce                                  100 E Marine Way                                          Kodiak            AK       99615
  Kodiak Inn                                                  236 Rezanof Drive                                         Kodiak            AK       99615
  Kodiak Island Borough                                       710 Mill Bay Road                                         Kodiak            AK       99615-6340
  Korn Ferry                                                  PO Box 1450                                               Minneapolis       MN       55485-5854
  Kotzebue Electric Association                               PO Box 44                                                 Kotzebue          AK       99752
  Kpb Architects                                              500 L Street, Suite 400                                   Anchorage         AK       99501
  Kpmg Llp                                                    3 Chestnut Ridge Road                                     Montvale          NJ       07645
  Kr Kaminanga                                                Address Redacted
  Kris E Lake                                                 Address Redacted
  Kris Lake                                                   Address Redacted
  Krista Barker                                               Address Redacted
  Kristen Downum                                              Address Redacted
  Kristen Foster                                              Address Redacted
  Kristen Vierthaler                                          Address Redacted
  Kristian Tacata                                             Address Redacted
  Kristy Kuzuguk                                              Address Redacted
  Kristy Obruk                                                Address Redacted
  Kritsana Sawyer                                             Address Redacted
  Krn Aviation Services                                       450 N. Mcclintock Dr; Suite 101                           Chandler          AZ       85226
  Kronos Inc                                                  PO Box 743208                                             Atlanta           GA       30374-3208
  Ksrm, Inc.                                                  40960 K- Beach Road                                       Kenai             AK       99611
  Kurt Andrew                                                 Address Redacted
  Kurt Graese                                                 Address Redacted
  Kuskokwim Commerical Supply, Inc.                           PO Box 2888                                               Bethel            AK       99559
  Kuspuk School District                                      PO Box 49                                                 Aniak             AK       99577
  Kya Bolin                                                   Address Redacted
  Kyle Jones                                                  Address Redacted
  Kyle Kaganak                                                Address Redacted
  Kyle Mcquestion                                             Address Redacted
  Kylie Jorgensen                                             Address Redacted
  Kylie Moore                                                 Address Redacted
  L & M Aircraft Parts, LLC                                   7070 W. Harry                                             Wichita           KS       67209
  L & M Equipment Inc                                         PO Box 241                                                Naknek            AK       99633

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                                                                    Creditor Matrix


                               Name           Attention                         Address 1                       Address 2             City    State       Zip        Country
  L Freedom Shepard                                            Address Redacted
  L Freedom Shepard                                            Address Redacted
  L J Walch Company Incorporated                               PO Box 2798                                                  Livermore        CA       94551-2798
  L. J. Walch Co., Inc.                                        6600 Preston Ave.                                            Livermore        CA       94551
  L-3 Aviation Products, Inc.                                  5353 52Nd St Se                                              Grand Rapids     MI       49512
  L3Harris                                                     2700 Flightline Ave.                                         Sanford          FL       32773
  La Quinta Inns & Suites Anchorage Airport                    3501 Minnesota Drive                                         Anchorage        AK       99503
  Labelmaster                                                  PO Box 46402                                                 Chicago          IL       60646-0402
  Lafayette Regional Airport                                   Lafayette Regional Airport                                   Layfayette       LA       70508-2159
  Lagi Wong-Sin                                                Address Redacted
  Lagi Wong-Sin                                                Address Redacted
  Lagilelei Moliga                                             Address Redacted
  Laguardia, Ny                                                Port Authority Of Ny & Nj                                    Philadelphia     PA       19195-1556
  Laird Plastics                                               PO Box 934226                                                Atlanta          GA       98108
  Lake Road Lodge                                              Box 338                                                      Dillingham       AK       99576
  Lamco Inc.                                                   C/O Chris Messina Air Canada                                 East Boston      MA       02128
  Lana Karlberg                                                Address Redacted
  Lance Bickford                                               Address Redacted
  Lance Henderson                                              Address Redacted
  Land Computer                                                21 Caller Street                                             Peabody          MA       01960
  Landye Bennett Blumstein Llp                                 701 West 8Th Ave, Suite 1200                                 Anchorage        AK       99501
  Lang, Dominik                                                Address Redacted
  Lanutoto Ueselani                                            Address Redacted
  Lara Honrada                                                 Address Redacted
  Larisa Hiner                                                 Address Redacted
  Larissa Choquette                                            Address Redacted
  Larry Ivanoff                                                Address Redacted
  Larry Lamont                                                 Address Redacted
  Larry Lind                                                   Address Redacted
  Larry Murray'S Drain Cleaning                                PO Box 870473                                                Wasilla          AK       99687
  Larry Nicholas                                               Address Redacted
  Larry'S Fire Equipment                                       Box 116                                                      Dillingham       AK       99576
  Lars Sookiayak                                               Address Redacted
  Larson Tod                                                   Address Redacted
  Larson'S Locksmith & Security Inc.                           1249 Noble Street                                            Fairbanks        AK       99701
  Latitude Technologies Corporation                            101-3375 Whittier Avenue                                     Victoria         BC       V8Z 3R1      Canada
  Launch Technical Workforce Solutions                         700 Commerce Dr.                                             Oak Brook        IL       60523
  Laura Perkins                                                Address Redacted
  Laura Peter                                                  Address Redacted
  Lauren Adams                                                 Address Redacted
  Lauren Ashlee Paneda                                         Address Redacted
  Lauren Paneda                                                Address Redacted
  Lauren Yow                                                   Address Redacted
  Laverne Beans                                                Address Redacted
  Lawrence Semmens                                             Address Redacted
  Lawrence Wells                                               Address Redacted
  Lea Mattson                                                  Address Redacted
  Leann Morgan                                                 Address Redacted
  Leann Samuelson                                              Address Redacted
  Leanne Semprimoznik                                          Address Redacted
  Leavitt, Dora                                                Address Redacted
  Leclairryan, A Professional Corporation                      PO Box 780054                                                Philadelphia     PA       19178-0054
  Lee Aerospace Inc.                                           PO Box 112                                                   Wichita          KS       67201
  Lee County Port Authority                                    Southwest Florida Regional Airport                           Fort Myers       FL       33913-8899
  Lee Iii,George C                                             Address Redacted
  Lee Minear                                                   Address Redacted
  Lee, Cody                                                    Address Redacted
  Lee, Lisa                                                    Address Redacted
  Lee, Patrick                                                 Address Redacted
  Lee'S Sea Air                                                PO Box 75                                                    Kiana            AK       99749
  Leexan Data                                                  Address Redacted

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                                                                                              Creditor Matrix


                               Name                                  Attention                            Address 1                     Address 2            City        State       Zip         Country
  Lehuanani Robb                                                                         Address Redacted
  Lemigao Faatoafe                                                                       Address Redacted
  Leo Aguchak                                                                            Address Redacted
  Leo Ayuluk                                                                             Address Redacted
  Leon Kulowiyi                                                                          Address Redacted
  Leonard Delie                                                                          Address Redacted
  Leonard R Brown                                                                        Address Redacted
  Leong Liem Seng                                                                        Address Redacted
  Leroy Gunderson                                                                        Address Redacted
  Lesli Swanson                                                                          Address Redacted
  Leslie Blohm                                                                           Address Redacted
  Leslie Hunter                                                                          Address Redacted
  Leslie Westdahl                                                                        Address Redacted
  Levi Althens                                                                           Address Redacted
  Levi Fox                                                                               Address Redacted
  Levi Sanders                                                                           Address Redacted
  Lewis Amituanai                                                                        Address Redacted
  Lewis, Bernadette                                                                      Address Redacted
  Lexington-Fayette Urban County Airport Board                                           Blue Grass Airport                                         Lexington           KY       40510
  Lfs Inc.                                                                               3625 East End Road                                         Homer               AK       99603
  Liang Zhou                                                                             Address Redacted
  Lianne Hopper                                                                          Address Redacted
  Lifewise Assurance Company                          Attn: Legal Dept.                  7001 – 220Th St. S.W.                                      Mountlake Terrace   WA       98043-2124
  Lighthouse For The Blind Inc                                                           1010 Grand Blvd                                            Kansas City         MO       64106
                                                                                         3811 West Chester Pike, Building Two,
  Lighthouse Services, LLC.                                                              Suite 100                                                  Newtown Square      PA       19073
  Light'N Up, Inc.                                                                       1209 Gambell St.                                           Anchorage           AK       99501-4627
  Lihue Airport                                                                          400 Rodgers Boulevard                                      Honolulu            HI       96819
  Lilia Lundquist                                                                        Address Redacted
  Lillie Hadley                                                                          Address Redacted
  Linda Ione                                                                             Address Redacted
  Linda Vrooman                                                                          Address Redacted
  Lindsey Etukeok                                                                        Address Redacted
  Linkedin Corporation                                                                   62228 Collections Center Drive                             Chicago             IL       60693-0622
  Lithia Of Anchorage                                                                    9600 Old Seward Highway                                    Anchorage           AK       99515
  Little Angels Childcare Academy                                                        Box 170                                                    Naknek              AK       99633
  Little Rock Airport Commission                                                         Adams Field                                                Little Rock         AR       72202-4489
  Lloyd Alexie                                                                           Address Redacted
  Lloyd’S Syndicate 609 Atrium Underwriters Limited   Attn: Legal Dept.                  Lloyds Building, 1 Lime Street                             London                       EC3M 7DQ     United Kingdom
  Lloyd'S Syndicate 609 Atrium Underwriters Limited                                      One Sansome Street                      Suite 2060         San Francisco       CA       94104
  Logan International/Lg Hanscom Field                                                   Massport-Pfc Treasury                                      East Boston         MA       02128-2090
  Logan Toohey                                                                           Address Redacted
  Lola Green                                                                             Address Redacted
  Long House Hotel - Bethel                                                              PO Box 489                                                 Bethel              AK       99559
  Lonseal, Inc.                                                                          928 E 238Th St                                             Carson              CA       90745
  Loretta Fisher                                                                         Address Redacted
  Loretta Fogg                                                                           Address Redacted
  Loretta M Hawley                                                                       Address Redacted
  Losa Collaborative                                                                     PO Box 684645                                              Austin              TX       78768
  Louis Reich Iv                                                                         Address Redacted
  Louisville Regional Airport Authority                                                  Passenger Facility Charges                                 Louisville          KY       40232-2160
  Lowery Electric                                                                        Box 866                                                    Barrow              AK       99723
  Lsc Communications, Inc.                                                               PO Box 932987                                              Cleveland           OH       44193
  Lucas Herrin                                                                           Address Redacted
  Lucas Marri                                                                            Address Redacted
  Lucille Silas                                                                          Address Redacted
  Luisito Quimel                                                                         Address Redacted
  Lukas Kamper                                                                           Address Redacted
  Luke Hickerson                                                                         Address Redacted
  Luke Pearson                                                                           Address Redacted
  Lundeen, Philip James                                                                  Address Redacted

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                                                             Creditor Matrix


                                Name   Attention                       Address 1                    Address 2             City     State       Zip      Country
  Lydia Jacobs                                          Address Redacted
  Lyle Nordstrom                                        Address Redacted
  Lyle R Nordstrom                                      Address Redacted
  Lyman Duffy                                           Address Redacted
  Lynden Air Cargo LLC                                  PO Box 34026                                            Seattle           WA       98124-1026
  Lynden Transport Inc.                                 PO Box 34026                                            Seattle           WA       98124-1026
  Lynsey Rich                                           Address Redacted
  M P M Products Inc                                    1718 East Grevillea Court                               Ontario           CA       91761
  M.A. Green It Consulting                              1814 Cindy Lee Lane                                     Anchorage         AK       99507
  M.A.A. Inc./Audi Enterprises                          PO Box 67                                               Kaktovik          AK       99747
  Ma Ligaya Pineda                                      Address Redacted
  Mad Mike'S Aircraft Engines                           PO Box 877485                                           Wasilla           AK       99687
  Madeline Gallahorn                                    Address Redacted
  Madeline Savage                                       Address Redacted
  Madison Mcdade                                        Address Redacted
  Magellan Aircraft Services Llp                        2345B Township Road                                     Charlotte         NC       28273
  Magellan Behavioral Health                            PO Box 785341                                           Philadelphia      PA       19178-5341
  Magellan Expendables                                  1901 Green Rd Ste. F                                    Deerfield Beach   FL       33064
  Maggie'S Hotel                                        PO Box 206                                              Unalakleet        AK       99684
  Mahe'Uli'Uli Kailahi                                  Address Redacted
  Main Event Catering & Catering                        PO Box 244324                                           Anchorage         AK       99524
  Main Street Hotel                                     10800 Kenai Spur Hwy                                    Kenai             AK       99622
  Maine Department Of Labor                             PO Box 1060                                             Augusta           ME       04332-1060
  Makenna Rhodes                                        Address Redacted
  Makenzie Vandiver                                     Address Redacted
  Mandie Abrams                                         Address Redacted
  Mandie Wolf                                           Address Redacted
  Manns Mike                                            Address Redacted
  Manrique, Rick                                        Address Redacted
  Manuoletuasivi Siaumau                                Address Redacted
  Marcella Rodriguez                                    Address Redacted
  Marcella Tabor                                        Address Redacted
  Marcus Chapin                                         Address Redacted
  Marcus Halterman                                      Address Redacted
  Marcus Moloney                                        Address Redacted
  Margaret Jackson                                      Address Redacted
  Margaret Larocca                                      Address Redacted
  Margie Simeon                                         Address Redacted
  Margie Simeon-Rent                                    PO Box 213                                              Aniak             AK       99557
  Margie Smith                                          Address Redacted
  Maria Arroyo                                          Address Redacted
  Maria Richard                                         Address Redacted
  Maria Sefo                                            Address Redacted
  Maria Taauta                                          Address Redacted
  Maria Taauta                                          Address Redacted
  Marie Armstrong                                       Address Redacted
  Marie Olo                                             Address Redacted
  Marie Sheldon                                         Address Redacted
  Marilyn Deacon                                        Address Redacted
  Marilyn Michaels                                      Address Redacted
  Marina Meyers                                         Address Redacted
  Mario Laxa                                            Address Redacted
  Mario Vergara                                         Address Redacted
  Maritime Helicopters Inc                              3520 Faa Road                                           Homer             AK       99603
  Mark A Lopez                                          Address Redacted
  Mark A Sandland                                       Address Redacted
  Mark Cole                                             Address Redacted
  Mark Griffith                                         Address Redacted
  Mark Libao                                            Address Redacted
  Mark Lilja                                            Address Redacted
  Mark Mercer                                           Address Redacted

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                                                                                Creditor Matrix


                                Name                     Attention                          Address 1                 Address 2            City    State       Zip      Country
  Mark Meyer Photography                                                   18708 Citation Road                                    Eagle River     AK       99577
  Mark Stevens                                                             Address Redacted
  Mark Sullivan                                                            Address Redacted
  Marlene Madros                                                           Address Redacted
  Marlin Business Bank                                                     PO Box 13604                                           Philadelphia    PA       19101-3604
  Marlin Paul Jr                                                           Address Redacted
  Marlon Arcamo                                                            Address Redacted
  Mars Magnum Air Dynamics                                                 13960 NW 60Th Avenue                                   Miami Lakes     FL       33014
  Marsh Usa, Inc.                                                          C/O Wells Fargo Bank                                   Seattle         WA       98124-3871
  Marsh Usa, Inc.                                                          PO Box 846015                                          Dallas          TX       75284-6015
  Marsha Graham                                                            Address Redacted
  Marshall, Michael                                                        Address Redacted
  Martha Ayagalria                                                         Address Redacted
  Martika Gutierrez                                                        Address Redacted
  Martin Case                                                              Address Redacted
  Martina Angaiak                                                          Address Redacted
  Mary Green                                                               Address Redacted
  Mary Lincoln                                                             Address Redacted
  Maryland Aviation Administration            ATTN: CAROL WILLIS           M&T Bank -- Attn: Carol Willis                         Baltimore       MD       21201
  Mascott Equipment                                                        435 Ne Hancock                                         Portland        OR       97212
  Mason Kimber                                                             Address Redacted
  Mason Kimber                                                             Address Redacted
  Massachusetts Department Of Revenue                                      Massachusetts Department Of Revenue                    Boston          MA       02204
  Massachusetts Port Authority                                             PO Box 3471                                            Boston          MA       02241-3471
  Matanuska Electric Association, Inc.                                     Payment Processing                                     Palmer          AK       99645-1688
  Matanuska Telephone Association, Inc.                                    PO Box 3009                                            Palmer          AK       99645-3009
  Matanuska-Susitna Borough                                                350 E. Dahlia Ave                                      Palmer          AK       99645-6788
  Matanuska-Susitna Borough School District                                501 N. Gulkana                                         Palmer          AK       99645
  Material Flow & Conveyor Systems, Inc.                                   PO Box 550                                             Donald          OR       97020
  Matheson Tri-Gas, Inc.                                                   Dept La 23793                                          Pasadena        CA       91185-3793
  Mathew D Stewart                                                         Address Redacted
  Mathew Faoasau                                                           Address Redacted
  Mathew Ferguson                                                          Address Redacted
  Mathew Huntsinger                                                        Address Redacted
  Mathew Lincoln                                                           Address Redacted
  Mathew Park                                                              Address Redacted
  Matianita Hadden                                                         Address Redacted
  Mat-Su Mechanical, Inc.                                                  1265 E Lolly Cir                                       Wasilla         AK       99654
  Matsu Water LLC                                                          1649 West Parks Highway                                Wasilla         AK       99654
  Matt Hahn                                                                Address Redacted
  Matthew B Gomes                                                          Address Redacted
  Matthew Bergen                                                           Address Redacted
  Matthew Bethke                                                           Address Redacted
  Matthew Billings                                                         Address Redacted
  Matthew Brekke                                                           Address Redacted
  Matthew Campbell                                                         Address Redacted
  Matthew Evans                                                            Address Redacted
  Matthew Hammond                                                          Address Redacted
  Matthew Hanshaw                                                          Address Redacted
  Matthew Hygh                                                             Address Redacted
  Matthew L Place                                                          Address Redacted
  Matthew Meyer                                                            Address Redacted
  Matthew Morgan                                                           Address Redacted
  Matthew Viveiros                                                         Address Redacted
  Matty'S Truck Rental, LLC                                                PO Box 314                                             St. Mary'S      AK       99658
  Mauga Vitale                                                             Address Redacted
  Maureen Nicholas                                                         Address Redacted
  Maxwell Dubbe                                                            Address Redacted
  Mcafee & Taft                                                            10Th Floor, Two Leadership Square                      Oklahoma        OK       73102-7103
  Mccarran International Airport                                           Director Of Finance                                    Las Vegas       NV       89111-1005
  Mcdermott, Noel                                                          Address Redacted

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                                                                                 Creditor Matrix


                                  Name                    Attention                           Address 1                     Address 2               City    State       Zip         Country
  Mcelwee, Nellie                                                           Address Redacted
  Mcfarland & Assoc., Dba Antlers Inn                                       PO Box 471                                                  King Salmon        AK       99613
  Mcmaster-Carr Supply Company                                              600 N County Line Rd                                        Elmhurst           IL       60126
  Medaire Inc                                                               4722 N 24Th Street                                          Phoenix            AZ       85016
  Medallion Aviation Safety                                                 1520 Post Road                                              Anchorage          AK       99501
  Medallion Foundation, Inc                                                 1520 North Post Road                                        Anchorage          AK       99501
  Medical Group Of Alaska                                                   3066 E Meridian Park Loop                                   Wasilla            AK       99654
  Medical Park Family Care, Inc.                                            2211 E. Northern Lights Blvd.                               Anchorage          AK       99508
  Megan Stone                                                               Address Redacted
  Megawatt Electric                                                         510 West Fireweed                                           Anchorage          AK       99503
  Melanie Mitchell                                                          Address Redacted
  Mele Augafa                                                               Address Redacted
  Mele- Fatai Vaka                                                          Address Redacted
  Melin Mechanical                                                          Wells Fargo Operation Center                                Anchorage          AK       99519
  Melissa J Roberts                                                         Address Redacted
  Melissa Marvin                                                            Address Redacted
  Melissa Miller                                                            Address Redacted
  Melodye Belowich                                                          Address Redacted
  Melvin Kvamme                                                             Address Redacted
  Memphis International Airport                                             2491 Winchester Road                                        Memphis            TN       38116
  Merchan Rafer                                                             Address Redacted
  Mercy Fernandez                                                           Address Redacted
  Merrill Field Instruments, Inc.                                           940 Merrill Field Drive                                     Anchorage          AK       99501
  Merry E Engebretson                                                       Address Redacted
  Merry Engebretson                                                         Address Redacted
  Merylin Traynor                                                           Address Redacted
  Metal Innovations, Inc.                                                   22215 Yellow Gate Ln. Ne                                    Aurora             OR       97002
  Metal Supermarkets-Anchorage                                              8535 Dimond D Circle                                        Anchorage          AK       99515
  Metotisi Sanele                                                           Address Redacted
  Metropolitan Nashville Airport Authority                                  Nashville International Airport                             Nashville          TN       37244-0316
  Metropolitan Washington Authority                                         Washington National Airport (Dca)                           Atlanta            GA       30353-2816
  Mg Alaska Leasing Limited                                                 6Th Floor                                                   Dublin 4                                 Ireland
  Mg Alaska Leasing Limited                  Attn: Raymond Eyre             6Th Floor, South Bank House                                 Dublin                      4            Ireland
  Michael Boratko                                                           Address Redacted
  Michael Burud                                                             Address Redacted
  Michael Carter                                                            13795 Thomas Pl                                             Keystone           SD       57751
  Michael Dawes                                                             Address Redacted
  Michael Dehaan                                                            Address Redacted
  Michael Dyer                                                              Address Redacted
  Michael Gayvoronskiy                                                      Address Redacted
  Michael Grondin                                                           Address Redacted
  Michael Hicks                                                             Address Redacted
  Michael Hoefnagel                                                         Address Redacted
  Michael Hviid                                                             Address Redacted
  Michael Jones                                                             Address Redacted
  Michael Kautz                                                             Address Redacted
  Michael Mann                                                              Address Redacted
  Michael Mulkey                                                            Address Redacted
  Michael Murray                                                            Address Redacted
  Michael Polk                                                              Address Redacted
  Michael Quinn                                                             Address Redacted
  Michael R Hinton                                                          Address Redacted
  Michael Roa                                                               Address Redacted
  Michael Scherback                                                         Address Redacted
  Michael Seibert                                                           Address Redacted
  Michael Sholl                                                             Address Redacted
  Michael Shuravloff                                                        Address Redacted
  Michael Spitler                                                           Address Redacted
  Michael Stocker                                                           Address Redacted
  Michael Swee Long Liu                                                     Address Redacted
  Michael Upton                                                             Address Redacted

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                                Name                                Attention                           Address 1                        Address 2                City    State       Zip         Country
  Michael Wright                                                                       Address Redacted
  Michaela Rockwell                                                                    Address Redacted
  Micheal Jenkins                                                                      Address Redacted
  Michele Bane                                                                         Address Redacted
  Michelle Bower                                                                       Address Redacted
  Michelle Massmann                                                                    Address Redacted
  Michelle Tickett                                                                     Address Redacted
  Michigan State Disb. Unit                                                            PO Box 30350                                                  Lansig              MI       48909-7850
  Mickey Wilson                                                                        Address Redacted
  Microsoft Licensing Gp                                                               C/O Bank Of America                                           Dallas              TX       75207
  Mid-Continent Instruments And Avionics                                               PO Box 512                                                    Wichita             KS       67201-1512
  Midnight Moon Company Inc                                                            Dba Kaladi Brothers Coffee                                    Anchorage           AK       99507
  Midnight Sun Cleaning Services, LLC                                                  PO Box 3291                                                   Bethel              AK       99559
  Midnight Sun Label Co.                                                               5480 E 98Th Ave                                               Anchorage           AK       99507
  Midnight Sun Moving Servies LLC                                                      PO Box 168                                                    Bethel              AK       99559
  Midwest Aero Support                                                                 1303 Turret Drive                                             Machesney Park      IL       61115
  Midwest Aircraft Products C/O Miller Metal                                           125 South Mill St.                                            Lexington           OH       44904
  Mike Roland                                                                          Address Redacted
  Mike'S Fire Equipment                                                                PO Box 273                                                    Unalaska            AK       99685
  Mikhail Buckhout                                                                     Address Redacted
  Miklahook, Christopher                                                               Address Redacted
  Mill, Virgil L                                                                       5757 South Mead                                               Wichita             KS       67216
  Miller, Rose                                                                         Address Redacted
  Milya Wright                                                                         Address Redacted
  Mineta San Jose Int'L Airport                                                        1701 Airport Boulevard                                        San Jose            CA       95110
  Minneapolis/St Paul International Airport                                            Metropoilitan Airport Commission                              Minneapolis         MN       55485
  Minot International                                                                  515 2Nd Avenue Sw                                             Minot               ND       58702-5006
  Miquela J Wilson                                                                     Address Redacted
  Mirachelo Morera                                                                     Address Redacted
  Missionar Aviation Repair Center                                                     595 Funny River Rd                                            Soldotna            AK       99669
  Mitchell Jones                                                                       Address Redacted
  Mitchell Kairaiuak                                                                   Address Redacted
  Mjd Enterprise Transport Services                                                    4061 Dunlap Ave.                                              Fairbanks           AK       99709
  Mnx                                                                                  Mnx                                                           Chicago             IL       60673-1260
  Mobile Airport Authority-Mobile Regional Airport                                     PO Box 88004                                                  Mobile              AL       36608-0004
  Moira Sheldon                                                                        Address Redacted
  Momentum Aeronautics, LLC                                                            4787 Northbrook Blvd N                                        Stillwater          MN       55082
  Monika Musteikis                                                                     Address Redacted
  Montaque Chayalkun                                                                   Address Redacted
  Monterey Regional Airport                                                            200 Fred Kane Dr., Ste 200                                    Monterey            CA       93940
  Montgomery Airport Authority                                                         4445 Selma Highway                                            Montgomery          AL       36108
  Montrose Global, Llp                               Attn: Nick Brice                  1-2 Jacob’S Well Mews                                         London                       W1U 3D5      England
  Moore Heating, Air Conditioning                                                      1801 E Dowling Road                                           Anchorage           AK       99507-1918
  Moore2Thepoint                                                                       92 Calliope Road                                              Auckland 0624                             New Zealand
  Morgan Johnson                                                                       Address Redacted
  Morgan Rudy                                                                          Address Redacted
  Morganette, Finch                                                                    Address Redacted
  Morten Beyer & Agnew                                                                 2101 Wilson Boulevard, Ste. 1001                              Arlington           VA       22201
  Morten Beyer & Agnew Inc.                                                            2101 Wilson Blvd., Suite 1001                                 Arlington           VA       22201
  Moser, Thomas                                                                        Address Redacted
  Moses Aluskak                                                                        Address Redacted
  Moses Brink                                                                          Address Redacted
  Motion And Flow Control Products, Inc.                                               8433 Solution Center                                          Chicago             IL       60677-8004
  Motion Industries                                                                    PO Box 98412                                                  Chicago             IL       60693
  Mount Rhynard Properties, LLC                                                        2491 Western Ave                                              Fairbanks           AK       99709
  Mountain Aerospace Inc.                                                              6970 W. 116Th Avenue                                          Broomfield          CO       80020
  Mountain Aerospace, Inc.                           Attn: Angela Brandenstein         6970 W 116Th Avenue                      Unit D               Broomfield          CO       80020
  Mountain Sky Hotel & Suites                                                          100 Meals Avenue                                              Valdez              AK       99686
  Mouser Electronics                                                                   PO Box 99319                                                  Fort Worth          TX       76199-0319
  Mpm-Products                                                                         1718 E Grevillea Court                                        Ontario             CA       91761
  Mr. Prime Beef                                                                       7521 Old Seward Highway                                       Anchorage           AK       99518

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                                                                                              Creditor Matrix


                             Name                                  Attention                             Address 1                      Address 2           City       State       Zip         Country
  Msdsonline, Inc.                                                                        222 Merchandise Mart Plaza                                Chicago         IL         60654
  Multi Service Aviation                                                                  PO Box 410435                                             Kansas City     MO         64141-0435
  Muni Of Anchorage Treasury-Psar                                                         PO Box 196650                                             Anchorage       AK         99519
  Municipal Light And Power                                                               1200 E. 1St. Ave.                                         Anchorage       AK         99501
  Municipality Of Anchorage                                                               PO Box 196040                                             Anchorage       AK         99519-6040

  Municipality Of Anchorage                         Finance Department/ Treasury Division PO Box 196650                                             Anchorage       AK         99503
  Murrill, Thomas                                                                         Address Redacted
  Myron Maki                                                                              Address Redacted
  Myrtle Beach International Airport                                                      1100 Jetport Road                                         Myrtle Beach    SC         29577
  N A Holdings LLC Dba Northern Petroleum                                                 820 E. Aircraft Road Ste 200                              Palmer          AK         99645
  N0096 Napa Auto Parts 500002109                                                         File 56893                                                Los Angeles     CA         90074-6893
  N0101 Kodiak Auto Parts Anc113                                                          Kodiak Auto Parts Inc                                     Kodiak          AK         99615
  N755Rv, LLC                                       c/o Bob Hajdukovich                   229 Iditarod Avenue                                       Fairbanks       AK         99701
  Naknek Electric Association                                                             PO Box 118                                                Naknek          AK         99633
  Nanci K Dupier                                                                          Address Redacted
  Nancy Larson-Kichak                                                                     Address Redacted
  Nancy WaiNWright                                                                        Address Redacted
  Naniq Global Logistics, LLC                                                             2657 Windmill Pkwy #668                                   Henderson       NV         89074
  Napa Auto Parts
  Genuine Parts Company, Inc.                                                             File 56893                                                Los Angeles     CA         90074-6893
  Napa Auto Parts/Genuine Parts Company, Inc        Attn: Chris Meisler                   File 56893/File56898                                      Los Angeles     CA         90074-6893
  Napa Auto Parts/Ibs Management                                                          Napa Auto Parts                                           Los Angeles     CA         90074-6893
  Natalie Watson                                                                          Address Redacted
  Nathan Lindeke                                                                          Address Redacted
  Nathan Morales                                                                          Address Redacted
  Nathan Smith                                                                            Address Redacted
  Nathan Svoboda                                                                          Address Redacted
  Nathaniel Ayuluk                                                                        Address Redacted
  Native Village Of Barrow                                                                PO Box 1130                                               Barrow          AK         99723
  Native Village Of Kwinhagak                                                             PO Box 149                                                Quinhagak       AK         99655
  Native Village Of Kwinhagak                                                             Quinhagak I R A Council                                   Quinhagak       AK         99655
  Native Village Of Point Lay                                                             PO Box 59031                                              Point Lay       AK         99759
  Natoshia Burdick                                                                        Address Redacted
  Natrona County International Airport                                                    8500 Airport Parkway                                      Casper          WY         82604
  Nav Canada                                                                              77 Metcalfe St.                                           Ottawa          ON         K1P 5L6      Canada
  Navblue Inc                                                                             295 Hagey Blvd Ste 200                                    Waterloo        ON         N2L 6T5      Canada
  Nc Machinery                                                                            PO Box 58201                                              Tukwila         WA         98138-1201
  Nebraska Child Support Payment Center                                                   PO Box 82890                                              Lincoln         NE         68501-2890
  Nedaero Components B.V.                                                                 Hengelder 22                                              Zevenaar                   6902PA       Netherlands
  Nei Fluid Technology                                                                    3408 Arctic Blvd                                          Anchorage       AK         99503
  Neil Lagstrom                                                                           Address Redacted
  Neill Toelle                                                                            Address Redacted
  Nemaia Poamo                                                                            Address Redacted
  Nestor Martinez                                                                         Address Redacted
  Nettie Allen                                                                            Address Redacted
  Nettie Tabor                                                                            Address Redacted
  Nettie Tabor Rent                                                                       PO Box 853                                                Kotzebue        AK         99752
  Networkfleet, Inc                                                                       PO Box 975544                                             Dallas          TX         75397-5544
  Neurological Consults Of Alaska                                                         2741 Debarr Road                                          Anchorage       AK         99508
  New England Specialty Components                                                        1 Center Street                                           Windsor Locks   CT         06096
  New Hampshire Insurance Company                   Attn: Legal Dept.                     175 Water Street                       18Th Floor         New York        NY         10038
  New Hampshire Insurance Company                                                         21 South Fruite Street                 Suite 14           Concord         NH         03301
  New Orleans Aviation Board                                                              Director Of Aviation                                      New Orleans     LA         70401
  Newark Element14/Cadsoft                                                                33190 Collection Center Dr                                Chicago         IL         60693-0331
  Newcal Aviation Inc                                                                     14 Riser Road                                             Little Ferry    NJ         07643
  Newcastle Aviation Partners, LLC                                                        16381 Domestic Avenue                                     Fort Meyers     FL         33912
  Newport News/Williamsburg International Airport                                         Peninsula Airport Commision                               Newport News    VA         23602
  Ngedikes Arurang                                                                        Address Redacted
  Nheliza Arquero                                                                         Address Redacted
  Niacc-Avitech Technologies                        Attn: Trini Cadena                    245 W. Dakota Avenue                                      Clovis          CA         93612-5608

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                                 Name                                        Attention                             Address 1                       Address 2             City      State       Zip         Country
  Niacc-Avitech Technologies                                                                     245 W. Dakota Avenue                                          Clovis             CA       93612-5608
  Niagra Frontier Transportation Authority                                                       Greater Buffalo International                                 Buffalo            NY       14203
  Nicholas Beesley                                                                               Address Redacted
  Nicholas Daniels                                                                               Address Redacted
  Nicholas Hajdukovich                                                                           Address Redacted
  Nicholas Josten                                                                                Address Redacted
  Nicholas Long                                                                                  Address Redacted
  Nicholas Martin                                                                                Address Redacted
  Nicholas Mercer                                                                                Address Redacted
  Nicholas Wiederholt                                                                            Address Redacted
  Nicholas Williamson                                                                            Address Redacted
  Nicholas Williamson                                                                            Address Redacted
  Nicholas Wilson                                                                                Address Redacted
  Nicholi Ukatish Gahimer                                                                        Address Redacted
  Nick Sabatini & Associates, LLC                                                                2854 Bellarosa Circle                                         Royal Palm Beach   FL       33411
  Nickolas Jensen                                                                                Address Redacted
  Nickole Pratt                                                                                  Address Redacted
  Nickson Prestosa                                                                               Address Redacted
  Nicole Chang                                                                                   Address Redacted
  Nicole Mccallister                                                                             Address Redacted
  Nicole Peterson                                                                                Address Redacted
  Nikita Malele                                                                                  Address Redacted
  Nikki Creeger                                                                                  Address Redacted
  Nikki Nick                                                                                     Address Redacted
  Nineteen Hundred Aviation Ltd                                                                  96 Connaught Road                                             Fleet                       GU51 3LP     United Kingdom
  Nineteen Hundred Aviation Ltd.                                                                 96 Connaught Road                                             Fleet                       GU51 3LP     United Kingdom
  Nino Manalo                                                                                    Address Redacted
  Nissin, Cara                                                                                   Address Redacted
  Noction, Inc.                                                                                  1294 Lawrence Station Rd                                      Sunnyvale          CA       94089
  Noel Villamil                                                                                  10 Confucius Plaza                                            New York           NY       10002
  Nome Joint Utility Systems                                                                     PO Box 70                                                     Nome               AK       99762
  Nome Public Schools                                                                            PO Box 131                                                    Nome               AK       99762
  Nome Toyo Tech Center                                                                          PO Box 1401                                                   Nome               AK       99762
  Norcal Services                                                                                PO Box 221582                                                 Anchorage          AK       99522
  Norfolk Airport Authority - Norfolk International Airport                                      2200 Norview Avenue                                           Norfolk            VA       23518-5897
  Norgasco, Inc                                                                                  4341 B Street, Suite 306                                      Anchorage          AK       99503
  Nortech, Inc.                                                                                  2400 College Rd                                               Fairbanks          AK       99709
  North Bay Jack Garland Airport                                                                 North Bay Airport                                             North Bay          ON       P1B 8G2      Canada
  North Coast Electric Company                                                                   2405 Van Horn Road                                            Fairbanks          AK       99701-7209
  North Pacific Fuel                                                                             3833 Rezanof                                                  Kodiak             AK       99615
  North Peace Airport Services Ltd                                                               Fort St John Airport                                          Fort St John       BC       V1J 4H9      Canada
  North Pole Coffee Roasting, Inc.                                                               1502 Minnie St                                                Faribanks          AK       99701
  North Slope Borough                                                                            213 Qasigiahq St                                              Point Lay          AK       99759
  North Slope Borough                                                                            PO Box 35146                                                  Seattle            WA       99812-4514
  North Slope Borough - Sa10                                                                     North Slope #190976                                           Seattle            WA       998124-514
  North Slope Borough Public Works                                                               PO Box 69                                                     Barrow             AK       99723
  North Slope Borough School Districtt                                                           PO Box 69                                                     Barrow             AK       99723-0069
  North Slope Borough Utilities                                                                  PO Box 790                                                    Barrow             AK       99723
  North Star Aviation Services, Inc                                                              2561 S. Underwood                                             Kennewick          WA       99337
  Northern Air Cargo                                          Attn: Colin Dolan                  3900 Old International Airport Road                           Anchorage          AK       99502
  Northern Air Cargo                                                                             3900 Old International Airport Road                           Anchorage          AK       99502
  Northern Air Cargo Inc.                                                                        3900 Old International Airport Road                           Anchorage          AK       99502-1097
  Northern Alaska Aviation Symposium, Inc.                                                       PO Box 70475                                                  Fairbanks          AK       99707
  Northern Equipment Co.                                                                         3831 Patricia Lane                                            Anchorage          AK       99504
  Northern Lights Avionics, Inc.                                                                 940 Merrill Field Drive                                       Anchorage          AK       99501-8344
  Northern Lights B&B                                                                            10 E East Street                                              Dillingham         AK       99576
  Northern Lights Cleaning Services                                                              8343 Eleusis Dr.                                              Anchorage          AK       99502
  Northern Lights Water Products, Inc.                                                           PO Box 607                                                    Bethel             AK       99559
  Northern Office Supply                                                                         8160 GreeNWood Street                                         Anchorage          AK       99518-3318
  Northern Oilfield Solutions, LLC                                                               420 L Street                                                  Anchorage          AK       99501
  Northern Property Service LLC                                                                  4500 Autumn Lane                                              Wasilla            AK       99623

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                                Name                               Attention                         Address 1                     Address 2             City     State       Zip         Country
  Northern Rockies Regional Municipality                                             Bag Service 399                                           Fort Nelson      BC        VOC 1R0      Canada
  Northern Waste, LLC                                                                1237 E. 66Th Ave.                                         Anchorage        AK        99518
  Northland Aviation Services                                                        3708 University Ave. S.                                   Fairbanks        AK        99709
  Northwest Arkansas Regional Airport                                                Alice Walton Terminal Bldg                                Bentonville      AR        72712
  Northwest Fisheries Association                                                    6523 Californai Avenue Sw #314                            Seattle          WA        98136
  Northwest Florida Beaches International Airport                                    6300 West Bay Parkway Box A                               Panama City      FL        32409
  Northwest Florida Regional Airport                                                 1701 State Road 85 North                                  Eglin Afb        FL        32542
  Northwest Handling Systems Inc.                                                    PO Box 749861                                             Los Angeles      CA        90074-9861
  Northwest Propeller Service, Inc.                                                  16607 103Rd Ave. Ct. E                                    Puyallup         WA        98374
  Northwind Floral & Gifts                                                           Box 3750                                                  Valdez           AK        99686
  Nrc Alaska, LLC                                                                    PO Box 740027                                             Los Angeles      CA        90074-0027
  Nsbsd                                                                              Box 20                                                    Kaktovik         AK        99747
  Nsbsd-Infotech                                                                     Box 455                                                   Barrow           AK        99723
  Nuiqsut Utility Cooperative                                                        PO Box 89328                                              Nuiqsut          AK        99789
  Nullagvik Hotel                                                                    PO Box 336                                                Kotzebue         AK        99752
  Nunamiut Corporation                                                               1038 Summer Street                                        Anaktuvuk Pass   AK        99721
  Nuniwarmiut School                                                                 Box 49                                                    Mekoryuk         AK        99630
  Nushagak Electric & Telephone Corp., Inc.                                          PO Box 350                                                Dillingham       AK        99576
  Nutthapone Kositruangchai                                                          Address Redacted
  O'Brien Construction                                                               345 Sw 35Th                                               Redmond          OR        97756
  Occupational Health Services                                                       52 Crest Ave Ste 7A                                       Winthrop         MA        02152
  Ocean Peace, Inc.                                                                  4201 21St Avenue W                                        Seattle          WA        98199
  Odell, Molly                                                                       Address Redacted
  Office Depot Inc                                                                   PO Box 29248                                              Phoenix          AZ        85038-9248
  Oh, Tracey                                                                         Address Redacted
                                                                                     City Of Chichago Enterprise Accounting
  O'Hare International Airport                                                       Division                                                  Chicago          IL        60602
  Olga Guillory                                                                      Address Redacted
  Olga Tyson                                                                         Address Redacted
  Olgoonik Construction Services                                                     3201 C Street                                             Anchorage        AK        99503
  Oliver Tofilau                                                                     Address Redacted
  Oliver Wyman                                                                       Address Redacted
  Olivery Wyman, Inc./ Cavok                        Attn: Steven Harp (Director)     PO Box 3800-28                                            Boston           MA        2241
  Oltman, Erin                                                                       Address Redacted
  Olympus Ind. America                                                               Dept 3595 PO Box 123595                                   Dallas           TX        75312-3595
  Omaha Airport Authority                                                            4501 Abbott Drive, Suite 2300                             Omaha            NE        66110
  Omar J. Pereira                                                                    Address Redacted
  Omni Logistics Inc.                                                                PO Box 61103                                              Fairbanks        AK        99706-1103
  On Time Sports                                                                     6702 W. Fairview Ave                                      Boise            ID        83704
  Oneahi Talaiasi                                                                    Address Redacted
  Oneahi Talaiasi                                                                    Address Redacted
  Onessia Bahr                                                                       Address Redacted
  Op Holdings                                                                        5501 E. 142Nd Ave.                                        Anchorage        AK        99516
  Open Doors Organization                                                            8600 W Catalpa Ave, Suite 709                             Chicago          IL        60656
  Opti Staffing Group                                                                PO Box 94301                                              Seattle          WA        98124-6601
  O'Raun Anderson                                                                    Address Redacted
  Oregon Department Of Justice                                                       PO Box 14506                                              Salem            OR        97309-0420
  Oregon Department Of Revenue                                                       PO Box 14725                                              Salem            OR        97309-5018
  Oregon Employment Department                                                       875 Union St. Ne                                          Salem            OR        97311
  O'Reilly Auto Parts                                                                PO Box 9464                                               Springfield      MO        65801-9464
  Orrin Aloralrea                                                                    Address Redacted
  Osberg Alan                                                                        Address Redacted
  Oscar Usugan                                                                       Address Redacted
  Otiz Elevator                                                                      619 E Ship Creek #301                                     Anchorage        AK        99501
  Otto Instrument Service Inc.                                                       1441 Valencia Place                                       Ontario          CA        91761-7639
  Otz Telephone Cooperative, Inc.                                                    PO Box 324                                                Kotzebue         AK        99752
  Overhead Door Company Of Fairbanks                                                 720 College Road                                          Fairbanks        AK        99701
  Owen Butcher                                                                       Address Redacted
  Owens, Beatriz                                                                     Address Redacted
  Oxford, Mariah                                                                     Address Redacted
  Ozzie Snell                                                                        Address Redacted

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                                 Name                           Attention                            Address 1                             Address 2            City       State       Zip      Country
  Pacific Alaska Wholesale                                                          550 W.64Th. Ave #220                                               Anchorage         AK        99518
  Pacific Oil Cooler Service, Inc.                                                  1677 Curtiss Court                                                 La Verne          CA        91750-5848
  Pacific Scientific Company                                                        11700 Northwest 102Nd Road                                         Miami             FL        33178
  Pacific Southwest Instruments                                                     1721 Railroad Street                                               Corona            CA        92880
  Paige Kremer                                                                      Address Redacted
  Palasi Taauta                                                                     Address Redacted
  Pamela Speer                                                                      Address Redacted
  Pan Am Intl Flight Academy                                                        PO Box 660920                                                      Miama             FL        3266-0920
  Pan American Tool Corporation                                                     5990 N W 31St Avenue                                               Fort Lauderdale   FL        33309-2208
  Panasonic Avionics Corporation                                                    PO Box 894503                                                      Los Angeles       CA        90189-4503
  Panco, Inc.                                                                       7362 W. Parks Hwy #666                                             Wasilla           AK        99623
  Panipchuk Louisa                                                                  Address Redacted
  Paniptchuk, Teri                                                                  Address Redacted
  Paragon Properties, Inc.                                                          240 E. Tudor Road                           Ste. 210               Anchorage         AK        99502
  Patluska Andrew                                                                   Address Redacted
  Patluska Enoch                                                                    Address Redacted
  Patricia Buholm                                                                   Address Redacted
  Patrick Horst                                                                     Address Redacted
  Patrick Hume                                                                      Address Redacted
  Patrick Mims                                                                      Address Redacted
  Patrick Shourds                                                                   Address Redacted
  Patrick Stenberg                                                                  Address Redacted
  Paul Bolander                                                                     Address Redacted
  Paul Comchoc                                                                      Address Redacted
  Paul Dock                                                                         Address Redacted
  Paul Draper                                                                       Address Redacted
  Paul E Wells                                                                      Address Redacted
  Paul Frost                                                                        Address Redacted
  Paul Guzman                                                                       Address Redacted
  Paul Jaworski                                                                     Address Redacted
  Paul Jonathan L'Heureux                                                           7825 Glenn Hwy                                                     Palmer            AK        99645
  Paul Kaganak                                                                      Address Redacted
  Paul Smith                                                                        Address Redacted
  Paul Thiesen                                                                      Address Redacted
  Paul Wells                                                                        Address Redacted
  Paula Blois                                                                       Address Redacted
  Pc Connection Sales Corporation                                                   PO Box 536472                                                      Pittsburgh        PA        15253-5906
  Pcm Sales, Inc.                                                                   File 55327                                                         Los Angeles       CA        90074-5327
  Peace On Earth                                                                    PO Box 107                                                         Unalakleet        AK        99684-0107
  Peak1 Administration LLC                                                          608 Northwest Boulevard, Suite 200                                 Coeur D'Alene     ID        83814
  Pearl Maureen Arrogante                                                           Address Redacted
  Pegasus Aviation Services, LLC                  Attn: Arsim Lena                  3901 Old International Airport Road                                Anchorage         AK        99502
  Pegasus Aviation Services, LLC                                                    3901 Old International Airport Road                                Anchorage         AK        99502
  Peggy Swisher                                                                     Address Redacted
  Penair                                                                            6100 Boeing Ave                                                    Anchorage         AK        99502
  Penair Realty Holdings                                                            6100 Boeing Avenue                                                 Anchorage         AK        99502
  Penair Realty Holdings, LLC                                                       PO Box 221483                                                      Anchorage         AK        99522
  Penelope Brookshire                                                               Address Redacted
  Peninsula Airways, Inc. D/B/A Penair                                              6100 Boeing Avenue                                                 Anchorage         AK        99502
  Pennsylvania Department Of Labor And Industry                                     651 Boas St.                                                       Harrisburg        PA        17102
  Pensacola Regional Airport                                                        Frank Miller Airport Director                                      Pensacola         FL        32504
  Pepetua Havea                                                                     Address Redacted
  Peppercini'S Deli House                                                           239 E 26Th Ave                                                     Anchorage         AK        99503
  Pepsi Beverages Company                                                           521 E. 104Th Avenue                                                Anchorage         AK        99515
  Percy Nakarak                                                                     Address Redacted
  Performant Recovery, Inc.                                                         PO Box 9048                                                        Pleasanton        CA        94566-9048
  Perkins Coie                                                                      1201 Third Avenue, 49Th Floor                                      Seattle           WA        98101-3099
  Perman Stoler Chb Inc.                                                            PO Box 190066                                                      Anchorage         AK        99519-0066
  Perman Stoler Cus Ho Broker                                                       PO Box 190066                                                      Anchorage         AK        99519-0066
  Perrone Aerospace                                                                 182 Riverside Dr                                                   Fultonville       NY        12072-1750
  Personnel Plus Employment Agency Inc                                              1500 W 33Rd Ave.#220                                               Anchorage         AK        99503

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                                 Name                                      Attention                            Address 1                        Address 2            City    State       Zip         Country
  Petelo Iulio                                                                                 Address Redacted
  Peter Aliralria                                                                              Address Redacted
  Peter Green                                                                                  Address Redacted
  Peter J. Caruso Iv                                                                           Address Redacted
  Peter June Henoquin                                                                          Address Redacted
  Peter Marmeto                                                                                Address Redacted
  Peter Stalker-Norton                                                                         Address Redacted
  Peter Tinker                                                                                 Address Redacted
  Peter Wassillie                                                                              Address Redacted
  Peterson, Sassa                                                                              Address Redacted
  Petro Marine Services, Petro Express, Alaska Oil Sales                                       Dba Petro Marine Services                                     Seward          AK       99664
  Petro Star Inc/Kodiak Oil Sales                                                              3900 C Street                                                 Anchorage       AK       99503
  Petro Star, Inc.                                         Attn: Mark John                     3900 C Street                              Suite 802          Anchorage       AK       99503
  Petro Star, Inc-Wires                                                                        3900 C Street, Suite 802                                      Anchorage       AK       99503
  Petty Cash                                                                                   Anc Hdq                                                       Anchorage       AK       99502
  Pfc-Ted Stevens Anchorage Int'L Airport                                                      Accounting Section                                            Anchorage       AK       99519-6960
  Phatcharin Apaipak                                                                           Address Redacted
  Philip G. Wegescheide                                                                        Address Redacted
  Philip J Lundeen                                                                             Address Redacted
  Philip Johnston                                                                              Address Redacted
  Philip Larson                                                                                Address Redacted
  Phillip K Peter Sr.                                                                          Address Redacted
  Phillip Samson                                                                               Address Redacted
  Phillips Scales, LLC                                                                         1119 East 70Th Ave                                            Anchorage       AK       99518
  Phoenix Aerospace Inc                                                                        PO Box 8744                                                   Kansas City     MO       64114
  Phuongkonth Bunyi                                                                            Address Redacted
  Piedmont Propulsion Systems, LLC                                                             4400 Lansing Drive                                            Winston-Salem   NC       27105
  Piedmont Triad Intl . Airport                                                                1000-A Ted Johnson Pkwy                                       Greensboro      NC       27409
  Pike'S Waterfront Lodge                                                                      1850 Hoselton Rd                                              Fairbanks       AK       99709
  Pillsbury Winthrop Shaw Pittman Llp                                                          PO Box 742262                                                 Los Angeles     CA       90074-2262
  Pioneer Credit Recovery, Inc                                                                 PO Box 92                                                     Arcade          NY       14009
  Pioneer Door Inc                                                                             6514 GreeNWood                                                Anchorage       AK       99518
  Pip Printing                                                                                 833 E. 4Th Avenue                                             Anchorage       AK       99501
  Pitney Bowes/Purchase Power                                                                  PO Box 371874                                                 Pittsburgh      PA       15250-7874
  Pitts, Dan                                                                                   Address Redacted
  Pittsburgh International Airport                                                             Allegheny County Airport Authority                            Pittsburgh      PA       15321
  Pk Electric, LLC                                                                             PO Box 7                                                      Nome            AK       99762
  Planitas Airline Systems                                                                     Plaza 256 Suite 2                                             Dublin 15                             Ireland
  Pmc Engineering, LLC.                                                                        11 Old Sugar Hollow Rd.                                       Danbury         CT       06810
  Polar Refrigeration & Restaurant Equip. Inc.                                                 557 E Fireweed Lane, Suite D                                  Anchorage       AK       99503
  Polar Supply Company                                                                         2134 Texaco Avenue                                            Fairbanks       AK       99701
  Polar Wire Products, Inc.                                                                    7941 Brayton Drive                                            Anchorage       AK       99507
  Pollen Environmental, LLC                                                                    3536 International Street                                     Fairbanks       AK       99701
  Popuatoholo Tonga                                                                            Address Redacted
  Port Authority Of Ny And Nj                                                                  Port Authority Of Ny & Nj                                     Philadelphia    PA       19195-1556
  Port Of Oakland                                                                              Oakland International Airport                                 Oakland         CA       94607
  Port Of Portland (Pdx)                                                                       Portland International Airport                                Portland        OR       97208
  Port Of Seattle                                                                              Seattle/Tacoma Intl Airport                                   Seattle         WA       98124-1249
  Posdata Group, Inc                                                                           Dept Ch 17886                                                 Palatine        IL       60055-7886
  Power And Transmission Inc.                                                                  711 Van Horn Rd.                                              Fairbanks       AK       99701-7543
  Powertec Electric, LLC                                                                       PO Box 670543                                                 Chugiak         AK       99567
  Ppg Industries, Inc                                                                          1719 Us Hwy 72 East                                           Huntsville      AL       35811
  Pratt & Whitney Canada Corp                                                                  1000 Marie-Victorin                                           Longueuil       QC       J4G 1A1      Canada
  Pratt & Whitney Canada Corp                                                                  1000 Marie-Victorin,                                          Longueuil       QC       J4G 1A1      Canada
  Pratt & Whitney Canada Leasing                           Attn: Baljeet Gill                  1000 Boul. Marie-Victorin                                     Longueuil       Quebec   J4G 1A1      Canada
  Pratt & Whitney Component Solution Inc.                                                      21980 Network Place                                           Chicago         IL       60673-1219
  Pratt And Whitney Engine Servcies Inc                                                        PO Box 360727                                                 Pittsburgh      PA       15251-6727
  Pratt Aviation Services, Inc.                                                                1557 Sunrise Drive                                            Anchorage       AK       99508
  Precast Concrete Co.                                                                         1040 O'Malley Road                                            Anchorage       AK       99515
  Precise Flight Incorporated                                                                  PO Box 7168                                                   Bend            OR       97708-7168
  Precision Accessories & Instruments Canada                                                   PO Box 99256, Stn Terminal                                    Vancouver       BC       V6B 0N5      Canada

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                                  Name                    Attention                            Address 1                  Address 2           City        State       Zip       Country
  Precision Airparts Support Svcs, Inc                                        10555 Stanford St                                       Garden Grove       CA       92640
  Precision Flight Controls, Inc.                                             2747 Mercantile Drive                                   Rancho Cordova     CA       95742
  Prehn, Bruce                                                                Address Redacted
  Premera Blue Cross                       Attn: Legal Dept.                  PO Box 327                                              Seattle            WA       98111-03247
  Premier Aviation Overhaul Center Inc.                                       3750, Ch. De L'Aeroport                                 Quebec             QC       G9A 5E1     Canada
  Premier Janitorial Services, LLC                                            1030 S Serrano Drive                                    Wasilla            AK       99654
  Priceless Alaska                                                            PO Box 220114                                           Anchorage          AK       99502
  Print Works                                                                 829 Smoky Bay Way                                       Homer              AK       99603
  Pro West Leasing, LLC                                                       PO Box 870129                                           Wasilla            AK       99687
  Procomm Alaska LLC                                                          2100 E 63Rd Ave                                         Anchorage          AK       99507
  Professional Aviation Associates, Inc.                                      105 Southfield Pkwy                                     Forest Park        GA       30297
  Professional Benefit Srv Inc                                                1193 Royvonne Ave Se #22                                Salem              OR       97302
  Professional Benifits Services, Inc.                                        1193 Royvonne Ave. Se #22                               Salem              OR       97302
  Prokepeuff, Lawrence                                                        Address Redacted
  Prokopeuff, Millie                                                          Address Redacted
  Propane Guys                                                                205 E Dimond Blvd                                       Anchorage          AK       99515
  Proponent                                                                   PO Box 841349                                           Los Angeles        CA       90084-1349
  Providence Alaska Health System                                             PO Box 389673                                           Seattle            WA       98138-9673
  Puffin Inn Of Anchorage                                                     4400 Spenard Rd                                         Anchorage          AK       99517
  Q & C Installations                                                         511 Lane Street                                         Anchorage          AK       99508
  Qbe Specialty Insurance Company          Attn: Legal Dept.                  One Qbe Way                                             Sun Prairie        WI       53596
  Qbe Specialty Insurance Company                                             One Qbe Way                                             Sun Prairie        WI       53593
  Quake Kare, Inc.                                                            PO Box 870507                                           Kansas City        MO       64187-0507
  Quality Auto Parts                                                          PO Box 1269                                             Nome               AK       99762
  Quality Inn-Kenai                                                           10352 Kenair Spur Highway                               Kenai              AK       99611
  Quality Resources LLC                                                       355 Richmond Road                                       Richmond Heights   OH       44143
  Quality Sales Food Service                                                  1900 Phillips Field Road                                Fairbanks          AK       99701
  R. Crabtree, Apc                                                            3330 Arctic Blvd, Suite 201                             Anchorage          AK       99503
  Rabbit Creek Kennel                                                         3255 E 150Th Ave                                        Anchorage          AK       99516
  Rachel Andersen                                                             Address Redacted
  Rachelle Brown                                                              Address Redacted
  Rachelle Persson                                                            Address Redacted
  Rae Romberg                                                                 Address Redacted
  Ramsey & Sons Trucking/Laura Ramsey                                         7560 Upper O'Malley Road                                Anchorage          AK       99507
  Ramzey Olson                                                                Address Redacted
  Randash Excavating                                                          7015 N. Nightfall St.                                   Wasilla            AK       99623
  Randi Hames                                                                 Address Redacted
  Randi Schroeder                                                             Address Redacted
  Randy Oxereok                                                               Address Redacted
  Ranney, Jacob                                                               Address Redacted
  Ranney, Steve                                                               Address Redacted
  Raphael Bares                                                               Address Redacted
  Rapid City Regional Airoirt                                                 Airport Operations Officer                              Rapid City         SD       57703-8706
  Rapid Recovery                                                              4100 Lake Otis Pkwy                                     Anchorage          AK       99508
  Rashaad R Joseph                                                            Address Redacted
  Rasmus, Bryan                                                               Address Redacted
  Raven Electric Inc.                                                         8015 Schoon Street                                      Anchorage          AK       99518
  Ravenous Enterprises, LLC                                                   PO Box 2425                                             Bethel             AK       99559
  Raylene Demantle                                                            Address Redacted
  Raymond Barrington                                                          Address Redacted
  Raymond Evarts                                                              Address Redacted
  Raymond Gil                                                                 Address Redacted
  Raymond Gil                                                                 Address Redacted
  Raymond Stone                                                               Address Redacted
  Razel Nono                                                                  Address Redacted
  Rdu Airport Authority - Raleigh, Nc                                         Passenger Facility Charge                               Charlotte          NC       28263-3167
  Ready Refresh By Nestle                                                     PO Box 856192                                           Louisville         KY       40285-6192
  Reall Deal Roofing Construction, LLC                                        950 Clear Street                                        North Pole         AK       99705
  Rebecca Sampson                                                             Address Redacted
  Rebecca Tikiun                                                              Address Redacted
  Rebecca Wilmarth                                                            Address Redacted

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                                                                       Creditor Matrix


                               Name              Attention                       Address 1                         Address 2                 City       State       Zip         Country
  Recycling Solutions Of Alaska                                   PO Box 110015                                                     Anchorage          AK       99516
  Red Heart Services                                              11334 Upper Sunny Cir                                             Eagle River        AK       99577
  Reddeen Marine Supply Inc./Kachemak Gear                        3625 East End Road                                                Homer              AK       99603
  Redentor David                                                  Address Redacted
  Redline Taxi                                                    PO Box 31                                                         Naknek             AK       99633
  Reed Business Information, Inc                                  522 Sw Fifth Ave.                                                 Portland           OR       97204
  Regency Fairbanks Hotel                                         95 Tenth Avenue                                                   Fairbanks          AK       99701
  Regina Bellereide                                               Address Redacted
  Reginald Foster                                                 Address Redacted
  Regional Airline Support Group                                  3550 NW 126Th Ave                                                 Coral Springs      FL       33065
  Regional Avionics Repair LLC                                    72230 Woburn Ct                                                   Thousand Palms     CA       92276
  Regional One, Inc.                                              Cl 600085                                                         West Palm Beach    FL       33416
  Reluctant Fisherman                                             PO Box 150                                                        Cordova            AK       99574
  Ren Huschle                                                     Address Redacted
  Rena Paukan                                                     Address Redacted
  Rene Perez & Associates, Inc.                                   11200 Sw 71St Avenue                                              Miami              FL       33456-4606
  Rent A Can                                                      11119 Mausel Street                                               Eagle River        AK       99577
  Republic/Aurora Parking                                         6475 Airport Way                                                  Fairbanks          AK       99709
  Rescare Alaska                                                  1400 W Benson Blvd.                                               Anchorage          AK       99503
  Reshelle Alexie                                                 Address Redacted
  Residence Inn By Marriott                                       1025 E 35Th Avenue                                                Anchorage          AK       99508
  Residence Inn Marriott                                          800 E Dimond Blvd                                                 Anchorage          AK       99515
  Residence Inn Orlando Airport                                   7024 Augusta Bational Dr.                                         Orlando            FL       32822
  Resolve Marine Group                                            1510 Se 17Th St.                                                  Fort Lauderdale    FL       33316
  Resource Development Council For Alaska, Inc                    121 West Fireweed Lane, Suite 250                                 Anchorage          AK       99503
  Restoration Science & Engineering, LLC                          911 West 8Th Ave, Suite 100                                       Anchorage          AK       99501
  Revenue Management Systems Inc                                  2003 Western Ave, Ste 700                                         Seattle            WA       98121
                                                                                                            1 Avenue Du Latham 47
  Revima Repair & Overhaul                                        Rives-En-Seine                            Bp1                     Caudebec-En-Caux            76490        France
  Rey Robancho                                                    Address Redacted
  Rhino Enterprises/Rhino Tire                                    PO Box 2966                                                       Kodiak             AK       99615
  Rhonda Yaska                                                    Address Redacted
  Rhynard, Andrew                                                 Address Redacted
  Richard Busch                                                   Address Redacted
  Richard Cogswell                                                Address Redacted
  Richard E Harding                                               Address Redacted
  Richard Harding                                                 Address Redacted
  Richard Mccready                                                Address Redacted
  Richard Olmsted                                                 Address Redacted
  Richard Sueltenfuss                                             Address Redacted
  Richard Utech                                                   Address Redacted
  Richardson Electronics                                          5169 Eagle Way                                                    Chicago            IL       60678-1051
  Richmond & Quinn                                                360 "K" Street                                                    Anchorage          AK       99501
  Rikki Mckay                                                     Address Redacted
  Riley Amber                                                     Address Redacted
  Rim D.B.A. Alaska Archives Inc                                  1300 West 56Th Ave #14                                            Anchorage          AK       99518
  Rim Enterprises, LLC                                            1050 Lyons Lane                                                   Marion             IA       52302
  Rina San                                                        Address Redacted
  Ringhouse, Frankie                                              Address Redacted
  Rmr Parts LLC                                                   PO Box 1355, 4598 Transit St                                      Barrow             AK       99723
  Robair Repair, LLC                                              6381 N.W. Aileron Ct.                                             Silverdale         WA       98383
  Robert Allain                                                   Address Redacted
  Robert Anthony                                                  Address Redacted
  Robert Armstrong                                                Address Redacted
  Robert Carter                                                   Address Redacted
  Robert Corriveau                                                Address Redacted
  Robert Dickson                                                  Address Redacted
  Robert Dicus                                                    Address Redacted
  Robert E. Swallow & Associates LLC                              Business Diagnostic Services                                      Spring             TX       77389
  Robert Farrell                                                  Address Redacted
  Robert Gold                                                     Address Redacted

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                                                                 Creditor Matrix


                               Name        Attention                        Address 1                    Address 2               City    State       Zip        Country
  Robert Lea                                                Address Redacted
  Robert Lee Gibson                                         Address Redacted
  Robert Lord                                               Address Redacted
  Robert M Hajdukovich                                      Address Redacted
  Robert Morgan                                             Address Redacted
  Robert Nick                                               Address Redacted
  Robert S Torrey                                           Address Redacted
  Robert Sampson                                            Address Redacted
  Robert Stenehjem                                          Address Redacted
  Robert Webb                                               Address Redacted
  Robert Winkelman                                          Address Redacted
  Roberta Lowe                                              Address Redacted
  Roberta Swenson                                           Address Redacted
  Roberts, Julie                                            Address Redacted
  Rochelle Mungwaath                                        Address Redacted
  Rocio Gonzalez                                            Address Redacted
  Rockwell Collins Inc                                      Rockwell Collins Inc                                        Boston          MA       02241-9547
  Rockwell, Aidan                                           Address Redacted
  Rockwell, Michaela                                        Address Redacted
  Rockwell, Nicole                                          Address Redacted
  Roderick Jackson                                          Address Redacted
  Rodolfo Nobleza                                           Address Redacted
  Rogelio Sabangan Jr.                                      Address Redacted
  Roger Allen                                               Address Redacted
  Roger Swanstrom Jr.                                       Address Redacted
  Rolls-Royce Corporation                                   25306 Network Place                                         Chicago         IL       60673-1253
  Rolls-Royce Corporation                                   450 South Meridian St.                Mail Code: Mc-Nb-03   Indianapolis    IN       46225-1103
  Roman Lott                                                Address Redacted
  Ronald Berntsen                                           Address Redacted
  Ronald Ceralde                                            Address Redacted
  Ronald Hoecher                                            Address Redacted
  Ronald Robert                                             Address Redacted
  Ronald Strode                                             Address Redacted
  Ronald Underwood                                          Address Redacted
  Rosalie Kelly                                             Address Redacted
  Rosalie Morgan                                            Address Redacted
  Rosaline Ward                                             Address Redacted
  Rosa'S Cleaning Service                                   PO Box 71632                                                Fairbanks       AK       99707
  Rosauro Alas                                              Address Redacted
  Rose Henderson                                            Address Redacted
  Rose Williams                                             Address Redacted
  Roseanne Afoa                                             Address Redacted
  Rosen Sunvisor Systems LLC                                86365 College View Road                                     Eugene          OR       97405
  Ross Aviation/ Anc Ak Holdings                            6160 Carl Brady Dr                                          Anchorage       AK       99502
  Ross Industries/ Sean P Wilson                            PO Box 7394                                                 Nikiski         AK       99635
  Ross Myers                                                Address Redacted
  Rotorcraft Enterprises                                    PO Box 3068                                                 Wickenburg      AZ       85358
  Rowena Calamba                                            Address Redacted
  Roy Hodge                                                 Address Redacted
  Royal Business Systems                                    200 W. 34Th Ave #747                                        Anchorage       AK       99503
  Rpc Aviation, Inc.                                        176 Des Pins                                                J7V 8S4                               Canada
  Rpm Automotive                                            1112 Madsen Ave.                                            Kodiak          AK       99615
  Rpx Technologies, Inc                                     601 S. Washington No 191                                    Stillwater      OK       74074
  Rr Aviation Services, LLC                                 3208 N. Corvington St.                                      Wichita         KS       62705-7512
  Rsd-Refrigeration Supplies Distributor                    520 W. 41St Ave, Unit A                                     Anchorage       AK       99503
  Ruben Dagun                                               Address Redacted
  Ruby Marine Inc.                                          PO Box 269                                                  Nenana          AK       99760
  Ruby Tribal Council                                       PO Box 210                                                  Ruby            AK       99768
  Rudy Ramirez                                              Address Redacted
  Ruel Nono                                                 Address Redacted
  Ruiz Juanito                                              Address Redacted

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                                                                                    Creditor Matrix


                              Name                           Attention                          Address 1                   Address 2            City     State       Zip        Country
  Rural Service Solutions                                                      PO Box 2221                                              Bethel           AK       99559
  Russell K Colegrove                                                          Address Redacted
  Rusts Flying Service                                                         PO Box 190867                                            Anchorage        AK       99519
  Ruth Jackson                                                                 Address Redacted
  Rwc International LLC                                                        600 N. 75Th Ave.                                         Phoenix          AZ       85043
  Ryan Air, Inc                                                                6400 Carl Brady Drive                                    Anchorage        AK       99502
  Ryan Deroberts                                                               Address Redacted
  Ryan Diehl                                                                   Address Redacted
  Ryan Dillon                                                                  Address Redacted
  Ryan Huerta                                                                  Address Redacted
  Ryan P Gambucci                                                              Address Redacted
  Ryan R Dillon                                                                Address Redacted
  Rylee Patrick                                                                Address Redacted
  S&P Global, Inc.                                                             2 Penn Plaza, 25Th Fl                                    New York         NY       10121
  Saab Defense & Security Usa                                                  20700 Loudoun County Prkwy                               Ashburn          VA       20147
  Saab Defense And Security Usa, LLC            Attn: Jacqueline Newcomb       20700 Loudoun County Parkway                             Ashburn          VA       20147
  Sabre Glbl Inc.                                                              3150 Sabre Drive                                         Southlake        TX       76092
  Sacramento Metro Airport                                                     Director Of Airports                                     Sacramento       CA       95837
  Safe Flight Instrument Corp                                                  20 New King Street                                       White Plains     NY       10604
  Safeair Media. Inc.                                                          320 Andover Park E, Suite100                             Tukwila          WA       98188
  Safety Step                                                                  5304 Valley Park Drive                                   Roanoke          VA       24019
  Safety Wand Corporation                                                      339 Sandstone Trl                                        Buda             TX       78610
  Safran Landing Systems Canada                                                574 Monarch Ave                                          Ajax             ON       L1S 2G8      Canada
  Safran Landing Syster- Messier-Dowty France                                  574 Monarch Avenue                                       Ajax             ON       L1S2G8       Canada
  Saftglo Inc                                                                  6043 Northwest 167Th Street Suite A-14                   Miami            FL       33015
  Sage Mechanical, LLC                                                         PO Box 231906                                            Anchorage        AK       99523
  Sage Parts Plus Inc                                                          30 Hub Drive                                             Melville         NY       11747-3525
  Salina Kratt                                                                 Address Redacted
  Sally Phillips                                                               Address Redacted
  Salt Lake City Authority                                                     Salt Lake City Department Of Airport                     Salt Lake City   UT       84114-5550
  Salvatore Conrad                                                             Address Redacted
  Samantha Hightower                                                           Address Redacted
  Samantha Holmberg                                                            Address Redacted
  Samantha Merdian                                                             Address Redacted
  Samantha Null                                                                Address Redacted
  Samantha Olrun                                                               Address Redacted
  Samarajski, Linda                                                            Address Redacted
  Samson Electric Inc                                                          3125 N Van Horn Road                                     Fairbanks        AK       99701
  Samson Tug And Barge Co. Inc                                                 6361 1St Ave South                                       Seattle          WA       98108
  Samuel Grammer                                                               Address Redacted
  Samuel Oas                                                                   Address Redacted
  Samuel Overton                                                               Address Redacted
  Samuel Vea                                                                   Address Redacted
                                                                               The City Of San Antonio Aviation Dept
  San Antonio International                                                    Fiscal Section                                           San Antonio      TX       78216-3622
  San Diego International Airport                                              PO Box 82776                                             San Diego        CA       92138-2776
  San Francisco International Airport                                          Wallace Tang, Airport Controller                         Los Angeles      CA       90074-9753
  Sanchezmunoz, Ignacio                                                        Address Redacted
  Sancho Sunny                                                                 Address Redacted
  Sandra Aycock                                                                Address Redacted
  Sandra Nelson                                                                Address Redacted
  Sandra Toenies                                                               Address Redacted
  Santa Barbara Airport                                                        Hazel Johns, Asst. Airport Manager                       Santa Barbara    CA       93117
  Sara Oumchiche                                                               Address Redacted
  Sarah A Fraher                                                               Address Redacted
  Sarah Boots                                                                  Address Redacted
  Sarah Klebs                                                                  Address Redacted
  Sarah Smith                                                                  Address Redacted
  Sarren, Eleanor                                                              Address Redacted
  Satair Usa, Inc                                                              PO Box 74008759                                          Chicago          IL       60674
  Savannah International Airport                                               Pfc Remittance                                           Savannah         GA       31408

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                               Name                    Attention                           Address 1                        Address 2                  City    State       Zip             Country
  Saywell International - Uk                                              Aviation Cntre, Downlands Business Pk                               Worthing                 BN14 9LA        United Kingdom
  Saywell International Inc                                               3700 North 29Th Avenue Unit 101                                     Hollywood       FL       33020-1006
  Schindler Elevator Corporation                                          PO Box 93050                                                        Chicago         IL       60673-3050
  Schlumberger Technology Corp-Usa                                        6411 A Street                                                       Anchorage       AK       99518
  Schuyler Shoemaker                                                      Address Redacted
  Schwartz, Alicia                                                        Address Redacted
  Scoles, Jason                                                           Address Redacted
  Scott Smith                                                             Address Redacted
  Scruggs Automotive & Tire LLC                                           1180 Ocean Drive                                                    Homer           AK       99603
  Scuba Do                                                                2012 Mill Bay Rd.                                                   Kodiak          AK       99615
  Sdp Airline Fuel & Frgt                                                 PO Box 165                                                          Sand Point      AK       99661
  Sea Lion Corporation                                                    PO Box 87                                                           Hooper Bay      AK       99604-0087
  Sea Lion Management Group, LLC                                          3351 Arctic Blvd                                                    Anchorage       AK       99503
  Seabury Mro Solutions                                                   Weesperstraat 105-A                                                 Amsterdam                1018 VN         Netherlands
  Seagal Rafael                                                           Address Redacted
  Seal Dynamics Inc                                                       PO Box 116041                                                       Atlanta         GA       30368-6041
  Sean Brosnahan                                                          Address Redacted
  Sean Gilbert                                                            Address Redacted
  Sean Hudnall                                                            Address Redacted
  Sean Liebers                                                            Address Redacted
  Sean Shumar                                                             Address Redacted
  Sean Smith                                                              Address Redacted
  Seaplanes North, LLC                                                    3830 Aircraft Drive                                                  Anchorage      AK       99502
  Secretary of State Division            c/o Corporations Franchise Tax   PO Box 898                                                           Dover          DE               19903
  Securities & Exchange Commission       Secretary of the Treasury        100 F Street, NE                                                     Washington     DC       20549
  Securities & Exchange Commission       New York Regional Office         Attn: Regional Director Brookfield Place   200 Vesey Street, Ste 400 New York       NY       10281-1022
  Sedor Wendlandt Evans & Filippi, LLC                                    500 L Sreet, Suite 500                                               Anchorage      AK       99501
  Seekins Ford-Fairbanks                                                  1625 Seekins Ford Drive                                              Fairbanks      AK       99701
  Seini Pahulu                                                            Address Redacted
  Select Airparts                                                         PO Box 219                                                          Weyers Cave     VA       24486
  Selma Seetot                                                            Address Redacted
  Sem Products Inc                                                        1685 Overview Dr.                                                   Rock Hill       SC       29730
  Sermat International                                                    3200 NW 27Th Avenue                                                 Pompano Beach   FL       33069
  Setterholm Chad                                                         Address Redacted
  Setu Olo                                                                Address Redacted
  Shane Holmberg                                                          Address Redacted
  Shane Hunter                                                            Address Redacted
  Shane Jones                                                             Address Redacted
  Shane Mckee                                                             Address Redacted
  Shangri La Cabins                                                       Box 374                                                             Galena          AK       99741
  Shannon Thrun                                                           Address Redacted
  Shari Hinshaw                                                           Address Redacted
  Sharon Pickett                                                          Address Redacted
  Shasta Henry                                                            Address Redacted
  Shaun Poirot                                                            Address Redacted
  Shawn Franulovich                                                       Address Redacted
  Shawn Holly                                                             Address Redacted
  Shawn March                                                             Address Redacted
  Shawna Kilapsuk                                                         Address Redacted
  Sher Her                                                                Address Redacted
  Sherri Luafulu                                                          Address Redacted
  Sherwin Williams Co                                                     401 W Int'L Airport Rd 1A                                           Anchorage       AK       99518
  Sheysystem, Inc.                                                        2050 Progress Drive                                                 Hiawatha        IA       52233
  Shi International Corp.                                                 PO Box 952121                                                       Dallas          TX       75395-2121
  Shiloh Dudley                                                           Address Redacted
  Shining Sea Communications Inc                                          2626 CottoNWood St.                                                 Anchorage       AK       99508
  Shoreside Petroleum Inc.                                                6401 Lake Otis                                                      Anchorage       AK       99507
  Shred Alaska                                                            801 E. 82Nd Avenue, Suite B-1                                       Anchorage       AK       99518
  Shredway Inc.                                                           2081 Van Horn #3                                                    Fairbanks       AK       99701
  Siberlogic Inc.                                                         3100 Steelers Ave West Suite 205                                    Vaughan         ON       L4K 3R1         Canada
  Sierra Dockins                                                          Address Redacted

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                                  Name                              Attention                            Address 1                          Address 2            City     State       Zip        Country
  Sigma Tek, Inc                                                                        1001 Industrial Rd                                              Augusta         KS        67010
  Silver Gulch Brewing & Bottling Co                                                    PO Box 82125                                                    Fairbanks       AK        99708
  Simcom Training Center, Inc                                                           9550 Parksouth Ct Ste 100                                       Orlando         FL        32837
  Simeona Tuinei                                                                        Address Redacted
  Sinex Solutions                                                                       230 W Superior St. Ste 611                                      Duluth          MN        55802
  Sinka Crane Jr.                                                                       Address Redacted
  Sio Sefo                                                                              Address Redacted
  Siosaia Mahe                                                                          Address Redacted
  Sioux Falls Regional Airport                                                          2801 Jaycee Lane                                                Sioux Falls     SD        57104
  Siriphan Liwtan                                                                       Address Redacted
  Sita Information Networking Computing                                                 Attention: Accounting Department                                Atlanta         GA        30339
  Siulia Sefo                                                                           Address Redacted
  Sivuqaq,Inc                                                                           Po Box 101                                                      Gambell         AK        99742
  Six Robblees' Inc                                                                     PO Box 3703                                                     Seattle         WA        98124
  Six States Distribution Inc                                                           28534 Network Place                                             Chicago         IL        60673-1285
  Sky Airparts International Inc.                                                       6690 E. Beechcraft Rd                                           Wasilla         AK        99654
  Sky Service F.B.O., Inc.                          Attn: Terry Miller                  6120 Midfield Road                                              Mississauga     Ontario   L5P 1B1      Canada
  Skyservice Fbo Inc.                                                                   6120 Midfield Road                                              Mississauga     ON        L5P 1B1      Canada
  Slm Management LLC                                                                    PO Box 855                                                      Bristol         IN        46507
  Sloulin Field International Airport                                                   PO Box 1306                                                     Williston       ND        58802
  Snag Point Trucking & Snow Removal                                                    PO Box 35                                                       Dillingham      AK        99576
  Snap-On Tools - Paq                                                                   316 E. Country Ridge Drive                                      Wasilla         AK        99654
  Soa                                                                                   Office Of The Notary Adminstrator                               Juneau          AK        99801
  Soa - Dot&Pf Aias/Swa                                                                 Accounts Receivable                                             Anchorage       AK        99519-6960
  Soa D/O Labor Division Of Mechanical Inspection                                       1251 Muldoon Road, Suite 113                                    Anchorage       AK        99504
  Soa D/O Environmental Conservation                                                    PO Box 111800                                                   Juneau          AK        99811-1800
  Soa D/O Labor-Mechanical Insp                                                         1251 Muldoon Rd, Suite 113                                      Anchorage       AK        99504
                                                                                        Div. Of Measurement Standards & Comm.
  Soa D/O Measurement Standards                                                         Vehicle Enforcement                                             Anchorage       AK        99515-3592
  Soa D/O Tran Bethel                                                                   PO Box 505                                                      Bethel          AK        99559
                                                                                        Fairbanks International Airport, Accounting
  Soa D/O Trans - Fair Landings/Rent                                                    Sect                                                            Fairbanks       AK        99709
  Soa D/O Trans & Pf Southcoast Region-Adq                                              Dot & Pf Southcoast Region                                      Kodiak          AK        99615
  Soa Dot Anc Airport                                                                   Accounting Section                                              Anchorage       AK        99519-6960
  Soa Dot & Pf                                                                          PO Box 196960                                                   Anchorage       AK        99519-6900
  Soa Dot & Pf Central Region                                                           4111 Aviation Drive                                             Anchorage       AK        99519-6900
  Soa Dot Southwest Region                          Department of Transportation        PO Box 112500                                                   Juneau          AK        99811-2500
  Soa Dot&Pf - Fai                                                                      Dot&Pf Aias/Swa                                                 Fairbanks       AK        99709-4571
  Soa Dot&Pf- Interior                                                                  2301 Peger Road                                                 Fairbanks       AK        99709-5316
  Soa, Ocs (Anc)                                                                        323 East 4Th Ave.                                               Anchorage       AK        99501
  Sockeye Business Solutions, Inc.                                                      808 E Street, Suite 100                                         Anchorage       AK        99501
  Socomore                                                                              PO Box 77085                                                    Fort Worth      TX        76177
  Software One, Inc.                                                                    20875 Crossroads Circle                                         Waukesha        WI        53186
  Softwareone, Inc.                                 Attn: Rachel Layman                 20875 Crossroads Circle                     Suite 1             Wakesha         WI        53186
  Soldotna Chamber Of Commerce                                                          44790 Sterling Hwy                                              Soldotna        AK        99669
  Somerset Capital Group, Ltd.                                                          1361 Boston Post Road                                           Milford         CT        06460
  Sonny Parker                                                                          Address Redacted
  Sophia Tunguing                                                                       Address Redacted
  Sorenson, Richard                                                                     Address Redacted
  Sorenson, Wyatt                                                                       Address Redacted
  Sorono, Daniel                                                                        Address Redacted
  Sosefo Kolo                                                                           Address Redacted
  Sourdough Express, Inc.                                                               PO Box 73398                                                    Fairbanks       AK        99707
  Southeast Aerospace, Inc.                                                             1399 General Aviation Drive                                     Melborne        FL        32935
  Southwest Ak Voc & Ed Center                                                          PO Box 615                                                      King Salmon     AK        99613
  Southwest Alaska Municipal Conference                                                 3300 Arctic Blvd., Suite 203                                    Anchorage       AK        99503
  Southwestern Technical Specialties                                                    PO Box 1466                                                     Bethel          AK        99559
  Sparrow Aviation                                                                      4668 NW 99Th Avenue                                             Sunrise         FL        33351
  Spawn Ideas Inc.                                                                      510 L Street, Suite 100                                         Anchorage       AK        99501
  Specialty Drywall & Painting                                                          1467 N Heather Meadows Loop                                     Anchorage       AK        99507
  Spenard Builders Supply                                                               4412 Lois Dr.                                                   Anchorage       AK        99517

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                                Name                                Attention                           Address 1                          Address 2                   City       State        Zip        Country
  Spenard Builders Supply                                                               4412 Lois Drive                                                      Anchorage         AK         99517
  Spencerstuart                                                                         PO Box 98991                                                         Chicago           IL         60693
  Spider Tracks North America Limited                                                   203/150 Karangahape Rd                    Newton                     Auckland                     1010         New Zealand
  Spokane International Airport                                                         Spokane International Airport                                        Spokane           WA         99224-9483
  Sport Aircarft Seats                                                                  6600 E. Skyhawk Circle                                               Wasilla           AK         99654
  Sporty'S Pilot Shop                                                                   2001 Sporty'S Drive                                                  Batavia           OH         45103
  Sprague Instruments, Inc.                                                             1011 South Monroe Street                                             San Jose          CA         95128
  Spring Alaska                                                                         2700 19Th Ave.                                                       Fairbanks         AK         99709
  Springhill Anc University Lake                                                        4050 University Lake Dr                                              Anchorage         AK         99508
  Springhill Suites Anchorage Midtown                                                   3401 S Street                                                        Anchorage         AK         99503
  Sprint                                                                                PO Box 4181                                                          Carols Stream     IL         60197-4181
  St Paul City Of                                                                       PO Box 901                                                           St. Paul Island   AK         99660
  St. Catherine Of Siena                                                                Box 90                                                               Chefornak         AK         99561
  Stan Desaki                                                                           Address Redacted
  Stan Scott                                                                            Address Redacted
  Standard Aero                                      Attn: Mark O'Keefe                 33 Allen Dyne Road                                                   Winnipeg          Manitoba R3H 1A1        Canada
  Standard Aero                                                                         600 E Dallas Road, Suite 400                                         Grapevine         TX       76051
  Stanley Speed                                                                         Address Redacted
  Stanley Westerman                                                                     Address Redacted
  Stark, Terrie                                                                         Address Redacted
  Starr Indemnity & Liability Company                                                   399 Park Avenue                                                      New York          NY         10022-3333
  Starr Indemnity And Liability Company              Attn: Legal Dept.                  399 Park Avenue                           3Rd Floor                  New York          NY         10022
  Starr Specialty Insurance Company                                                     One Bush Street                           Suite 1350                 San Francisco     CA         94104
  Starr Surplus Lines Insurance Company              Attn: Legal Dept.                  399 Park Avenue                           3Rd Floor                  New York          NY         10022
  Starr Surplus Lines Insurance Company                                                 399 Park Avenue                                                      New York          NY         10022-3333
  Startpac/Rotocraft Enterprises, LLC                                                   4357 West Sunset Road                                                Las Vegas         NV         89118
  State Of Alaska                                    Office of the Attorney General     1031 W 4Th Ave, Ste 200                                              Anchorage         AK         99501
  State Of Alaska                                                                       3601 C Street                                                        Anchorage         AK         99503
  State Of Alaska                                                                       Alaska Department Of Revenue              PO Box 110400              Juneau            AK         99811-0400
  State Of Alaska                                                                       Lt. Governor                              550 W. 7Th, Ste. 1700      Anchorage         AK         99501
  State Of Alaska                                    D/O Measurement Standards          Comm. Vehicle Enforcement                                            Anchorage         AK         99515-3592
  State Of Alaska                                                                       D/O Environmental Conservation            PO Box 111800,             Juneau            AK         99811-1800
  State Of Alaska Department Of Transportation       Attn: John MacKinnon               PO Box 112500                                                        Juneau            AK         99511-2500
                                                                                                                                  410 Willoughby Avenue,
  State Of Alaska Dept Of                            Commissioner                       Environmental Conservation                Suite 105                  Juneau            AK         99801-1795
                                                                                                                                  1251 Muldoon Road, Suite
  State Of Alaska                                                                                                                                            Anchorage
                                                                                        D/O Labor Div. Of Mechanical Inspection   113,                                         AK         99504
                                                                                                                                  4111 Aviation Drive, PO
  State Of Alaska Dept Of Transportation                                                                                                                     Anchorage
                                                                                        & Pf Central Region                       Box 196900,                                  AK         99519-6900
  State Of Alaska Dept Of Transportation                                                & Pf Southcoast Region-Adq,               1500 Anton Larsen Road,    Kodiak            AK         99615
  State Of Alaska Dept Of Transportation                                                &Pf – Fai, Dot&Pf Aias/Swa                Fai Accounting             Fairbanks         AK         99709-4571
                                                                                                                                  Anchorage International
  State Of Alaska Dept Of Transportation                                                                                                                     Anchorage
                                                                                        Anc Airport, Accounting Section           Airport ,                                    AK         99519-6960
  State Of Alaska Dept Of Transportation                                                Dot&Pf- Interior                          2301 Peger Road,           Fairbanks         AK         99709-5316
                                                                                                                                  Fairbanks International
  State Of Alaska Dept Of Transportation                                                                                                                     Fairbanks
                                                                                        Fair Landings/Rent                        Airport, Acct Sect                           AK         99709
  State Of Alaska Dept Of Transportation                                                Pf Aias/Swa, Accounts Receivable          PO Box 196960,             Anchorage         AK         99519-6960
                                                                                                                                  Dot Administrative
  State Of Alaska Dept Of Transportation                                                                                                                     Juneau
                                                                                        Southwest Region,                         Services                                     AK         99811-2500
  State Of Hawaii - Honolulu International Airport                                      Honolulu Internatinal Airport                                        Honolulu          HI         96819-1880
  State Of Hawaii - Kahului Airport                                                     Kahului Airport                                                      Honolulu          HI         96819-1880
  State Of Massachusetts                             Office of the Attorney General     1 Ashburton Place, 20Th Floor                                        Boston            MA         02108
  State Of Washington                                Office of the Attorney General     1125 Washington St Se                                                Olympia           WA         98501
  Stebbins Community Association                                                        Box 7002                                                             Stebbins          AK         99671
  Stella Salazar                                                                        Address Redacted
  Stephanie Jones                                                                       Address Redacted
  Stephanie Lupie                                                                       Address Redacted
  Stephen Fox                                                                           Address Redacted
  Stephen Leonard                                                                       Address Redacted
  Sterling Ambrose                                                                      Address Redacted


In re: Ravn Air Group, Inc., et al.                                                                                                                                                                       Page 49 of 56
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                                                                                     Creditor Matrix


                                Name                          Attention                         Address 1                       Address 2            City    State       Zip        Country
  Sterling Courier Incorporated                                                 PO Box 35418                                                Newark          NJ       07193-5418
  Sterling Talent Solutions                                                     PO Box 35626                                                Newark          NJ       07193-5626
  Steve Hakala                                                                  Address Redacted
  Steve Tuionetoa                                                               Address Redacted
  Steven Combs                                                                  Address Redacted
  Steven D Hill                                                                 Address Redacted
  Steven Eiland                                                                 Address Redacted
  Steven Fuson                                                                  Address Redacted
  Steven Jacob                                                                  Address Redacted
  Steven Jensen                                                                 Address Redacted
  Steven Jordan                                                                 Address Redacted
  Steven Ludlow                                                                 Address Redacted
  Steven Ludlow                                                                 Address Redacted
  Steven Mcevoy                                                                 Address Redacted
  Steven Peterson                                                               Address Redacted
  Stg Aerospace                                                                 1725 NW 79 Ave                                              Miami           FL       33126
  Strategic Aviation Services, Ltd                                              10-1595 Innovation Drive                                    Kelowna         BC                    Canada
  Strawberry Hill LLC                                                           431 West 7Th Ave                                            Anchorage       AK       99501
  Strong Aero Engineering                                                       1385 Beachmont St.                                          Ventura         CA       93001
  Structured Communications Systems, Inc                                        12901 Se 97Th Ave, Ste 400                                  Clackamas       OR       97015
  Sts Engineering                                                               2000 Ne Jensen Beach Blvd                                   Jensen Beach    FL       34957
  Sts Mod Center                              Attn: Travis Shillington          2000 Ne Jensen Beach Blvd                                   Jensen Beach    FL       34957
  Stuart Churchill                                                              Address Redacted
  Sturgeon Electric Co, Inc.                                                    12150 E 112Th Ave                                           Henderson       CO       80640
  Suite 881 LLC                                                                 881 3Rd Ave                                                 Bethel          AK       99559
  Sullivan, Booker                                                              Address Redacted
  Sullivan, Lydia J.                                                            Address Redacted
  Sun Air Parts, Inc.                                                           26007 Huntington Lane                                       Valencia        CA       91355-4667
  Sunshine Avionics, LLC                                                        9974 Premier Parkway                                        Miramar         FL       33025
  Superior Coffee Of Alaska                                                     540 Fourth Street                                           Fairbanks       AK       99701-3543
  Superior Machine And Welding Inc                                              1745 Ship Ave                                               Anchorage       AK       99501-1806
  Support Warehouse                                                             Lake Success Corporate Center                               New Hyde Park   NY       11042-1076
  Surveygizmo                                                                   4888 Pearl East Circle 100 W                                Boulder         CO       80301
  Susan Sunny                                                                   Address Redacted
  Susan Urig                                                                    Address Redacted
  Susana Seman                                                                  Address Redacted
  Susanne Toliver                                                               Address Redacted
  Sutliff True Value Hardware                                                   PO Box 1157                                                 Kodiak          AK       99615
  Swanson'S Alaska LLC                                                          3351 Arctic Blvd.                                           Anchorage       AK       99503
  Sweetsir Construction                                                         PO Box 8                                                    Galena          AK       99741
  Sweetsir'S                                                                    PO Box 30                                                   Galena          AK       99741
  Swetzof, Maiana                                                               Address Redacted
  Swetzof, Makarius                                                             Address Redacted
  Swetzof, Mary                                                                 Address Redacted
  Swetzof, Mykael                                                               Address Redacted
  Swetzof, Romano                                                               Address Redacted
  Swindler, David Allen                                                         Address Redacted
  Swissport Fueling Inc                                                         45025 Aviation Drive                                        Dulles          VA       20166-7557
  Sydney Fell                                                                   Address Redacted
  Sylint Group, Inc.                                                            240 North Washington Blvd.                                  Sarasota        FL       34236
  Symetra Life Insurance Company                                                777 108Th Avenue Ne, Suite 1200                             Belleveue       WA       98004-5135
  Symmetric Solutions Inc                                                       PO Box 113437                                               Anchorage       AK       99511
  Syracuse Hancock International Airport                                        1000 Colonel Eileen Collins Blvd.                           Syracuse        NY       13212
  System Safety Services                                                        23100 Willett Avenue                                        Richmond        BC       V6V 1G1      Canada
  T.W. Carrol & Co., Inc.                                                       350 Upland Drive                                            Tukwila         WA       98188
  Tabatha Logan                                                                 Address Redacted
  Taby Air Maintenance Ab                                                       Orebro Flygplats                                            Orebro                   705 94       Sweden
  Tactair Fluid Controls Incorporated                                           PO Box 933066                                               Cleveland       OH       44193
  Tagiugmiullu Nunamiullu Housing Authority                                     PO Box 409                                                  Barrow          AK       99723
  Taide Alvarado Martinez                                                       Address Redacted
  Taide Alvarado Martinez                                                       Address Redacted

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                                                                                Creditor Matrix


                                Name                      Attention                        Address 1                     Address 2           City        State       Zip        Country
  Tailwind Properties, LLC.                                                16547 Betty St                                            Anchorage          AK       99516
  Talei Tongaofa                                                           Address Redacted
  Talina Lozano                                                            Address Redacted
  Tallahassee Regional Airport                                             Department Of Aviation                                    Tallahassee        FL       32310
  Tamara Kjostad                                                           Address Redacted
  Tamara Strain                                                            Address Redacted
  Tamera Severson De Leon                                                  Address Redacted
  Tandem Gse, LLC                                                          2924 E. Ana St.                                           E. Rancho Dominguez CA      90221
  Tanis Aircraft Products                                                  2951 100Th Court Ne, Suite 150                            Blaine              MN      55449
  Tanner Rutz                                                              Address Redacted
  Tanya Soloy                                                              Address Redacted
  Tapeandmedia.Com LLC                                                     450 Colorado Dr.                                          Cedar Creek        TX       78612
  Tapuva Tauono                                                            Address Redacted
  Tara Riddle                                                              Address Redacted
  Tashquinn Draper                                                         Address Redacted
  Tatum Christensen                                                        Address Redacted
  Tatyana Hobson                                                           Address Redacted
  Tausili Vaafuti                                                          Address Redacted
  Taylor Communications, Inc                                               PO Box 91047                                              Chicago            IL       60693
  Taylor Fire Protection Services, LLC.                                    5887 E Blue Lupine Dr                                     Palmer             AK       99645
  Taylor Harvey                                                            Address Redacted
  Taylor Ritter                                                            Address Redacted
  Taylor Smith                                                             Address Redacted
  Taylor, Mark                                                             Address Redacted
  Taylored Restoration Services                                            8535 Dimond D Circle No A                                 Anchorage          AK       99515
  Tdata                                                                    60 Grace Drive                                            Powell             OH       43065
  Tdl Staffing, Inc.                                                       1716 University Ave Suite 101                             Fairbanks          AK       99709
  Tdx Corporation                                                          3601 C Street                                             Anchorage          AK       99503
  Tdx North Slope Generating                                               3601 C Street                          Suite 1000-56      Anchorage          AK       99503
  Tdx Sand Point Generating, LLC                                           3601 C Street, Ste 1000-52                                Anchorage          AK       99503
  Team Aero, LLC                                                           1320 S. Enterprise St.                                    Olathe             KS       66061
  Team J A S Inc                                                           8493 Baymeadows Way                                       Jacksonville       FL       32256
  Technology For Energy Corporation                                        10737 Lexinton Drive                                      Knoxville          TN       37932
  Teirra Little                                                            Address Redacted
  Telalaska                                                                201 E. 56Th Ave.                                          Anchorage          AK       99518
  Teri-Ann Rabe                                                            Address Redacted
  Terrence Naneng                                                          Address Redacted
  Terrence Rouda                                                           Address Redacted
  Terri Remitz                                                             Address Redacted
  Terryberry Company LLC                                                   2033 Oak Industrial Dr. Ne                                Grand Rapids       MI       49505
  Tesoro Alaska Petroleum Company                                          PO Box 659723                                             San Antonio        TX       78265-9723
  Tevin Adcox                                                              Address Redacted
  Textron Aviation, Inc                                                    23260 Network Place                                       Chicago            IL       60673-1232
  Textron Gse                                                              PO Box 732854                                             Dallas             TX       75373-2854
  Tgi Freight                                                              PO Box 221049                                             Anchorage          AK       99522-1049
  Thaddeus Bailey                                                          Address Redacted
  The Bristol Inn                                                          PO Box 330                                                Dillinham          AK       99576
  The Calgary Airport Authority                                            2000 Airport Road N. E.                                   Calgary            AB       T2E 6W5      Canada
  The City Of Oklahona City - Will Rogers World Airport                    7100 Terminal Dr., Unit 937                               Oklahoma City      OK       73159-0937
  The Cordova Center                                                       601 1St Street                                            Cordova            AK       99574
  The Flight Shop, Inc.                                                    PO Box 602                                                Brigham City       UT       84302
  The Grand Aleutian Hotel                                                 PO Box 921169                                             Dutch Harbor       AK       99692
  The Lakefront Anchorage                                                  4800 Spenard Road                                         Anchorage          AK       99517
  The Lumber Yard                                                          PO Box 721                                                Bethel             AK       99559
  The Parts Network                                                        1701 E. Edinger Ave. Suite E-9                            Santa Ana          CA       92705
  The University Of Tennessee                                              201 Andy Holt Tower                                       Knoxville          TN       37996-0100
  The Yard                                                                 725 East Central                                          Wichita            KS       67202
  Theodore Ellis                                                           Address Redacted
  Theodore Kawagley                                                        Address Redacted
  Theodore Manolas                                                         Address Redacted
  Theodore Street                                                          Address Redacted

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                                                                            Creditor Matrix


                               Name                   Attention                         Address 1                      Address 2               City    State       Zip        Country
  Theresa Cleveland                                                    Address Redacted
  Thol, Tut                                                            Address Redacted
  Thomas A. Knott                                                      Address Redacted
  Thomas Angaiak                                                       Address Redacted
  Thomas C Crandall                                                    Address Redacted
  Thomas Croffut                                                       Address Redacted
  Thomas Dillon                                                        Address Redacted
  Thomas Nicholas                                                      Address Redacted
  Thomas Pauling                                                       Address Redacted
  Thomas Wilks                                                         Address Redacted
  Thomas Wray                                                          Address Redacted
  Thompson & Company Public Relations                                  600 Barrow St, Ste 400                                      Anchorage          AK       99501
  Thompson Regional Airport Authority                                  PO Box 112                                                  Thompson           MB       R8N 1M9      Canada
  Thran, Robert                                                        Address Redacted
  Thrively Digital                                                     Po Box 91199                                                Anchorage          AK       99509
  Thunder Bay International Airports Authority Inc.                    340-100 Princess Street                                     Thunder Bay        ON       P7E 6S2      Canada
  Thyssenkrupp Elevator Corp.                                          7930 King Street Unit 2                                     Anchorage          AK       99518
  Tiana Faumui                                                         Address Redacted
  Tiara Atuekaho                                                       Address Redacted
  Tiara Monteiro                                                       Address Redacted
  Tiara Monteiro                                                       Address Redacted
  Tiffanie Senko                                                       Address Redacted
  Tiffany Hunter                                                       Address Redacted
  Tiffany Lease                                                        Address Redacted
  Tikchik Narrows Lodge                                                PO Box 220507                                               Anchorage          AK       99522
  Tikiun James                                                         Address Redacted
  Tim Rooney                                                           Address Redacted
  Timmins Victor M. Power Airport                                      4599 Airport Rd.                                            Timmons            ON       P4N 7C3      Canada
  Timothy Bauer                                                        Address Redacted
  Timothy Floyd                                                        Address Redacted
  Timothy Mack                                                         Address Redacted
  Timothy Roberts                                                      Address Redacted
  Timothy Rogers                                                       Address Redacted
  Timothy Shawn Smith                                                  Address Redacted
  Timothy T Black                                                      Address Redacted
  Tina J Hanley                                                        Address Redacted
  Tina Marie                                                           Address Redacted
  Tina Richards                                                        Address Redacted
  Todd Fisher                                                          Address Redacted
  Todd Pilgrim                                                         Address Redacted
  Tomas Perez                                                          Address Redacted
  Tomasz Oslawski                                                      Address Redacted
  Tommy Fagapuliea                                                     Address Redacted
  Tommy Guthrie                                                        Address Redacted
  Tommy Mcwilliams                                                     Address Redacted
  Tommy Mulifai                                                        Address Redacted
  Tonia Foster                                                         Address Redacted
  Tony O Santiago                                                      Address Redacted
  Tony Wilkerson                                                       Address Redacted
  Tool Testing Lab, Inc.                                               11601 N. Dixie Drive                                        Tipp City          OH       45371
  Toreka Sefo-Sikamu                                                   Address Redacted
  Tori Simeon                                                          Address Redacted
  Total Management Solutions                                           1720 Bartlett Drive                                         Anchorage          AK       99507
  Total Reclaim, Inc                                                   PO Box 24996                                                Seattle            WA       98124
  Totem Equipment & Supply, Inc.                                       2536 Commercial Drive                                       Anchorage          AK       99501
  Totem Equipment And Supply Inc                                       2536 Commercial Drive                                       Anchorage          AK       99501
  Tou Yang                                                             Address Redacted
  Tracen Greene                                                        Address Redacted
  Trachael Klaiber                                                     Address Redacted
  Trail Ridge Air, Inc.                                                PO Box 111377                                               Anchorage          AK       99511
  Transportation Security Adminstrator                                 Transportation Security Administration                      Charlotte          NC       28272-0944

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                                 Name                                 Attention                            Address 1                        Address 2                  City       State       Zip      Country
  Travis Bekkelund                                                                        Address Redacted
  Travis Burts                                                                            Address Redacted
  Travis Fahlsing                                                                         Address Redacted
  Travis Leveling & More                                                                  198 Blackberry Street                                               Bethel             AK       99559
  Travis Savetilik                                                                        Address Redacted
  Travis Winter                                                                           Address Redacted
  Trevor Burns                                                                            Address Redacted
  Trevor O'Hara                                                                           Address Redacted
  Tri-Cities Airport                                                                      James Morasch Aae- Dir Of Airports                                  Pasco              WA       99301
  Tri-Cities Airport Authority                                                            2525 Highway 75, Suite 301                                          Blountville        TN       37617
  Tri-County Instruments, Inc.                                                            211 E Simpson St.                                                   Lafayette          CO       80026
  Trident Computer Corporation                                                            277 Park Street                                                     Troy               MI       48083
  Trident Seafoods                                                                        PO Box 229                                                          Sand Point         AK       99661
  Trigg Industries International                                                          7007 Willoughby Ave.                                                Los Angeles        CA       90038
  Tri-Jet Manufacturing Services                                                          1960 S Eklutna St                                                   Palmer             AK       99645
  Trip                                                                                    PO Box 3133                                                         Bethel             AK       99559
  Tronair                                                                                 S. 1740 Eber Rd                                                     Holland            OH       43528
  Troy Turner                                                                             Address Redacted
  Truckwell Of Alaska                                                                     5801 Silverado Way                                                  Anchorage          AK       99518
  True Value Hardware                                                                     9001 Jewel Lake Road                                                Anchorage          AK       99502
  Ttf Aerospace LLC                                                                       4620 B Street NW Suite 101                                          Auburn             WA       98001
  Ttt Enviromental LLC                                                                    4201 B Street                                                       Anchorage          AK       99503
  Tulsa Airports Improvement Trust                                                        Tulsa International                                                 Tulsa              OK       74158-1838
  Tundra Tours Inc./Top Of The World Hotel                                                3060 Eben Hopson Street                                             Barrow             AK       99723-0129
  Turbine Engine Consultants Inc                                                          PO Box 2367                                                         Joplin             MO       64803
  Twigs Alaskan Gifts                                                                     6450 Airport Way, Suite 12                                          Fairbanks          AK       99709
  Tyler Huntington                                                                        Address Redacted
  Tyler Yow                                                                               Address Redacted
  Tyrone M Roberts                                                                        Address Redacted
  Tyson Chang                                                                             Address Redacted
  U.S. Bank National Association, As Security Trustee                                     214 North Tryon Street                    26Th Floor                Charlotte          NC       282020
  U.S. Bank National Association, As Security Trustee                                     214 North Tryon Street                    26Th Floor                Charlotte          NC       282020
  U.S. Department Of Transportation                                                       1200 New Jersey Ave, Se                                             Washington         DC       20590
  U-Haul                                                                                  PO Box 52128                                                        Phoenix            AZ       85072-2128
  Uline Shipping Supply Specialist                                                        PO Box 88741                                                        Chicago            IL       60680-1741
                                                                                          Owner Trustee                             6550 S. Millrock Drive,
  Umb Bank, N.A.,                                       Attn: Corporate Trust Utah        Under The Trust Agreement (N687Pa)        Suite 150                 Salt Lake City     UT       84121
  Unalakleet Native Corporation                                                           PO Box 100                                                          Unalakleet         AK       99684-0100
  Unalakleet Valley Electric Coop                                                         PO Box 186                                                          Unalakleet         AK       99684
  Unical Aviation, Inc.                                                                   680 South Lemon Ave.                                                City Of Industry   CA       91789
  Unisea Inc                                                                              PO Box 97019                                                        Redmond            WA       98073-9719
  Unitech Of Alaska, Inc.                                                                 7600 King Street                                                    Anchorage          AK       99518
  United Rentals                                                                          9760 Old Seward Highway                                             Anchorage          AK       99515
  United States Post Master                                                               3720 Barrow St.                                                     Anchorage          AK       99599-9994
  United Utilities, Inc.                                                                  PO Box 92730                                                        Anchorage          AK       99509-2730
  Univar Usa Inc.                                                                         13009 Collections Center Drive                                      Chicago            IL       60693
  Universal Avionics Systems Corporation                                                  PO Box 849273                                                       Los Angeles        CA       90084-9273
  Universal Turbine Parts Incorporated                                                    120 Grouby Airport Way                                              Prattville         AL       36067
  University Of Ak Anchorage                                                              2811 Merrill Field Drive                                            Anchorage          AK       99501
  University Park Airport                                                                 2493 Fox Hill Rd                                                    State Collage      PA       16803
  Up North Properties                                                                     12500 Summer Dr                                                     Anchorage          AK       99516
  Upholstery Gallery The                                                                  PO Box 3078                                                         Palmer             AK       99645
  Ups Freight-Light Weight                                                                Ups Lock Box 577                                                    Carol Stream       IL       60132-0577
  Ups Supply Chain Solutions                                                              PO Box 730900                                                       Dallas             TX       75373-0900
  Uptown Motel                                                                            47 Spur View Dr                                                     Kenai              AK       99611
  Us Bank                                               Attn: Legal Department            800 Nicollet Mall                                                   Minneapolis        MN       55042
  Us Bank                                                                                 PO Box 1800                                                         St. Paul           MN       5510-0800
  Us Customs And Border Protection                                                        6650 Telecom Drive                                                  Indianapolis       IN       46278
  Us D/O Internal Revenue Service 720 Tax                                                 PO Box 660264                                                       Dallas             TX       75266-0264
  Us D/O Trans Homeland Security                                                          Transportation Security Administration                              St. Lous           MO       63197-9000
  Us Dot Faa                                            Federal Aviation Administration   PO Box 25082                                                        Oklahoma City      OK       73125

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                                                                             Creditor Matrix


                                 Name                 Attention                          Address 1                   Address 2             City     State       Zip         Country
  Us Healthworks Med Group Of Ak LLC                                    PO Box 740990                                            Los Angeles       CA       90074-0990
  Us Postal Brm Pmt/Lb # 201493                                         800 Ingra Street                                         Anchorage         AK       99501
  Uscg Civil Fines And Penalties                                        PO Box 979123                                            St. Louis         MO       63197
  Usda Aphis Aqi                                                        PO Box 979044                                            St Louis          MO       63197-9000
  Usi Insurance Service LLC                                             PO Box 62949                                             Virginia Beach    VA       23466
  Vaifanua, Alcopone                                                    Address Redacted
  Valair Aviation                                                       7301 NW 50Th St.                                         Oklahoma City     OK       73132
  Valana Castro                                                         Address Redacted
  Valdez Convention & Visitors Bureau                                   PO Box 1603                                              Valdez            AK       99686
  Valdez Expediting, Inc.                                               PO Box 1396                                              Valdez            AK       96686
  Valerie Leonard                                                       Address Redacted
  Valley Engravers, Inc.                                                27771 Avenue Hopkins                                     Valencia          CA       91355
  Valley Hotel, Inc.                                                    606 South Alaska Street                                  Palmer            AK       99645
  Vance Sasinowski                                                      Address Redacted
  Vanessa Gregory                                                       Address Redacted
  Vanessa Lee                                                           Address Redacted
  Vanessa Pride                                                         Address Redacted
  Vas Volvo Aero Services Corp                                          PO Box 713671                                            Cincinnati        OH       45271-3671
  Vassili Stepetin                                                      Address Redacted
  Vaughn Dosko                                                          Address Redacted
  Vector Aerospace/Standardaero                                         600 E. Dallas Rd.                                        Grapevine         TX       76051
  Velocity Aerospace-Burbank                                            2840 N. Ontario Street                                   Burbank           CA       91504
  Velocity Aerospace Ft Lauderdale                                      5352 NW 21St Terrace                                     Fort Lauderdale   FL       33309
  Venari Partners                                                       27 Charlotte Road                                        London                     EC2A 3PB     United Kingdom
  Vend Alaska                                                           1132 E 74Th Ave                                          Anchorage         AK       99518
  Vera Frerichs                                                         Address Redacted
  Veritiv Operating Company                                             Po Box 57006                                             Los Angeles       CA       90074-7006
  Verizon Albany                                                        PO Box 15124                                             Albany            NY       12212-5124
  Verizon Dallas                                                        PO Box 660108                                            Dallas            TX       75266-0108
  Veronica Malak                                                        Address Redacted
  Victor Mercado                                                        Address Redacted
  Victoria Kotongan                                                     Address Redacted
  Victory Enterprises LLC                                               PO Box 309                                               Palmer            AK       99645
  Victory Salvage, Inc                                                  8211 South Alameda Street                                Los Angeles       CA       90001-4198
  Village Inn                                                           4403 Spenard Rd.                                         Anchorage         AK       99517
  Vincent Thomas                                                        Address Redacted
  Violet Meki                                                           Address Redacted
  Virgil Aliralria                                                      Address Redacted
  Virgil Higgins                                                        Address Redacted
  Vishay Precision Group                                                25712 Network Place                                      Chicago           IL       60673-1257
  Vision Aeronautics                                                    18291 Pines Blvd.                                        Pembroke Pines    FL       33029
  Vision Aerospace International, Inc.                                  5234 Cheseboro Rd. Ste 101                               Agoura Hills      CA       91301
  Visit Anchorage                                                       524 W. Fourth Ave                                        Anchorage         AK       99501-2212
  Vista Aviation, Inc                                                   10000 Airpark Way                                        Pacoima           CA       91331-7393
  Vistair Systems Limited                                               Broadway House                        Bradley Stoke      Bristol                    BS32 4QH     United Kingdom
  Vitale Mauga                                                          Address Redacted
  Vitus Terminals                                                       113 W. Northern Lights Blvd.                             Anchorage         AK       99503
  Voss, Gary                                                            Address Redacted
  Voyaguer Airways                                                      1500 Airport Rd                                          North Bay         ON       P1B 8G2      Canada
  Vrc Of Alaska                                                         801 E. 82Nd Ave                                          Anchorage         AK       99518
  W C Jones LLC                                                         PO Box 980415                                            Houston           TX       77098
  W Capital Management, LLC                                             400 Park Avenue, Suite 900                               New York          NY       10022
  Wade Modrow                                                           Address Redacted
  Waldo Audi                                                            Address Redacted
  Walker Enterprises                                                    PO Box 58239                                             Fairbanks         AK       99701
  Walker Entrerprises                    Attn: Maccoy Walker            PO Box 58239                                             Fairbanks         AK       99701
  Walker Field Airport Authority                                        Pfc Remittance                                           Grand Junction    CO       81506
  Walla Walla Regional Airport                                          310 A Street                                             Walla Walla       WA       99362
  Walsh, Michael                                                        Address Redacted
  Walter Jackson                                                        Address Redacted
  Walter Smith                                                          Address Redacted

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                                Name                                      Attention                           Address 1                       Address 2                   City      State       Zip         Country
  Warface Aviation                                                                             3600 Sharatin Road                                                 Kodiak           AK       99615
  Warning Lites Of Alaska, Inc.                                                                591 W. 67Th Ave.                                                   Anchorage        AK       99518
  Warren Paukan                                                                                Address Redacted
  Washington Crane & Hoist Co, Inc                                                             1334 Thornton Ave, Sw                                              Pacific          WA       98047
  Washington Dulles International Airport (Iad)                                                PO Box 402816                                                      Atlanta          GA       30353-2816
  Wassillie Brink                                                                              Address Redacted
  Wassillie, Mary                                                                              Address Redacted
  Water Of Life                                                                                PO Box 671                                                         Kodiak           AK       99615
  Waxie Sanitary Supply                                                                        PO Box 748802                                                      Los Angeles      CA       90074-8802
  Wayde Carroll Photography LLC                                                                3161 Bettles Bay Loop                                              Anchorage        AK       99515
  Wayne County Division Of Airports - Detroit Metro Wayne
  County                                                                                       Lc Smith Terminal - Mezzanine                                      Detroit          MI       48242
  Wayne Hawker                                                                                 Address Redacted
  Wayne Mcclure                                                                                Address Redacted
  Wcp Solutions West Coast Paper                                                               2209 Spar Avenue                                                   Anchorage        AK       99501
  Weitong Mu                                                                                   Address Redacted
  Wells Fargo                                                                                  420 Montgomery Street                                              San Francisco    CA       94104
  Wells Fargo                                                                                  PO Box 63020                                                       San Francisco    CA       94163
  Wells Fargo Bank                                                                             NW 7091 PO Box 1450                                                Minneapolis      MN       55485
                                                                                               Trustee
  Wells Fargo Bank Northwest, N.A.,                         Attn: Corporate Trust Department   Under The Trust Agreement              299 S. Main St., 12Th Floor Salt Lake City   UT       84111
  Wells Fargo Trust Company, N.A.                           Attn: Corporate Trust Services     299 S. Main St.                        5Th Floor                   Salt Lake City   UT       84111
                                                                                               Owner Trustee Under Trust Agmt
  Wells Fargo Trust Company, N.A.,                          Attn: Corporate Trust Services     (N686Pa)                               299 S. Main St., 5Th Floor Salt Lake City    UT       84111
                                                                                               Owner Trustee Under Trust Agmt
  Wells Fargo Trust Company, N.A.,                          Attn: Corporate Trust Services     (N687Pa)                               299 S. Main St., 5Th Floor Salt Lake City    UT       84111
  Wells Fargo Vendor Fin Serv                                                                  PO Box 30310                                                      Los Angeles       CA       90030-0310
  Wencor LLC.                                                                                  1625 N 1100 W                                                     Springville       UT       84663-0514
  Wendy G Yow                                                                                  Address Redacted
  Wesco Aircraft Hardware Corp                                                                 PO Box 802020                                                      Santa Clarita    CA       91380-2020
  Wesley Silas                                                                                 Address Redacted
  West Coast Aviation Services                                                                 PO Box 248                                                         Unalakleet       AK       99684
  West Coast Construction                                                                      Box 248                                                            Unalakleet       AK       99684
  Westdahl Leslie                                                                              Address Redacted
  Western American Specialties, Inc.                                                           4731 W Jefferson Blvd                                              Los Angeles      CA       90016
  Western Skyways Turbine, Inc.                                                                21 Creative Place                                                  Montrose         CO       81401
  Westmark Anchorage Hotel                                                                     720 West 5Th Avenue                                                Anchorage        AK       99501
  Wg Anaruk                                                                                    Address Redacted
  Wharton, David                                                                               Address Redacted
  White Knight                                                                                 PO Box 2035                                                        Palmer           AK       99645
  Whitmer & Worrall LLC                                                                        1401 H Street, NW Suite 1075                                       Washington       DC       20005
  Wick Air Inc.                                                                                4 Corners Airport                                                  Palmer           AK       99645
  Wickersham, Lawrence                                                                         Address Redacted
  Wild Aviation Services Pty Ltd                                                               PO Box 6616                                                        Cairns Qld                4870         Australia
  Wilkerson Company, Inc.                                                                      PO Box 438                                                         Crewe            VA       23930
  Wilkes/Barre Scranton International                                                          100 Terminal Rd                                                    Avoca            PA       18641
  Willamette Management Associates                                                             Suite 950 N                                                        Chicago          IL       60631
  William Baxter                                                                               Address Redacted
  William Blake                                                                                Address Redacted
  William Burhans                                                                              Address Redacted
  William Coon                                                                                 Address Redacted
  William Futrell                                                                              Address Redacted
  William Huihui                                                                               Address Redacted
  William J Rockwell                                                                           Address Redacted
  William Murden                                                                               Address Redacted
  William P. Hobby Airport-Hou                                                                 16930 John F. Kennedy Blvd.                                        Houston          TX       77032
  William Parks                                                                                Address Redacted
  William Regan                                                                                Address Redacted
  William Roberts                                                                              Address Redacted
  William Rodgers Iii                                                                          Address Redacted
  William Sheets                                                                               Address Redacted

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                                                              Creditor Matrix


                                Name    Attention                        Address 1                   Address 2             City     State       Zip        Country
  William Telford                                        Address Redacted
  William Wilson                                         Address Redacted
  William Workman                                        Address Redacted
  Williams & Heintz Map Corp                             8119 Central Ave                                        Capitol Heights   MD       20743
  Wilmer O Morales                                       Address Redacted
  Wilmington International Airport                       PO Box 896526 Charlotte                                 Wilmington        NC       28289-6526
  Wimmer, Aaron                                          Address Redacted
  Winger, Russell G.                                     Address Redacted
  Wings West                                             PO Box 1533                                             Graham            WA       98338
  Winnipeg Airports Authority Inc.                       Room 249                                                Winnipeg          MB       MB R3H 1C2 Canada
  Winston& Straw, Llp                                    200 Park Avenue                                         New York          NY       10166-4193
  Winton Komonseak                                       Address Redacted
  Wipaire, Inc.                                          1700 Henry Ave. Flemming Field                          South St. Paul    MN       55075
  Wiremasters Inc.                                       1788 Northpointe Road                                   Columbia          TN       38401
  Wirum Properties                                       500 L Street, Suite 100                                 Anchorage         AK       99501
  Wolf Electric, LLC                                     17525 Laoana Court                                      Eagle River       AK       99577
  Woodsen Saunders                                       Address Redacted
  Woodward Inc.                                          5001 N. Second St.                                      Rockford          IL       61125
  World Class Aviation, Inc.                             1130 Dividend Court                                     Peachtree City    GA       30269
  World Travel Service                                   10201 Parkside Dr.                                      Knoxville         TN       37922
  World Wide Custom Brokers Ltd                          PO Box 2338 Station M                                   Calgary           AB       T2P 2M6      Canada
  Worldwide Aircraft Ferrying Limited                    36-2355 Derry Road East                                 Mississauga       ON       L5S 1V6      Canada
  Worldwide Aircraft Services Inc                        2755 N General Aviation Ave                             Springfield       MO       65803
  Worldwide Fuel                                         PO Box 299                                              Naknek            AK       99633
  World-Wide Movers Inc.                                 7120 Hart Street                                        Anchorage         AK       99509-1495
  Worthington Aviation                                   2995 Lone Oak Circle, Suite 10                          Eagan             MN       55121
  Wright Air Service, Inc.                               PO Box 60142                                            Fairbanks         AK       99706
  Wsi Corporation                                        PO Box 101332                                           Atlanta           GA       30392-1332
  Wyatt Refrigeration                                    12432 Highway 99 South, Unit 75                         Everett           WA       98204
  Wyona Kaganak                                          Address Redacted
  Xavier, Winifred                                       Address Redacted
  Yako Pavila                                            Address Redacted
  Yellow Pages United                                    PO Box 53251                                            Atlanta           GA       30355
  Yodice Associates                                      12505 Park Potomac Avenue, 6Th Floor                    Potomac           MD       20854
  Youriy Drozd                                           Address Redacted
  Yukon                                                  Box 2703 C.P 2703                                       White Horse       YT       Y1A 2C6      Canada
  Yukon Alaska Enterprise                                PO Box 113                                              Galena            AK       99741
  Yukon Fire Protection Services                         5601 Silverado Way                                      Anchorage         AK       99518
  Yukon Kuskokwim Health Corporation                     PO Box 3427                                             Bethel            AK       99559
  Yute Commuter Service                                  PO Box 2988                                             Bethel            AK       99559
  Zabud Carper                                           Address Redacted
  Zabud E Carper                                         Address Redacted
  Zacharia Ward                                          Address Redacted
  Zachariah Griffin                                      Address Redacted
  Zachariah Kameroff                                     Address Redacted
  Zachary Bowman                                         Address Redacted
  Zachary Bronson                                        Address Redacted
  Zachary Butler                                         Address Redacted
  Zachary John Stohr                                     Address Redacted
  Zachary Kilbourne                                      Address Redacted
  Zachary Knepp                                          Address Redacted
  Zachary Mesak                                          Address Redacted
  Zachary Sjoberg                                        Address Redacted
  Zachary Thiele                                         Address Redacted
  Zackary Methven                                        Address Redacted
  Zee Medical Service Company                            3710 Woodland Dr Suite 1500                             Anchorage         AK       99517
  Zep Sales & Services                                   File 50188                                              Los Angeles       CA       90074-0188
  Zhijia Lin                                             Address Redacted




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